Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 1 of 100. PageID #: 227169



                                                                      Page 1

 1
                        IN THE UNITED STATES DISTRICT COURT
 2                       FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
 3
 4          ______________________________
 5          IN RE: NATIONAL PRESCRIPTION                    MDL No. 2804
            OPIATE LITIGATION                               Case No. 17-md-2804
 6
 7          This document relates to:                       Judge Dan
                                                            Aaron Polster
 8
            The County of Cuyahoga v. Purdue
 9          Pharma, L.P., et al.
            Case No. 17-OP-45005
10
            City of Cleveland, Ohio vs. Purdue
11          Pharma, L.P., et al.
            Case No. 18-OP-45132
12
            The County of Summit, Ohio,
13          et al. v. Purdue Pharma, L.P.,
            et al.
14          Case No. 18-OP-45090
            _______________________________
15
16
17                   Videotaped 30(b)(6) Deposition of the
18                      Drug Enforcement Administration
19              through the testimony of Stacy Harper-Avilla
20                            Washington, D.C.
21                             April 11, 2019
22                               9:16 a.m.
23
24          Reported by: Bonnie L. Russo
25          Job No. 3282688

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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 2 of 100. PageID #: 227170


                                                                Page 2                                                                 Page 4
                                                                          1   APPEARANCES (CONTINUED):
     1      Videotaped 30(b)(6) Deposition of Drug                        2   On behalf of Plaintiffs:
     2      Enforcement Administration through the                            PAUL T FARRELL, JR , ESQ
                                                                          3   (Via Teleconference)
     3      testimony of Stacy Harper-Avilla held at:                         GREENE KETCHUM, LLP
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     5                                                                    5   304-525-9115
                                                                              paul@greeneketchum com
     6                                                                    6
     7                                                                        On behalf of Purdue Pharma, L P
                                                                          7   JENNA C NEWMARK, ESQ
     8                  Arnold & Porter, LLP                                  DECHERT, LLP
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    11                                                                   10   jenna newmark@dechert com
                                                                         11   On behalf of Johnson & Johnson and Janssen
    12                                                                        Pharmaceuticals, Inc
    13      Pursuant to Notice, when were present on behalf              12   EMILIE K WINCKEL, ESQ
                                                                              O'MELVENY & MYERS, LLP
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    23                                                                   22
    24                                                                   23
                                                                         24
    25                                                                   25

                                                                Page 3                                                                 Page 5
     1   APPEARANCES:                                                     1   APPEARANCES (CONTINUED):
     2   On behalf of the U S Department of Justice and                   2
         the Witness:                                                         On behalf of Walmart, Inc
     3   ROBERT E CHANDLER, ESQ                                           3   NEAL J STEPHENS, ESQ
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                                                                              Health Solutions, Inc , Par Pharmaceuticals,
    12
                                                                         12   Inc and Par Pharmaceutical Companies, Inc :
         On behalf of the U S Department of Justice:
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    13   JAMES R BENNETT, II, ESQ
                                                                         13   JOANNA PERSIO, ESQ
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    18   MICHAEL E ELSNER, ESQ                                                JOHN P LAVELLE, JR
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                                                                                                                              2 (Pages 2 - 5)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 3 of 100. PageID #: 227171


                                                             Page 6                                                                 Page 8
     1   APPEARANCES (CONTINUED):                                      1   APPEARANCES (CONTINUED):
     2   On behalf of Cardinal Health, Inc :                           2   On behalf of Anda, Inc
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     5   bmasters@wc com                                               6   On behalf of HBC:
     6   On behalf of CVS Indiana, LLC and CVS Rx                          JOSHUA A KOBRIN, ESQ
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         202-778-1800                                                      On behalf of Walgreen Co and Walgreen Eastern
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    11   On behalf of AmerisourceBergen Drug                               SHARON DESH, ESQ
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    24                                                                24   216-621-7860
    25                                                                25

                                                             Page 7                                                                 Page 9
     1   APPEARANCES (CONTINUED):
     2   On behalf of McKesson Corporation:                            1      ALSO PRESENT:
     3
         MEGHAN E MONAGHAN, ESQ
         COVINGTON & BURLING, LLP
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    14   catie ventura@kirkland com
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    16   WILLIAM DAVISON, ESQ
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    18   Boston, Massachusetts 02199
         617-951-7000                                                 18
    19   andrew o'connor@ropesgray com
         william davison@ropesgray com
                                                                      19
    20                                                                20
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    23
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         Indianapolis, Indiana 46204
                                                                      23
         317-231-7364                                                 24
    24   william hahn@btlaw com
    25                                                                25

                                                                                                                           3 (Pages 6 - 9)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 4 of 100. PageID #: 227172


                                                                       Page 10                                                 Page 12
     1         CONTENTS
     2   EXAMINATION OF STACY HARPER-AVILLA                     PAGE
                                                                                  1          PROCEEDINGS
     3   BY MR O'CONNOR             16                                            2
     4                     219
     5   BY MR EPPICH            108                                              3           THE VIDEOGRAPHER: Good morning.
     6   BY MR ELSNER             136                                             4   We are going on the record at 9:16 a m. on
     7
     8             EXHIBITS                                                       5   April 11, 2019.
     9                                                                            6          Please note that the microphones
         Exhibit 1 Notice of Videotaped          18
    10          30(b)(6) Deposition of                                            7   are sensitive and may pick up whispering,
                Stacy Harper-Avilla                                               8   private conversations and cellular
    11
         Exhibit 2 Part 1303-Quotas             49                                9   interference. Please turn off all cell phones
    12
         Exhibit 3 Report to Congressional 57
                                                                                 10   or place them away from the microphones as they
    13          Requesters                                                       11   can interfere with the deposition audio. Audio
                February 2015
    14          US-DEA-00015423-506                                              12   and video recording will continue to take place
    15   Exhibit 4 APQ Review and Approval    81                                 13   unless all parties agree to go off the record.
                2011-2018
    16                                                                           14          This is Media Unit 1 of the
         Exhibit 5 Section 1303 21              84                               15   video-recorded deposition of the DEA, appearing
    17
         Exhibit 6 Section 1303 12              91                               16   on their behalf is Stacy Harper-Avilla, taken
    18
         Exhibit 7 Aggregate Production              96
                                                                                 17   by counsel for defendant in the matter of In
    19          Quota History for                                                18   Re: National Prescription Opiate, filed in the
                Selected Substances
    20          Updated 1-13-10
                                                                                 19   United States District Court, Northern District
    21   Exhibit 8 Aggregate Production              96                          20   of Ohio, Eastern Division, Case Number MDL 2804
                Quota History for
    22          Selected Substances                                              21   17-MD-2804.
                Updated 1-22-19                                                  22          This deposition is being held at
    23
         Exhibit 9 Excerpt of Transcript  140                                    23   Arnold & Porter located at 601 Massachusetts
    24          6-20-17                                                          24   Avenue, Northwest, Washington, D.C.
    25   Exhibit 10 DEA/OD 11th Pharmaceutical            158
                Industry Conference                                              25          My name is Daniel Russo from the
                                                                       Page 11                                                 Page 13
     1   EXHIBITS (CONTINUED):                                                    1   firm Veritext Legal Solutions, I'm your
     2
         Exhibit 11 E-Mail Chain                164                               2   videographer. The court reporter is Bonnie
     3          dated 5-28-97                                                     3   Russo from the firm Veritext Legal Solutions.
                P 081098-099
     4                                                                            4          Counsel and all present in the room
         Exhibit 12 E-Mail Chain                172                               5   and everyone attending remotely will now state
     5          dated 4-4-05
                P4241610-1612                                                     6   their appearances and affiliations for the
     6                                                                            7   record.
         Exhibit 13 House Hearing         188
     7          107 Congress                                                      8          MR. O'CONNOR: Andrew O'Connor,
     8   Exhibit 14 E-Mail dated 5-29-01    192                                   9   Ropes and Gray, for Mallinckrodt LLC and Spec
                Attachment
     9          PPLPC045000005405-5425                                           10   GX.
    10   Exhibit 15 E-Mail Chain         199                                     11          MR. DAVISON: William Davison of
                dated 5-28-01
    11          Attachment                                                       12   Ropes and Gray for Mallinckrodt LLC and Spec
                PPLPC045000005398-5404                                           13   GX.
    12
         Exhibit 16 Letter dated 6-8-01  204                                     14          MR. KOBRIN: Josh Kobrin, Marcus &
    13         PKY181383991-994                                                  15   Shapira for HBC.
    14   Exhibit 17 Federal Register    208
                Vol 83, No 76
                                                                                 16          MR. EPPICH: Chris Eppich of
    15          4-19-18                                                          17   Covington & Burling for McKesson.
    16   Exhibit 18 E-Mail Chain        214
                dated 7-12-18
                                                                                 18          MS. MONAGHAN: Megan Monaghan on
    17          Attachment                                                       19   behalf of McKesson.
                PPLPC032000404799-4807
    18
                                                                                 20          MS. LEVY: Jennifer Levy of Kirkland
    19                                                                           21   & Ellis, for the Allergan defendants.
    20
    21
                                                                                 22          MS. VENTURA: Catie Ventura for the
    22                                                                           23   Allergan defendants.
    23
                                                                                 24          MR. RUIZ: Anthony Ruiz, Zuckerman
    24   (Exhibits included with transcript )
    25                                                                           25   Spaeder for CVS Indiana, LLC and CVS Rx

                                                                                                                   4 (Pages 10 - 13)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 5 of 100. PageID #: 227173


                                                   Page 14                                                               Page 16
     1   Services, Inc.                                       1   being first duly sworn, to tell the truth, the
     2         MS. McCLURE: Shannon McClure, Reed             2      whole truth and nothing but the truth,
     3   Smith, AmerisourceBergen.                            3            testified as follows:
     4         MR. DAVIS: Josh Davis of Arnold &              4
     5   Porter for the Endo and Par defendants.              5           THE VIDEOGRAPHER: You may proceed,
     6         MS. NEWMARK: Jenna Newmark from                6   Counsel.
     7   Dechert for the Purdue defendants.                   7
     8         MR. LAVELLE: John Lavelle, Morgan              8      EXAMINATION BY COUNSEL FOR DEFENDANTS
     9   Lewis for defendant Rite Aid of Maryland.            9           MALLINCKRODT AND SPEC GX LLC
    10         MR. MASTERS: Brad Masters, Williams           10           BY MR. O'CONNOR:
    11   & Connolly, Cardinal Health.                        11      Q.    Ms. Avilla, good morning.
    12         MR. STEPHENS: Neal Stephens, Jones            12      A.    Morning.
    13   Day, for Walmart.                                   13      Q.    I am Andrew O'Connor. I represent
    14         MS. WINCKEL: Emilie Winckel,                  14   Mallinckrodt in this case. I will be asking
    15   O'Melveny and Myers, for the J&J defendants.        15   you some questions on behalf of the
    16         MR. ELSNER: Michael Elsner from               16   manufacturing defendants.
    17   Motley Rice on behalf of the plaintiffs.            17           Would you just state your full name
    18         MR. BENNETT: James Bennett from               18   for the record.
    19   U.S. Attorney's Office, Cleveland, on behalf of     19      A.    Stacy Harper-Avilla.
    20   the United States and the Department of Justice     20      Q.    And have you ever had your
    21   DEA.                                                21   deposition taken before?
    22         MS. SPEARS: Mariama Spears on                 22      A.    No.
    23   behalf of the Drug Enforcement Administration.      23      Q.    You can cross that off your bucket
    24         MR. CHANDLER: Robert Chandler,                24   list.
    25   United States Department of Justice on behalf       25           So just a few rules of the road

                                                   Page 15                                                               Page 17
     1   of the United States.                                1    before we get going. First, just to make the
     2          MR. BEISELL: Patrick Beisell, Jones           2    court reporter's life a little easier, we're
     3   Day on behalf of Walmart.                            3    going to try to talk one at a time. I will ask
     4          MS. LUCAS: Amy Lucas, O'Melveny &             4    my question and I would just ask that you wait
     5   Myers, on behalf of Janssen Pharmaceuticals and      5    until I finish before you start and I will do
     6   Johnson & Johnson.                                   6    the same as you are answering. Rather than
     7          MS. MATIC: Kristina Matic on behalf           7    shaking your head or nodding, also make sure to
     8   of Anda.                                             8    give verbal answers.
     9          MS. BARBER: Maureen Barber from               9           Does that make sense?
    10   Morgan Lewis for the Teva defendants.               10       A. Yes.
    11          MS. DESH: Sharon Desh on behalf of           11       Q. And if I ask a question and I am not
    12   Walgreens.                                          12    clear or you don't understand, just let me
    13          MR. WEISS: Eric Weiss of Cavitch             13    know, and if you don't let me know, I'm just
    14   Familo & Durkin on behalf of Discounted Drug        14    going to assume that you understood the
    15   Mart.                                               15    question as I asked it.
    16          MR. MARTIN: Zachary Martin, Fox              16           Does that make sense?
    17   Rothschild, on behalf of Prescriptions Supply.      17       A. Yes.
    18          MR. HAHN: William Hahn on behalf of          18       Q. Is there anything that would prevent
    19   H.D. Smith from Barnes and Thornburg.               19    you from testifying completely and truthfully
    20          MR. MONTMINY: Brandon Montminy on            20    today?
    21   behalf of the Henry Schein defendants.              21       A. No.
    22          THE VIDEOGRAPHER: Will the court             22       Q. And you understand that today you
    23   reporter please swear in the witness.               23    are providing testimony on behalf of the DEA?
    24                                                       24       A. Yes.
    25          STACY HARPER-AVILLA,                         25           MR. O'CONNOR: I'm going to mark

                                                                                                              5 (Pages 14 - 17)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 6 of 100. PageID #: 227174


                                                   Page 18                                                Page 20
     1   Exhibit 1.                                           1   requests and the disposition of quota requests
     2          (Deposition Exhibit 1 was marked for          2   and the relationship between quota, suspicious
     3   identification.)                                     3   orders, diversion and lawful medical,
     4          BY MR. O'CONNOR:                              4   scientific or industrial channels or use."
     5     Q. This is a notice of deposition.                 5          Did I read that correctly?
     6          Have you ever seen this document              6      A. Yes.
     7   before?                                              7      Q. And are you authorized by DEA to
     8     A. Yes.                                            8   provide testimony on that topic today?
     9     Q. And I'm going to ask you to turn to             9      A. Yes.
    10   Exhibit B, which is the letter from the U.S.        10      Q. So when I ask a question, unless I
    11   Department of Justice.                              11   specifically indicate that I am asking for your
    12          Have you ever seen this document             12   personal opinion, I am going to be asking for
    13   before?                                             13   the DEA's answer to that question.
    14     A. Yes.                                           14          Does that make sense?
    15     Q. Okay. And do you understand it to              15      A. Yes.
    16   be the letter authorizing testimony on certain      16          MR. CHANDLER: Andrew, so that I
    17   subjects on behalf of the DEA?                      17   understand, is your initial questioning going
    18     A. Yes.                                           18   to relate to plaintiff's Topic No. 3 as well,
    19     Q. Let's go ahead and turn to Page 6              19   or is that only going to be sort of
    20   and I direct your attention to Topic 13.            20   reexamination following the plaintiff's
    21          It says: "Topic 13. Your practices           21   examination?
    22   and procedures related to the establishment of      22          MR. O'CONNOR: There will probably
    23   opioid procurement quotas and opioid production     23   be some overlap so it could pertain to any one
    24   quotas for prescription opioids."                   24   of those three topics.
    25          Are you authorized by the DEA to             25          MR. CHANDLER: Okay. And that is
                                                   Page 19                                                Page 21
     1   testify regarding that topic today?                  1   understood between you and the plaintiffs? I
     2      A. Yes.                                           2   am trying to understand how this is going to
     3      Q. And I now direct your attention to:            3   flow back and forth between the two notices.
     4   "Topic 14, the basis for opioid procurement          4          MR. O'CONNOR: I think we are
     5   quotas and opioid production quotas of               5   entitled to question on any one of the topics
     6   prescriptions from 1995 to 2018."                    6   for which she is authorized, and so we will be
     7          Are you authorized by the DEA to              7   proceeding on that basis.
     8   provide testimony regarding that topic today?        8          MR. CHANDLER: Okay.
     9      A. Yes.                                           9            MR. ELSNER: This is Michael
    10      Q. Okay.                                         10   Elsner. I'm going to object. You are entitled
    11          MR. CHANDLER: I do want to note for          11   to ask questions on your topics but not on our
    12   the record that Ms. Avilla's authorization          12   topics.
    13   extends insofar as the qualifications that are      13          MR. O'CONNOR: I think we would
    14   also included in this letter.                       14   disagree about that, but I think -- let's see
    15          MR. O'CONNOR: Understood.                    15   how it goes and if we need to resolve it, we
    16          BY MR. O'CONNOR:                             16   can do so offline.
    17      Q. If you could turn to Page 9 of that           17          BY MR. O'CONNOR:
    18   same document.                                      18      Q. Ms. Avilla, what is your current
    19          And look at Topic 3, which reads:            19   role at DEA?
    20   "DEA's establishment of quotas for the              20      A. I'm the section chief of United
    21   production of opioids in the United States          21   Nations Reporting and Quota Section.
    22   including aggregate production quotas,              22      Q. And what do your responsibilities in
    23   individual quotas and procurement quotas, the       23   that role include?
    24   disclosure of quota to registrants,                 24      A. The responsibilities are to manage
    25   communications with registrants regarding quota     25   the quotas for controlled substances in
                                                                                              6 (Pages 18 - 21)
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                                                Page 22                                                  Page 24
     1   Schedules I and II, report back to the UN on      1      Q. Okay. Do you remember what sorts of
     2   the U.S. -- usage consumption of those            2   documents?
     3   substances as well as for setting the             3      A. No.
     4   assessments and estimates for items in            4      Q. Were they e-mails?
     5   Schedules III through V, controlled substances    5      A. There were a lot of documents. I
     6   in III through V.                                 6   don't know. I don't remember precisely what
     7      Q. How long have you been in that              7   now.
     8   position?                                         8      Q. Okay. Without getting into any
     9      A. Since July of last year.                    9   communications you had with lawyers, what are
    10      Q. Before that, did you hold any              10   the names of the people that you spoke with to
    11   position at DEA?                                 11   prepare for this deposition?
    12      A. Yes, I did.                                12      A. I spoke with Dr. Chris Sannerud and
    13      Q. What was that?                             13   Mr. Joe Rannazzisi.
    14      A. I was the unit chief of the same           14      Q. Who is Ms. Sannerud?
    15   section.                                         15      A. Dr. Sannerud was the section chief
    16      Q. You were working with quotas in that       16   before me.
    17   role as well?                                    17      Q. Okay. And is Dr. Sannerud still
    18      A. Yes.                                       18   employed by DEA?
    19      Q. What was your position at DEA, if          19      A. No.
    20   any, before that time?                           20      Q. When did she leave the DEA?
    21      A. I don't understand the question.           21      A. July of last year.
    22      Q. Did you have a job at DEA before           22      Q. And who is Mr. Rannazzisi?
    23   that role as unit chief?                         23      A. He is a retired DEA special agent.
    24      A. Yes.                                       24      Q. During your discussions -- or your
    25      Q. What was that?                             25   discussions with Dr. Sannerud, was there anyone
                                                Page 23                                                  Page 25
     1     A. Drug science specialist.                     1   else in the room or on the phone?
     2     Q. Okay. When you were a drug science           2      A. I don't understand the question.
     3   specialist, did you have any involvement in       3      Q. When you had discussions to prepare
     4   quota issues?                                     4   for this deposition with Dr. Sannerud --
     5     A. Yes.                                         5      A. Yes.
     6     Q. Was that role your first at DEA?             6      Q. -- was there anyone else in the room
     7     A. Yes.                                         7   with you?
     8     Q. And when did you start in that role?         8      A. The lawyers.
     9     A. 2008.                                        9      Q. The lawyers. Okay. And when you
    10     Q. So am I correct that you joined the         10   say, "the lawyers," who do you mean?
    11   Drug Enforcement Administration in 2008?         11      A. The DEA lawyers, DEA attorneys.
    12     A. Correct.                                    12      Q. Okay. Were there any attorneys
    13     Q. Okay. And since that time, your             13   besides attorneys working for DEA?
    14   work has included work on quota-related          14      A. The ones working for DOJ.
    15   matters?                                         15      Q. Okay. And besides lawyers working
    16     A. Yes.                                        16   for DOJ, were there any other lawyers?
    17     Q. Okay. Did you prepare for this              17      A. Not that I know of. Not that I
    18   deposition?                                      18   remember.
    19     A. Yes.                                        19      Q. And during your conversations with
    20     Q. How did you prepare?                        20   Mr. Rannazzisi, who was in the room with you or
    21     A. By reviewing the statute, the regs.         21   on the phone?
    22     Q. Did you review anything else?               22      A. In the room where the DOJ and DEA
    23     A. Yes. Yes.                                   23   attorneys.
    24     Q. What else did you review?                   24      Q. Okay. And besides those attorneys,
    25     A. Documents for clarification.                25   was there anyone else on the phone or in the

                                                                                             7 (Pages 22 - 25)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 8 of 100. PageID #: 227176


                                                    Page 26                                                 Page 28
     1   room?                                                 1      A. I don't know. I didn't quantify it.
     2      A. In the room, no.                                2      Q. Okay. Roughly how many meetings did
     3      Q. Were there others on the phone?                 3   you have with DOJ or DEA attorneys about today?
     4      A. I don't know.                                   4      A. I don't have an exact number.
     5      Q. Do you know if anyone was on the                5      Q. How about an estimate?
     6   phone?                                                6      A. Less than ten.
     7      A. Mr. Rannazzisi was on the phone.                7      Q. Less than ten. Okay. About how
     8      Q. Okay. And regarding the documents               8   long were those meetings?
     9   that you reviewed in preparation for today, did       9      A. They were usually several hours.
    10   you choose those documents yourself?                 10      Q. Okay. When you say, "less than
    11      A. Yes.                                           11   ten," do you think there was more than five?
    12      Q. How did you choose those documents?            12      A. Probably.
    13      A. They were areas that encompassed               13      Q. Okay. All right. So I want to turn
    14   what was required for the UN reporting and           14   back to your responsibilities as unit chief of
    15   quota section.                                       15   the UN reporting and quota section.
    16      Q. Okay. What sort of documents are we            16          In that role, what responsibility
    17   talking about?                                       17   did you have with respect to establishing
    18          MR. CHANDLER: I'm going to step in            18   quotas for Schedule I and II controlled
    19   here.                                                19   substances?
    20          To the extent that your answer                20      A. To review the incoming applications,
    21   requires you to disclose any of our                  21   to review documentation, review and assess
    22   communications or communications with any of         22   whether it was scientifically accurate.
    23   the government lawyers, I will instruct you not      23      Q. Okay. Who did you report to when
    24   to answer.                                           24   you were unit chief?
    25          If you can answer subject to that,            25      A. Dr. Chris Sannerud.
                                                    Page 27                                                 Page 29
     1   that caveat, you can answer.                          1      Q. Okay. And did there come a time
     2          BY MR. O'CONNOR:                               2   where you were promoted to section chief?
     3      Q. So without getting into the                     3      A. Yes.
     4   communications with your lawyers, what sorts of       4      Q. And at that time, who did you report
     5   documents did you select?                             5   to?
     6      A. I can't answer.                                 6      A. Susan Gibson.
     7      Q. I'm sorry?                                      7      Q. And what is Ms. Gibson's position?
     8      A. I can't answer.                                 8      A. I'm not sure.
     9      Q. And why can't you answer?                       9      Q. Okay.
    10      A. A lot of that is communication                 10      A. I'm not sure. She is in New Jersey
    11   shared with the attorneys.                           11   at this point.
    12      Q. Okay. In preparing for today's                 12      Q. Okay. Is she your current
    13   deposition, did you speak with anyone else at        13   supervisor?
    14   DEA other than the lawyers, Dr. Sannerud and         14      A. No.
    15   Mr. Rannazzisi?                                      15      Q. Who is your current supervisor?
    16      A. No.                                            16      A. Raymond Brown, Special Agent Raymond
    17      Q. Did you speak with anyone else who             17   Brown.
    18   has testified previously in this matter?             18      Q. And what is his position at DEA?
    19      A. Not to my knowledge.                           19      A. Deputy assistant administrator.
    20      Q. Did you speak with anyone outside              20      Q. In your role as unit chief and now
    21   DEA in preparing for this deposition, other          21   section chief, did you come to have an
    22   than those we've already discussed?                  22   understanding of the DEA's practices and
    23      A. No.                                            23   procedures related to the establishment of
    24      Q. Okay. About how much time did you              24   quotas?
    25   spend preparing for today?                           25      A. Yes.

                                                                                                8 (Pages 26 - 29)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 9 of 100. PageID #: 227177


                                                    Page 30                                                  Page 32
     1      Q. And did that include -- did your                1          MR. CHANDLER: Objection. Vague.
     2   understanding include the procedures and              2          THE WITNESS: From the manufacturers
     3   practices specifically related to aggregate           3   to the pharmacy, yes, they should be.
     4   production quota?                                     4          BY MR. O'CONNOR:
     5      A. Yes.                                            5      Q. Okay. So manufacturers,
     6      Q. And does it also include practices              6   distributors, pharmacies are all DEA
     7   and procedures related to the procurement quota       7   registrants, correct?
     8   process?                                              8      A. If they handle controlled
     9      A. Yes.                                            9   substances, yes.
    10      Q. Does it also include individual                10      Q. I want to turn to manufacturers for
    11   manufacturing quotas?                                11   a minute.
    12      A. Yes.                                           12          In order to manufacture controlled
    13      Q. In those positions, did you also               13   substances with approval from DEA, what steps
    14   gain an understanding of the basis or the            14   does a manufacturer need to take?
    15   reasons why those quotas were set where they         15          MR. CHANDLER: Objection. Vague.
    16   were?                                                16   Scope.
    17      A. Yes.                                           17          BY MR. O'CONNOR:
    18      Q. And through your work, did you also            18      Q. You can answer.
    19   get an understanding of the reasons the DEA had      19      A. I don't understand the question.
    20   for increasing the quota from year to year with      20      Q. Okay. Do manufacturers need to
    21   respect to certain substances?                       21   request a quota grant before they can produce
    22          MR. CHANDLER: Objection. Vague.               22   controlled substances?
    23          BY MR. O'CONNOR:                              23      A. Yes.
    24      Q. You can answer the question.                   24      Q. Are manufacturers permitted to
    25      A. Each year the quota is built                   25   manufacture any more of a controlled substance
                                                    Page 31                                                  Page 33
     1   individually. It's not a year-to-year                 1   than DEA permits through its quota process?
     2   situation.                                            2      A. No.
     3      Q. Okay. And in any given year during              3      Q. Is it fair to say that DEA has the
     4   your time at DEA, you understood the reasons          4   ability to decline to provide any given
     5   the quota was set at the level that it was set        5   manufacturer with a quota grant?
     6   at; is that fair?                                     6      A. I don't understand the question.
     7      A. Yes.                                            7      Q. Is DEA required to grant
     8           MR. CHANDLER: Objection. Vague.               8   manufacturers quota?
     9           BY MR. O'CONNOR:                              9          MR. CHANDLER: Objection. Vague.
    10      Q. Are you familiar with the term                 10          THE WITNESS: I don't understand the
    11   "closed system of distribution?"                     11   question.
    12      A. Yes.                                           12          BY MR. O'CONNOR:
    13      Q. What do you understand that term to            13      Q. So in your role, are you involved
    14   mean?                                                14   with the consideration and approval of quota
    15           MR. CHANDLER: Objection. Scope.              15   requests?
    16           You can answer.                              16      A. Yes.
    17           THE WITNESS: It means that the               17      Q. Are you required to approve every
    18   controlled substance is monitored within a           18   request?
    19   system set up by the Controlled Substances Act       19      A. No.
    20   from the manufacturer down to the pharmacy           20      Q. That's because the DEA does not --
    21   level in the ultimate locations.                     21   is not required to approve every request,
    22           BY MR. O'CONNOR:                             22   correct?
    23      Q. And the players at those various               23      A. Correct.
    24   levels that you just mentioned are all DEA           24      Q. Are you familiar with any statute
    25   registrants, correct?                                25   that sets forth DEA's authority to grant quota?
                                                                                                9 (Pages 30 - 33)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 10 of 100. PageID #: 227178


                                                    Page 34                                                 Page 36
      1      A. I don't understand the question.               1   with quota, what is the nature of the FDA's
      2      Q. Is there any statute that grants the           2   involvement?
      3   Drug Enforcement Administration the authority        3          MR. ELSNER: Objection.
      4   to set quota for controlled substances?              4          MR. CHANDLER: I will object. Vague
      5      A. Yes.                                           5   as to time.
      6      Q. Are you familiar with that statute?            6          BY MR. O'CONNOR:
      7      A. Yes.                                           7      Q. Do you recall any times in which FDA
      8      Q. Are there any regulations that DEA             8   was involved in discussions regarding quota?
      9   has promulgated that set forth the process for       9      A. I don't understand the question.
     10   setting the quota for controlled substances?        10      Q. You mentioned that at times, you
     11      A. Yes.                                          11   consulted with FDA in connection with quota,
     12      Q. And in your role as unit chief and            12   correct?
     13   then section chief, was one of your                 13      A. Yes.
     14   responsibilities to apply the processes that        14      Q. When did that happen?
     15   were described by statute and regulation in         15          MR. CHANDLER: Objection. Vague.
     16   determining the amount of quota?                    16          You can answer.
     17          MR. CHANDLER: Objection. Vague.              17          THE WITNESS: By statute, by FDA
     18   Compound.                                           18   statute, they are required to consult with us.
     19          BY MR. O'CONNOR:                             19   We are required to have a dialogue however it
     20      Q. You can answer.                               20   takes place.
     21      A. Yes.                                          21          BY MR. O'CONNOR:
     22      Q. Are you familiar with the term                22      Q. And did DEA comply with its
     23   "aggregate production quota?"                       23   obligation to have discussions with FDA?
     24      A. Yes.                                          24      A. Yes.
     25      Q. What does that term mean?                     25      Q. Did DEA consult with FDA in
                                                    Page 35                                                 Page 37
      1      A. In summary, it is the maximum amount           1   connection with the aggregate production quota
      2   that the United States actually needs for its        2   every year?
      3   domestic needs, for legitimate, medical,             3     A. I can't guarantee every year, but
      4   scientific, research needs, exportation needs        4   yes, as far as I know, I have seen
      5   and inventory allowances.                            5   documentation for almost every year.
      6      Q. Okay. Does DEA determine what that             6     Q. Okay. What form did that
      7   number is on an annual basis?                        7   documentation take?
      8          MR. CHANDLER: Objection. Vague.               8     A. A letter.
      9          You can answer.                               9     Q. Okay. Would there be discussions
     10          THE WITNESS: I don't understand the          10   between the FDA and DEA prior to FDA sending
     11   question.                                           11   that letter?
     12          BY MR. O'CONNOR:                             12     A. Not that I'm aware of. There may
     13      Q. Is DEA responsible for determining            13   be, but I don't know of any that were
     14   the aggregate production quota?                     14   documented.
     15      A. DEA is the agency that publishes it,          15     Q. Okay. Besides yourself, how many
     16   but we work in concert with other agencies.         16   others at DEA work on quota-related issues?
     17      Q. Okay. What other agencies do you              17          MR. ELSNER: Objection. Timing.
     18   work with?                                          18          BY MR. O'CONNOR:
     19      A. FDA.                                          19     Q. Today -- strike that.
     20      Q. Any other agencies?                           20          Today, how many people at DEA work
     21      A. When necessary, yes.                          21   on quota-related issues?
     22      Q. What would those other agencies be?           22          MR. CHANDLER: Objection. Vague.
     23      A. Those within the bounds of DOJ and            23          THE WITNESS: I'm not sure I
     24   HHS.                                                24   understand the question.
     25      Q. When you work with FDA in connection          25          BY MR. O'CONNOR:

                                                                                              10 (Pages 34 - 37)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 11 of 100. PageID #: 227179


                                                    Page 38                                                    Page 40
      1      Q. You are not the only person at DEA             1          BY MR. O'CONNOR:
      2   that works on quota, correct?                        2      Q. Safe to say that as the unit chief,
      3      A. Correct.                                       3   if you felt they were not able to discharge
      4      Q. Okay. Roughly how many other people            4   their duties, you would have done something
      5   are involved in the process of setting               5   about that, right?
      6   aggregate production quotas?                         6          MR. ELSNER: Objection.
      7      A. There are several people involved in           7          THE WITNESS: I would have provided
      8   several different sections for setting an            8   extra training, yes.
      9   aggregate production quota and I don't know who      9          BY MR. O'CONNOR:
     10   all of the people are, just the sections that       10      Q. You mentioned that at times, DEA
     11   they go through.                                    11   communicated with HHS in connection with the
     12      Q. Okay. When you were unit chief, how           12   quota.
     13   many people approximately worked in your            13          On what subjects would DEA
     14   section -- in your unit. Sorry.                     14   communicate with HHS when it came to quota
     15      A. It varied over the years.                     15   issues?
     16      Q. So when you first started as unit             16      A. So I mentioned that DEA communicated
     17   chief, approximately how many people worked in      17   with FDA within HHS on quota issues.
     18   your unit?                                          18      Q. Were there any other agencies or
     19      A. Four or five people.                          19   departments within HHS that DEA communicated
     20      Q. Okay. Were they full-time                     20   with on quota issues?
     21   employees?                                          21          MR. ELSNER: Objection.
     22      A. Yes.                                          22          BY MR. O'CONNOR:
     23      Q. Did that number change over time?             23      Q. You can answer the question.
     24      A. Yes.                                          24      A. There would have been SAMSHA at the
     25      Q. When did it change?                           25   time probably.
                                                    Page 39                                                    Page 41
      1      A. I don't recall. It just -- it                  1      Q. What is SAMSHA?
      2   changed when people made clearance.                  2      A. I don't remember the full name.
      3      Q. Did the group get bigger or smaller?           3      Q. Fair enough. Do you know generally
      4      A. Bigger.                                        4   speaking what SAMSHA does?
      5      Q. Okay. Roughly how big did it get?              5      A. Substance abuse and mental health.
      6      A. I don't understand the question.               6      Q. Okay. Between 1995 and 2018, was
      7      Q. When the group was at its biggest,             7   DEA -- or did DEA consult with SAMSHA on a
      8   how many people were in it?                          8   regular basis in connection with quota?
      9      A. Ten, 12 people.                                9         MR. CHANDLER: Objection. Vague.
     10      Q. Were all of those individuals                 10         THE WITNESS: I don't understand the
     11   involved in the process of determining quota?       11   question.
     12      A. Yes.                                          12         BY MR. O'CONNOR:
     13      Q. Okay. Did those individuals who               13      Q. Did DEA communicate with SAMSHA more
     14   were involved in the quota process receive any      14   than once?
     15   training regarding quota?                           15      A. Yes.
     16          MR. CHANDLER: Objection. Vague.              16      Q. Did DEA communicate with SAMSHA on a
     17          THE WITNESS: I'm not sure I                  17   yearly basis regarding quota?
     18   understand the question.                            18      A. Probably, not directly.
     19          BY MR. O'CONNOR:                             19      Q. If not directly, how would DEA
     20      Q. Did the people who worked on quota            20   communicate with SAMSHA?
     21   have the training they needed in your view to       21      A. SAMSHA's concerns were usually
     22   do their job?                                       22   placed in FDA's letter to DEA.
     23          MR. CHANDLER: Objection. Vague.              23      Q. Okay. Would DEA consider the FDA's
     24   Scope.                                              24   input when determining the aggregate production
     25          THE WITNESS: Yes.                            25   quota?

                                                                                                 11 (Pages 38 - 41)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 12 of 100. PageID #: 227180


                                                    Page 42                                                   Page 44
      1      A. Yes.                                           1   aggregate production quota for each of those
      2      Q. And would DEA consider SAMSHA's                2   individual classes, does it consider all those
      3   input when determining the aggregate production      3   factors that you mentioned a moment ago?
      4   quota?                                               4      A. Yes.
      5      A. Yes, when it was there.                        5      Q. Let's talk for a minute about
      6      Q. Okay. What else would DEA consider             6   manufacturing quotas.
      7   when determining the aggregate production            7          What do you understand the term
      8   quota?                                               8   "manufacturing quota" to mean?
      9      A. DEA would also consider the                    9      A. It is the quota granted to a bulk
     10   manufacturer's quota application, changes in        10   manufacturer who synthesizes or extracts
     11   marketplace, manufacturer's changes to their        11   aggregate -- active pharmaceutical ingredients
     12   processes, export requirements, inventory           12   from either a noncontrolled substance or a
     13   allowances that needed to be done, new              13   plant or from one controlled substance into
     14   indication, removal of indications, changes in      14   another.
     15   FDA approval. Or changes in -- yeah, changes        15      Q. Okay. How does DEA determine what
     16   in FDA approval.                                    16   manufacturing quotas to grant?
     17      Q. Okay. Between 1995 and 2018, did              17          MR. CHANDLER: Objection. Vague.
     18   the DEA consider all those factors when setting     18          MR. ELSNER: Objection.
     19   quota?                                              19          BY MR. O'CONNOR:
     20      A. Yes, that's part of the whole                 20      Q. You can answer.
     21   statement.                                          21      A. For the manufacturing quota, it is
     22      Q. So if someone claimed that DEA made           22   built on their customers and their
     23   a decision about quota based on only one of         23   manufacturing processes, as well as inventory
     24   those factors, would you agree with them?           24   allowances and any other FDA notifications that
     25         MR. CHANDLER: Objection. Vague.               25   we have received.
                                                    Page 43                                                   Page 45
      1   Scope.                                          1           Q. Okay. And couldn't the -- can any
      2         MR. ELSNER: Objection.                    2        given manufacturer make more of a particular
      3         THE WITNESS: I would not agree with 3              class of controlled substances than the DEA
      4   them.                                           4        permits?
      5         BY MR. O'CONNOR:                          5               MR. ELSNER: Objection.
      6      Q. DEA sets aggregate production quotas 6                    THE WITNESS: I think there is a
      7   for each individual class of controlled         7        difference between "can" and "should."
      8   substances; is that fair?                       8               BY MR. O'CONNOR:
      9      A. DEA sets quota for each class of          9           Q. Fair enough. Would it be legal for
     10   Schedule I or Schedule II controlled substance 10        a manufacturer to produce more of a controlled
     11      Q. Fair enough. And what do you mean 11               substance than permitted by its DEA quota?
     12   when you say, "class of controlled substance?" 12           A. Not to my knowledge, it's not legal.
     13      A. A class is the basic substance.          13           Q. Okay. And are you aware of any
     14      Q. Would that include things like           14        circumstances in which a manufacturer did make
     15   oxycodone?                                     15        more than what it was permitted?
     16      A. Yes.                                     16           A. It has occurred on occasion and DEA
     17      Q. Hydrocodone?                             17        has taken action with the manufacturer.
     18      A. Yes.                                     18           Q. Okay. Is it fair to say that DEA
     19      Q. Hydromorphone?                           19        takes steps to ensure that manufacturers don't
     20      A. Yes.                                     20        make more than what they are permitted to under
     21      Q. Morphine?                                21        their DEA quota?
     22      A. Yes.                                     22               MR. CHANDLER: Objection. Scope.
     23      Q. Oxymorphone?                             23               THE WITNESS: Can you repeat the
     24      A. Yes.                                     24        question.
     25      Q. And when DEA is setting the              25               BY MR. O'CONNOR:

                                                                                               12 (Pages 42 - 45)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 13 of 100. PageID #: 227181


                                                     Page 46                                                Page 48
      1       Q. Sure. Is it fair to say that DEA               1      A. Correct.
      2   takes steps to ensure that manufacturers don't        2      Q. So, for example, oxycodone would
      3   make more than what they are permitted to under       3   have -- strike that.
      4   their DEA quota?                                      4          So, for example, there would be a
      5          MR. CHANDLER: Same objection.                  5   specific procurement quota grant to a
      6          THE WITNESS: When DEA has notice of            6   manufacturer for oxycodone?
      7   it, yes.                                              7      A. Correct.
      8          BY MR. O'CONNOR:                               8      Q. That would be separate from any
      9       Q. Are you familiar with the term                 9   procurement grant for Hydrocodone?
     10   "procurement quota?"                                 10      A. Correct.
     11       A. Yes.                                          11      Q. And DEA would make an assessment
     12       Q. What is procurement quota?                    12   about the appropriate procurement quota for
     13       A. Procurement quota is the maximum              13   each molecule separately?
     14   amount of quota -- maximum amount of material a      14      A. Yes.
     15   manufacturer can obtain.                             15      Q. And a manufacturer would not be
     16       Q. Is the amount of -- strike that.              16   allowed to procure more of that molecule than
     17          DEA sets the procurement quota for            17   the DEA permitted, correct?
     18   each manufacturer, correct?                          18      A. Can I have the question repeated.
     19       A. Of a Schedule I or II controlled              19      Q. Sure. And a manufacturer would not
     20   substance, yes.                                      20   be allowed to procure more of that molecule
     21       Q. How does DEA determine how to set             21   than the DEA permitted, correct?
     22   the production quota for any given                   22      A. I think there is a difference
     23   manufacturer? I'm sorry, strike that.                23   between would or ability to and should they,
     24          How does DEA determine the                    24   when the processes work, no they cannot do
     25   procurement quota for any given registrant?          25   that. If the process does not work, then they
                                                     Page 47                                                Page 49
      1      A. It would be based on their business             1   may.
      2   activity which is individual to the                   2      Q. Okay.
      3   manufacturer.                                         3          MR. O'CONNOR: I'm going to mark
      4      Q. Okay. When you say, "business                   4   Exhibit 2.
      5   activity," what do you mean?                          5          (Deposition Exhibit 2 was marked for
      6      A. It is based on the rationale that               6   identification.)
      7   they provide DEA on the reason why they need          7          BY MR. O'CONNOR:
      8   quota.                                                8      Q. Do you recognize this document?
      9      Q. What is the -- is it fair to say                9      A. Yes.
     10   that one of the purposes of granting                 10      Q. What is it?
     11   procurement quota is to ensure an adequate and       11      A. It is a page from the C.F.R.
     12   uninterrupted supply of medications?                 12      Q. Okay. Was this a portion of the
     13      A. It is one purpose.                             13   C.F.R. that you used in connection with your
     14      Q. Is it also fair to say that if DEA             14   role as unit chief and section chief?
     15   did not grant procurement quotas, there would        15          MR. CHANDLER: Objection. Vague as
     16   be a risk to the adequate and uninterrupted          16   to time.
     17   supply of medications?                               17          THE WITNESS: I don't understand the
     18          MR. CHANDLER: Objection. Vague.               18   question.
     19          THE WITNESS: I don't understand the           19          BY MR. O'CONNOR:
     20   question.                                            20      Q. Okay. When you were working on
     21          BY MR. O'CONNOR:                              21   quota issues, did you ever refer to this
     22      Q. Okay. Unlike the adequate                      22   regulation?
     23   production quota, procurement quotas are             23          MR. CHANDLER: Same objection.
     24   granted on an individual class of controlled         24          THE WITNESS: Can I have the
     25   substances, correct?                                 25   question back.

                                                                                               13 (Pages 46 - 49)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 14 of 100. PageID #: 227182


                                                     Page 50                                                   Page 52
      1          BY MR. O'CONNOR:                               1   they have manufactured a substance but had not
      2      Q. Sure. When you were working on                  2   disposed of it.
      3   quota issues, did you ever refer to this              3      Q. Okay. And did the DEA take that
      4   regulation?                                           4   into account each year between 1995 and 2018
      5      A. When I was working on the aggregate             5   when setting the aggregate production quota?
      6   production quota, then this section that you          6      A. Yes.
      7   printed, yes.                                         7      Q. No. 4 says: "Projected demand for
      8      Q. And specifically, I would like to               8   such class as indicated by procurement quotas
      9   talk about Section 1303.11(b), which says: "In        9   requested pursuant to Section 1303.12."
     10   making this determination, the administrator         10          What does that mean?
     11   shall consider the following factors."               11      A. Projected demand would be the amount
     12          Do you see that?                              12   of material being requested through procurement
     13      A. Yes.                                           13   quotas.
     14      Q. Okay. And then it goes on to list              14      Q. And did the DEA consider that factor
     15   five items.                                          15   each year in setting aggregate production
     16          The first is: "Total net disposal             16   quota?
     17   of the class by all manufacturers during the         17      A. Yes.
     18   current and two preceding years."                    18      Q. No. 5 says: "Other factors
     19          Did DEA consider that factor when             19   affecting medical, scientific research and
     20   setting the aggregate production quotas between      20   industrial needs in the United States and
     21   1995 and 2018?                                       21   lawful export requirements as the administrator
     22      A. Yes.                                           22   finds relevant."
     23      Q. And what does it mean to say the               23          What other factors did DEA consider
     24   "total net disposal of the class?"                   24   when setting the aggregate production quota?
     25      A. So total net disposal would be the             25          MR. CHANDLER: Objection. Form.
                                                     Page 51                                                   Page 53
      1   aggregate disposal disposition of all the             1          THE WITNESS: It would depend on the
      2   manufacturers, not counting their manufacturing       2   substance.
      3   losses or their returns to other manufacturers.       3          BY MR. O'CONNOR:
      4      Q. Okay. Okay. No. 2 says: "Trends                 4      Q. So by way of example of oxycodone,
      5   in the national rate of net disposal of the           5   what other factors contemplated by Subsection 5
      6   class."                                               6   did the DEA consider when setting aggregate
      7          What does that mean?                           7   production quota?
      8      A. Trends in national rate would be                8          MR. CHANDLER: Objection. Vague.
      9   changes in disposal rates.                            9          THE WITNESS: It would be the number
     10      Q. How would DEA take into account                10   of manufacturers, their actual use and need for
     11   trends in the national rate of net disposal          11   the material, known diversion, known abuse.
     12   when determining aggregate production quotas?        12          BY MR. O'CONNOR:
     13      A. The main factor would be from FDA.             13      Q. And were those factors you just
     14      Q. Okay. And in each year from 1995 to            14   listed considered every year between 1995 and
     15   2018, did DEA, in fact, consider the trends in       15   2018?
     16   the national rate of net disposal of the class       16          MR. ELSNER: Objection.
     17   when setting aggregate production quotas?            17          THE WITNESS: When there was data,
     18      A. Yes.                                           18   yes.
     19      Q. No. 3 says: "The total actual or               19          BY MR. O'CONNOR:
     20   estimated inventories of the class and of all        20      Q. Were there any years in which there
     21   substances manufactured from the class and           21   was not data on those factors you named?
     22   trends in inventory accumulation."                   22          MR. CHANDLER: Objection. Vague.
     23          What does that mean?                          23   Scope.
     24      A. Total inventory would be the amount            24          THE WITNESS: I didn't memorize
     25   that the manufacturers have remaining after          25   every year so I don't know.

                                                                                                14 (Pages 50 - 53)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 15 of 100. PageID #: 227183


                                                     Page 54                                                  Page 56
      1          BY MR. O'CONNOR:                               1   yes.
      2      Q. But speaking here today with respect            2      Q. And in each year from 1995 to 2018,
      3   to the DEA practices on setting quota, were           3   did DEA consider the potential disruptions to
      4   there any years in which DEA did not consider         4   production when setting the aggregate
      5   the number of manufacturers when setting              5   production quota?
      6   aggregate production quota?                           6          MR. CHANDLER: Objection. Vague.
      7          MR. CHANDLER: Objection. Vague.                7          THE WITNESS: It's -- it can be
      8   Scope.                                                8   considered when it's known. Potential is not
      9          THE WITNESS: It's a factor to be               9   known.
     10   considered.                                          10          BY MR. O'CONNOR:
     11          BY MR. O'CONNOR:                              11      Q. If there was, for example, a recall
     12      Q. Were there any years between 1995              12   in the marketplace of a particular kind of
     13   and 2018 when DEA did not consider the actual        13   drug, would DEA consider that when setting the
     14   use and need for the material?                       14   aggregate production quota?
     15      A. It is still --                                 15      A. If the recall was verified through
     16          MR. CHANDLER: Objection. Vague.               16   FDA, then yes.
     17   Scope.                                               17      Q. Who at DEA was responsible for
     18          You can answer.                               18   communicating with FDA regarding aggregate
     19          THE WITNESS: It is still a factor.            19   production quota?
     20          BY MR. O'CONNOR:                              20      A. The DEA sends a letter signed by Mr.
     21      Q. Were there any years in which DEA              21   Rannazzisi to FDA requesting that information.
     22   did not consider known diversion when                22      Q. On the occasions that Mr. Rannazzisi
     23   determining the aggregate production quota?          23   requested the information, did FDA respond?
     24          MR. CHANDLER: Objection. Vague.               24      A. Yes, in a letter form back.
     25   Scope.                                               25      Q. Would DEA consider those letters
                                                     Page 55                                                  Page 57
      1         THE WITNESS: It's still a factor.               1   from FDA when making a decision on aggregate
      2         BY MR. O'CONNOR:                                2   production quota?
      3      Q. And were there any years between                3       A. Yes.
      4   1995 and 2018 in which DEA did not consider           4           MR. O'CONNOR: We have been going a
      5   known abuse when setting aggregate production         5   little over an hour. Should we take a break?
      6   quota?                                                6           THE VIDEOGRAPHER: We are going off
      7         MR. CHANDLER: Objection. Vague.                 7   the record. This is the end of Media Unit No.
      8   Scope.                                                8   1. The time is 10:23.
      9         THE WITNESS: True abuse lay with                9           (A short recess was taken.)
     10   the FDA so it's a factor once again.                 10           THE VIDEOGRAPHER: We are back on
     11         BY MR. O'CONNOR:                               11   the record. This is the beginning of Media
     12      Q. Between 1998 and 2018, did the DEA             12   Unit No. 2. The time is 10:57.
     13   consider changes in the currently accepted           13           You may proceed, Counsel.
     14   medical use and treatment with the class when        14           MR. O'CONNOR: Thank you. I'm going
     15   considering or setting the aggregate production      15   to mark Exhibit 3.
     16   quota?                                               16           (Deposition Exhibit 3 was marked for
     17      A. As set forth by FDA, yes.                      17   identification.)
     18      Q. Between 1995 and 2018, did DEA                 18           BY MR. O'CONNOR:
     19   consider the economic and physical availability      19       Q. Ms. Harper-Avilla, are you familiar
     20   of raw materials for use in manufacturing --         20   with this document?
     21         MR. CHANDLER: Objection. Vague.                21       A. I'm aware of this document.
     22         BY MR. O'CONNOR:                               22       Q. Have you seen it before?
     23      Q. -- when setting the aggregate                  23       A. I have.
     24   production quota?                                    24       Q. Would you mind turning to Page 10.
     25      A. When provided with that information,           25           On Page 10, the report reads in

                                                                                                15 (Pages 54 - 57)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 16 of 100. PageID #: 227184


                                                   Page 58                                                Page 60
      1   part: "In establishing APQs for each basic          1      Q. Did you use it last year?
      2   class of Schedule I and Schedule II controlled      2      A. IMS Health no longer exists.
      3   substances, DEA considers information from many     3      Q. Okay. Did the DEA obtain any data
      4   sources, including," and then it lists several      4   to use in its place?
      5   sources of information.                             5          MR. ELSNER: Objection.
      6          First of all, would you agree with           6          MR. CHANDLER: Objection. Vague.
      7   the statement that in setting aggregate             7          THE WITNESS: DEA has a contract
      8   production quotas, DEA considers information        8   with another vendor, yes.
      9   from many sources?                                  9          BY MR. O'CONNOR:
     10      A. Yes.                                         10      Q. Which vendor is that?
     11      Q. I just want to walk through each of          11      A. IQVIA.
     12   these bullets.                                     12      Q. And does IQVIA provides estimates on
     13          In setting the aggregate production         13   retail consumption based on prescriptions
     14   quota, does DEA consider manufacturer's            14   dispensed?
     15   production history and anticipated needs?          15      A. Yes.
     16      A. As provided to DEA, yes.                     16      Q. When you became unit chief in 2008,
     17      Q. And does DEA consider in determining         17   did DEA use IMS data on retail consumption
     18   aggregate production quota estimates from IMS      18   based on prescriptions dispensed when setting
     19   Health on retail consumption based on              19   the aggregate production quota?
     20   prescriptions dispensed?                           20      A. Yes.
     21      A. Yes.                                         21      Q. And in every year between 2008 and
     22      Q. In each year from 1995 through 2018,         22   the time when DEA switched to IQVIA data, did
     23   did DEA consider information from IMS Health on    23   DEA use IMS Health data when setting the
     24   retail consumption based on prescriptions          24   aggregate production quota?
     25   dispensed when setting aggregate production        25          MR. ELSNER: Objection.
                                                   Page 59                                                Page 61
      1   quotas?                                             1          THE WITNESS: Yes.
      2      A. For the years that IMS Health was in          2          BY MR. O'CONNOR:
      3   existence, yes. I don't know what was used          3      Q. So just to be clear, in the years
      4   prior to that.                                      4   2009, '10, '11, '12, '13, '14, '15, '16 and
      5      Q. Okay. During which years was IMS              5   '17, DEA used IMS Health data on retail
      6   Health used?                                        6   consumption based on prescriptions dispensed
      7          MR. ELSNER: Objection.                       7   when determining the aggregate production
      8          THE WITNESS: For the years in which          8   quota?
      9   they had a contract with DEA.                       9          MR. CHANDLER: Objection. Misstates
     10          BY MR. O'CONNOR:                            10   prior testimony.
     11      Q. What years were those?                       11          THE WITNESS: Because I'm not aware
     12      A. I am not in charge of contracts. I           12   of when the contract changed, I'm not sure
     13   don't know the answer.                             13   which year IMS Health ceased to exist and
     14      Q. Okay. But in connection with the             14   became IQVIA.
     15   DEA's practice of setting aggregate production     15          BY MR. O'CONNOR:
     16   quota, during what years did DEA use estimates     16      Q. But in every year between 2008 and
     17   from IMS Health on retail consumption based on     17   2018, DEA used data either from IMS or IQVIA
     18   prescriptions dispensed?                           18   when setting the annual production quota,
     19          MR. ELSNER: Objection.                      19   correct?
     20          THE WITNESS: For the years in which         20      A. It was a factor and consideration,
     21   DEA had a contract with IMS Health, I am not       21   yes.
     22   familiar with these -- those years.                22      Q. And prior to 2008, did DEA consider
     23          BY MR. O'CONNOR:                            23   IMS Health data when setting the aggregate
     24      Q. Can you provide an estimate?                 24   production quota?
     25      A. No.                                          25      A. If the contract existed, yes, it

                                                                                             16 (Pages 58 - 61)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 17 of 100. PageID #: 227185


                                                      Page 62                                                  Page 64
      1   did.                                                   1          MR. CHANDLER: Objection. Scope.
      2      Q. And were there any years in which                2          THE WITNESS: Only for domestic
      3   you believe the contract did not exist between         3   prescription data, yes.
      4   1995 and 2008?                                         4          BY MR. O'CONNOR:
      5      A. I don't know when IMS Health came                5      Q. And they considered that in every
      6   into existence so I cannot speak to that.              6   year from at least 2008 to the present,
      7      Q. During the years in which DEA used               7   correct?
      8   IMS Health data or IQVIA data, did it use that         8          MR. CHANDLER: Objection. Scope.
      9   data when setting the aggregate production             9          THE WITNESS: Prescription data
     10   quota for oxycodone?                                  10   would be considered as a one point, one single
     11          MR. CHANDLER: Objection. Scope.                11   factor in a multi-factored system, yes.
     12          THE WITNESS: The estimate was a                12          BY MR. O'CONNOR:
     13   factor, a single factor in a multi-factor             13      Q. And it would be considered in each
     14   system.                                               14   and every year between 2008 and 2018, correct?
     15          BY MR. O'CONNOR:                               15          MR. CHANDLER: Objection. Scope.
     16      Q. And during the years in which DEA               16          THE WITNESS: If the data existed.
     17   used IMS Health data or IQVIA data, did it use        17          BY MR. O'CONNOR:
     18   that data when setting the aggregate production       18      Q. Were there any years between 2008
     19   quota for Hydrocodone?                                19   and 2018 in which the data did not exist?
     20          MR. CHANDLER: Objection. Scope.                20          MR. ELSNER: Objection.
     21          THE WITNESS: It was a factor in it.            21          THE WITNESS: When FDA changed
     22          BY MR. O'CONNOR:                               22   treatment marketing, then the data did not
     23      Q. And during the years in which DEA               23   exist.
     24   used IMS Health data or IQVIA data, did it use        24          BY MR. O'CONNOR:
     25   that data when setting the aggregate production       25      Q. What do you mean by that?
                                                      Page 63                                                  Page 65
      1   quota for every other basic class of controlled  1            A. If FDA decided that something needed
      2   substances for which quota was granted?          2         to be pulled from the market, then it did not
      3          MR. CHANDLER: Objection. Scope.           3         exist. If FDA decided that they were granting
      4          THE WITNESS: Can I have the               4         a new product to the market, the data did not
      5   question again.                                  5         exist.
      6          BY MR. O'CONNOR:                          6            Q. Okay. But for those classes of
      7      Q. Sure. During the years in which DEA        7         controlled substances that were already on the
      8   used IMS Health data or IQVIA data, did it use   8         market, the DEA considered IMS Health data or
      9   that data when setting the aggregate production  9         IQVIA data in each and every year between 2008
     10   quota for every other basic class of controlled 10         and 2018 when determining aggregate production
     11   substances for which quota was granted?         11         quota, correct?
     12      A. No.                                       12                MR. CHANDLER: Objection. Scope.
     13      Q. For which classes of controlled           13                THE WITNESS: If the FDA pulled a
     14   substances did DEA not use IMS Health or IQVIA 14          product in the middle of the year, then no, we
     15   data when setting the aggregate production      15         could not consider already granted prescription
     16   quota?                                          16         data foreset [sic] in the next year.
     17          MR. CHANDLER: Objection. Scope.          17                BY MR. O'CONNOR:
     18          THE WITNESS: For those that are not      18            Q. Were there any products that you can
     19   FDA approved.                                   19         recall that were pulled mid-year?
     20          BY MR. O'CONNOR:                         20            A. Yes.
     21      Q. But for all those classes of              21            Q. What were those?
     22   controlled substances that are FDA approved,    22            A. Can I have a moment, please, with my
     23   DEA considered IMS Health or IQVIA data when 23            attorney?
     24   setting the aggregate production quota,         24            Q. You can answer the question unless
     25   correct?                                        25         you have a question about privilege.

                                                                                                 17 (Pages 62 - 65)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 18 of 100. PageID #: 227186


                                                     Page 66                                                  Page 68
      1          MR. CHANDLER: Is there a question              1      Q. Were there any years in which you
      2   of communication or privilege?                        2   understood the ARCOS data to be invalid?
      3          Go off the record for a minute.                3          MR. ELSNER: Objection.
      4          MR. O'CONNOR: Sure.                            4          MR. CHANDLER: Objection.
      5          THE VIDEOGRAPHER: We are going off             5          And I will instruct the witness not
      6   the record. The time is 11:00.                        6   to answer.
      7          (A short recess was taken.)                    7          You can ask about the quota
      8          THE VIDEOGRAPHER: We are back on               8   section's use of ARCOS data, but as far as the
      9   the record. The time is 11:06.                        9   validity or operation of ARCOS, no, we will
     10          You may proceed, Counsel.                     10   oppose that.
     11          BY MR. O'CONNOR:                              11          BY MR. O'CONNOR:
     12      Q. So Ms. Harper-Avilla, when we left,            12      Q. When considering the aggregate
     13   I think you were -- needed to consult with your      13   production quota, were there any years in which
     14   attorney.                                            14   DEA did not rely on ARCOS data for a particular
     15          Do you have an answer to the                  15   substance?
     16   question?                                            16      A. The data was considered, but it is a
     17      A. Can I have the question back,                  17   factor.
     18   please.                                              18      Q. And the data was considered in each
     19      Q. We will strike that question.                  19   and every year between 1995 and 2018, correct?
     20          Take a look at the next bullet point          20      A. Within its known limitations of the
     21   on the list.                                         21   data, yes.
     22          It says: "Data from DEA's internal            22      Q. And it was considered for each and
     23   system for tracking controlled substances            23   every opioid product for which quota was
     24   transactions known as the Automation of Reports      24   granted during those years, correct?
     25   and Consolidated Order System, ARCOS."               25      A. Within the limitations, yes.
                                                     Page 67                                                  Page 69
      1          Did DEA consider data from ARCOS in            1      Q. And what are those limitations?
      2   each year between 1995 and 2018 when                  2      A. That the data may not always be
      3   determining the aggregate production quota?           3   valid because of a manufacturing input.
      4      A. Yes.                                            4      Q. Were there any years when you did
      5      Q. And did it use data from ARCOS in               5   not feel comfortable considering that data
      6   determining the aggregate production quota in         6   because you believed it was unreliable?
      7   each of those years for every opioid product          7      A. The data was always considered
      8   for which it granted quota?                           8   suspect for each year.
      9      A. Where it was known that the data was            9      Q. What do you mean when you say, "it
     10   valid, yes.                                          10   was considered suspect?"
     11      Q. Were there any products for which              11      A. That the data was only as good as
     12   the data was not valid in any of those years         12   the input from the manufacturers.
     13   between 1995 and 2018?                               13      Q. The next bullet says: "Past history
     14          MR. ELSNER: Objection.                        14   of the quota granted for each substance from
     15          THE WITNESS: The data is only as              15   YERS/QMS."
     16   good as the manufacturers put into it and there      16          What is YERS/QMS?
     17   were errors with that in some cases.                 17      A. It's a year-end reporting system,
     18          BY MR. O'CONNOR:                              18   quota management system.
     19      Q. Where does the data from ARCOS come            19      Q. That's maintained by DEA?
     20   from?                                                20      A. Yes.
     21          MR. CHANDLER: Objection.                      21      Q. And what data does it include?
     22          I'm going to instruct the witness             22      A. Manufacturing and disposition data
     23   not to answer. She is not designated to              23   for manufacturers who are registered for
     24   testify about ARCOS.                                 24   Schedule I and II controlled substances as well
     25          BY MR. O'CONNOR:                              25   as internationally controlled III through V.
                                                                                                18 (Pages 66 - 69)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 19 of 100. PageID #: 227187


                                                   Page 70                                                    Page 72
      1      Q. Okay. The next bullet says:                   1          THE WITNESS: FDA's projected
      2   "Estimates of the projected medical, scientific     2   medical, scientific needs did not include
      3   and reserve stock needs provided by FDA's           3   manufacturing needs in terms of yield and
      4   controlled substances staff."                       4   losses from the manufacturers. DEA had to
      5         Were such estimates considered when           5   consider that in order to reach that estimate.
      6   determining the aggregate production quota?         6          BY MR. O'CONNOR:
      7      A. For every year that a letter                  7      Q. So in addition to the estimates
      8   existed, yes.                                       8   provided by FDA, the DEA also considered the
      9      Q. And between the years 1995 and 2018,          9   amounts needed to account for yield or loss in
     10   are you aware of any years in which FDA did not    10   production?
     11   provide a letter?                                  11      A. Yes.
     12      A. I am not aware.                              12      Q. Is that fair?
     13      Q. And did DEA consider the estimates           13          Okay. And is it fair to say that
     14   provided by FDA when determining the aggregate     14   under the regulations regarding quota, DEA was
     15   production quota of each and every opioid          15   responsible for setting quota at a level that
     16   product for which it granted quota?                16   was consistent with the medical, scientific and
     17      A. Yes.                                         17   industrial needs of the United States?
     18      Q. How would DEA receive estimates of           18      A. Yes. And the reserve stock.
     19   the projected medical, scientific and reserve      19      Q. The last bullet says: "Data on the
     20   stock needs from the FDA?                          20   diversion of controlled substances, such as
     21      A. In a letter.                                 21   information from case seizures and national
     22      Q. The same letter, same type of letter         22   databases of drug evidence."
     23   you mentioned earlier today?                       23          Did the DEA consider that data when
     24      A. It's the exact letter.                       24   establishing aggregate production quota in each
     25         MR. O'CONNOR: Counsel, I don't know          25   and every year between 1995 and 19 -- or in
                                                   Page 71                                                    Page 73
      1   that we received those letters but we make a        1   2018?
      2   request on the record to get them.                  2          MR. ELSNER: Objection.
      3          MR. CHANDLER: Okay. We can discuss           3          THE WITNESS: When the data was
      4   that afterwards.                                    4   available, yes.
      5          BY MR. O'CONNOR:                             5          BY MR. O'CONNOR:
      6      Q. And did the DEA consider any other            6      Q. During which years between 1995 and
      7   estimates of the projected medical, scientific      7   2018, did DEA not consider data on the
      8   and reserve stock needs besides the ones            8   diversion of controlled substances when setting
      9   provided by FDA when determining aggregate          9   the aggregate production quota?
     10   production quota?                                  10          MR. ELSNER: Objection.
     11      A. Yes. Those provided by the                   11          THE WITNESS: When the data was not
     12   companies themselves.                              12   available.
     13      Q. In addition to estimates provided to         13          BY MR. O'CONNOR:
     14   the DEA of the projected medical, scientific       14      Q. In what years was the data not
     15   and reserve stock needs, did DEA come to its       15   available?
     16   own determination of the projected medical,        16          MR. ELSNER: Objection.
     17   scientific and reserve stock needs when            17          THE WITNESS: When the case was
     18   considering aggregate production quota?            18   still open against a manufacturer.
     19      A. DEA took into account the                    19          BY MR. O'CONNOR:
     20   manufacturing needs in order to make those         20      Q. So let's talk for a moment about
     21   projected accounts from FDA.                       21   what data on diversion of controlled substances
     22      Q. I'm sorry. I'm not sure I                    22   was considered.
     23   understand the answer.                             23          When setting the aggregate
     24          Could you just explain?                     24   production quotas, what data on diversion did
     25          MR. ELSNER: Objection.                      25   the agency use?

                                                                                               19 (Pages 70 - 73)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 20 of 100. PageID #: 227188


                                                 Page 74                                               Page 76
      1      A. Internal data.                            1   considered.
      2      Q. What sorts of internal data?              2      Q. Are you aware of any year between
      3      A. Known quantifiable seizure data,          3   1995 and 2018 in which diversion data regarding
      4   known quantifiable information received from 4      Hydrocodone was not considered when setting the
      5   state and local law enforcement agencies or     5   Hydrocodone aggregate production quota?
      6   labs.                                           6          MR. ELSNER: Objection.
      7      Q. And to the extent DEA had data on         7          THE WITNESS: I'm not aware of when
      8   diversion that was quantifiable, did it         8   it was not considered.
      9   consider that data in connection with setting   9          BY MR. O'CONNOR:
     10   the aggregate production quotas for opioids? 10        Q. Are you aware of any year between
     11      A. Yes.                                     11   1995 and 2018 in which diversion data regarding
     12      Q. Did it consider that data in setting     12   any other opioid product was not considered
     13   the aggregate production quota for opioids in 13    when setting aggregate production quotas?
     14   each and every year between 1995 and 2018? 14          A. I am not aware, if it's spelled out
     15      A. Where it existed, yes.                   15   a controlled substance, then we considered it.
     16      Q. Were there any years during that         16      Q. So to be clear, was there any year
     17   time period where, to your knowledge, the data 17   between 1995 and 2018 in which DEA did not
     18   did not exist?                                 18   consider diversion data involving any other
     19          MR. CHANDLER: Objection. Vague. 19           opioid product when setting aggregate
     20          You can answer.                         20   production quotas?
     21          THE WITNESS: There are years where 21               MR. ELSNER: Objection.
     22   the data was not broken out by controlled      22          THE WITNESS: DEA considered
     23   substance, so we could not quantify it per     23   diversion data when it was a specific
     24   controlled substance, and that led to other    24   controlled substance, not a vague term opioid.
     25   issues.                                        25          BY MR. O'CONNOR:
                                                 Page 75                                               Page 77
      1          BY MR. O'CONNOR:                         1      Q. Okay. But when DEA had data on
      2      Q. Where the data could not be broken        2   those specific opioids, it considered that
      3   out by controlled substance, did the DEA still 3    diversion data when setting the aggregate
      4   consider that information when setting          4   production quota, correct?
      5   aggregate production quota?                     5      A. Yes, if we have the data.
      6      A. It could not be attributed to a           6      Q. And during what years did DEA not
      7   specific controlled substance, so no.           7   have the data?
      8      Q. In what years did the data not allow      8      A. I don't recall.
      9   the diversion data to be attributed to a        9      Q. Do you recall any year in which DEA
     10   particular substance?                          10   did not have that data?
     11          MR. ELSNER: Objection.                  11          MR. ELSNER: Objection.
     12          THE WITNESS: It varied in the years 12              THE WITNESS: There were -- there
     13   based on how the data was submitted to DEA. 13      was a time frame where the data was not
     14   Once again, it's not our internal data.        14   specific to the controlled substance. It was
     15          BY MR. O'CONNOR:                        15   just termed opioid or termed narcotic, and in
     16      Q. And who were you receiving the data 16        which case, we could not consider it for the
     17   from?                                          17   individual scope.
     18      A. It would have been state and local       18          BY MR. O'CONNOR:
     19   labs.                                          19      Q. During what years or what time frame
     20      Q. Are you aware of any year between        20   did you receive the data that was just termed
     21   '95 -- 1995 and 2018 in which diversion data 21     opioid or narcotic and not broken out by
     22   regarding oxycodone was not considered when 22      individual molecule?
     23   setting the oxycodone aggregate production     23      A. There are various times. I don't
     24   quota?                                         24   recall specific ones.
     25      A. I am not aware when it was not           25      Q. So you recall no specific times in
                                                                                          20 (Pages 74 - 77)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 21 of 100. PageID #: 227189


                                                     Page 78                                                  Page 80
      1   which the data wasn't broken out?                     1   Federal Register, who at DEA needs to approve
      2          MR. ELSNER: Objection.                         2   the aggregate production quota numbers?
      3          MR. CHANDLER: Objection. Scope.                3      A. I don't understand your question.
      4          BY MR. O'CONNOR:                               4      Q. Before the aggregate production
      5      Q. You can answer the question.                    5   quota numbers are published in the Federal
      6      A. The data was whatever it was at the             6   Register, does someone at the agency have to
      7   time. If it was broken out by controlled              7   approve those numbers?
      8   substance, we had it. If it was just termed           8      A. The final approval of those numbers
      9   narcotic, we could not use it for the specific        9   is by the person who signs the Federal
     10   controlled substance, and that could occur at        10   Register.
     11   any point in time because we did not input the       11      Q. And who is that in the case of
     12   data, that came from state and local labs.           12   aggregate production quotas?
     13      Q. Okay. If we had to find out which              13      A. It would be the administrator or
     14   years DEA wasn't able to use the individualized      14   active administrator or the deputy
     15   data, how would we do that?                          15   administrator depending on who is in charge at
     16          MR. CHANDLER: Objection. Scope.               16   that time.
     17          THE WITNESS: I'm not sure. I don't            17      Q. Okay. Before the aggregate
     18   know.                                                18   production quota numbers go to any of the
     19          BY MR. O'CONNOR:                              19   individuals you just mentioned, are there
     20      Q. Is there anyone else at DEA who                20   others at DEA that have to sign off first?
     21   might know the answer to that question?              21      A. Yes.
     22          MR. ELSNER: Objection.                        22      Q. Okay. Who are those people that
     23          THE WITNESS: I don't know.                    23   need to sign off first?
     24          BY MR. O'CONNOR:                              24      A. I don't know the exact list of
     25      Q. Is there a particular process that             25   people who sign off, but it would be the head
                                                     Page 79                                                  Page 81
      1   DEA follows when setting its aggregate                1   of diversion, as well as whoever is in the
      2   production quota for opioid products?                 2   chain between that person and the
      3      A. Yes.                                            3   administrator.
      4      Q. Could you describe that process?                4      Q. Okay. When you were --
      5      A. It takes into account all of the                5          MR. CHANDLER: I'm sorry, I will
      6   steps that you just mentioned earlier.                6   jump in here. Stacy prepared a list of people
      7      Q. And who is involved at DEA in the               7   in the approval chain going back to at least
      8   process?                                              8   2011, so I think that would be a good time to
      9      A. There are various people in                     9   work from this, so if you want to testify from
     10   different sections involved in the process.          10   that, and we have a copy for you all.
     11      Q. Can you give me some examples?                 11          MR. O'CONNOR: Thank you.
     12      A. The quota section is involved, the             12   Appreciate that.
     13   reg writing group is involved, chief counsel is      13          BY MR. O'CONNOR:
     14   involved. It's various sections within the           14      Q. And Ms. Harper-Avilla, have you
     15   agency.                                              15   reviewed this document before?
     16      Q. Through that process, the agency               16      A. Yes.
     17   determines an aggregate production quota for         17      Q. And is all the information contained
     18   various individual classes of controlled             18   in it accurate?
     19   substances, correct?                                 19      A. Yes.
     20      A. In Schedule I and II, yes.                     20      Q. Okay.
     21      Q. And those proposed for a proposal              21          MR. O'CONNOR: I'm going to mark
     22   for those quotas are then published in the           22   this Exhibit 4.
     23   Federal Register; is that correct?                   23          (Deposition Exhibit 4 was marked for
     24      A. Yes.                                           24   identification.)
     25      Q. Before they are published in the               25          BY MR. O'CONNOR:
                                                                                                21 (Pages 78 - 81)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 22 of 100. PageID #: 227190


                                                     Page 82                                                   Page 84
      1      Q. Just so I understand, this document       1            Q. And who considers that request
      2   lists the individuals at DEA who were required 2          within the agency?
      3   to review and approve aggregate production      3            A. The UN reporting section does.
      4   quota before it was published in the Federal    4            Q. What factors does DEA take into
      5   Register; is that correct?                      5         account when deciding whether to grant or how
      6      A. Yes.                                      6         much to grant with respect to individual
      7      Q. And while you were unit chief and         7         manufacturing quota?
      8   then section chief, did you also have to        8            A. The factors are laid out in the
      9   approve the quota numbers before they were      9         regulation and we consider those factors.
     10   published in the Federal Register?             10            Q. Okay. As you sit here today, do you
     11      A. Yes.                                     11         recall what those factors are?
     12      Q. During any year in which you             12            A. I have the C.F.R. with me, but I
     13   approved those numbers, did you feel that they 13         don't remember them verbatim.
     14   did not reflect the legitimate medical,        14            Q. Fair enough. Fair enough. Let's
     15   scientific and industrial needs of the United  15         take a look at -- see if we can help.
     16   States?                                        16                MR. O'CONNOR: I'm going to mark
     17           MR. CHANDLER: Objection. Scope. 17                this as Exhibit 5.
     18           THE WITNESS: No.                       18                (Deposition Exhibit 5 was marked for
     19           BY MR. O'CONNOR:                       19         identification.)
     20      Q. After the proposed aggregate             20                BY MR. O'CONNOR:
     21   production quotas are published in the Federal 21            Q. Was this the regulation that you
     22   Register, do members of the public have an     22         were thinking of a minute ago?
     23   opportunity to comment on them?                23            A. Yes.
     24      A. Yes.                                     24            Q. All right. So I am looking at
     25      Q. So if someone felt that the              25         Section 1303.23(a).
                                                     Page 83                                                   Page 85
      1   aggregate production quotas were too high, for        1          Is that the section that describes
      2   example, would they have an opportunity to            2   the factors DEA considers when determining
      3   submit comments to the DEA reflecting that            3   individual manufacturing quotas?
      4   view?                                                 4      A. Yes.
      5       A. Yes.                                           5      Q. Okay. And in Subsection 2, it says
      6       Q. If the DEA received any comments               6   that the individual manufacturing quota can be
      7   regarding the aggregate production quota, would       7   adjusted "by any other factors which the
      8   it take them into account when deciding the           8   administrator deems relevant."
      9   final aggregate production quota numbers?             9          Is that your understanding of the
     10       A. Can I have the question again.                10   regulation?
     11       Q. Sure. If the DEA received any                 11          MR. CHANDLER: Objection. Vague.
     12   comments regarding the aggregate production          12          THE WITNESS: I don't understand
     13   quota, would it take them into account when          13   your question.
     14   deciding the final aggregate production quota        14          BY MR. O'CONNOR:
     15   numbers?                                             15      Q. Fair enough. The DEA is permitted
     16       A. Yes.                                          16   to adjust individual manufacturing quotas based
     17       Q. Is there a process in place at DEA            17   on any factor the administrator deems relevant,
     18   for determining individual manufacturing             18   correct?
     19   quotas?                                              19          MR. ELSNER: Objection.
     20       A. Yes.                                          20          THE WITNESS: Yes.
     21       Q. What is that process?                         21          BY MR. O'CONNOR:
     22       A. I don't have it detailed. It's in             22      Q. Among those factors listed here is
     23   the C.F.R., but basically, a bulk manufacturer       23   the extent of any diversion of the controlled
     24   would be required to provide information             24   substance.
     25   regarding why they needed that quota.                25          Do you see that?

                                                                                                 22 (Pages 82 - 85)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 23 of 100. PageID #: 227191


                                                     Page 86                                                  Page 88
      1     A.    In Subsection 2?                              1   Substances Act, would you grant that quota
      2     Q.    Yes.                                          2   request?
      3          MR. CHANDLER: Are we looking at                3         MR. ELSNER: Objection.
      4   (a)(2) or (b)(2)?                                     4         MR. CHANDLER: Objection. Vague.
      5          MR. O'CONNOR: (a)(2).                          5         THE WITNESS: The Controlled
      6          THE WITNESS: I do not.                         6   Substances Act is a multipiece document and it
      7          BY MR. O'CONNOR:                               7   would depend on what violation they are
      8      Q. So does the DEA consider, in setting            8   supposedly accused of.
      9   individual manufacturing quotas, the extent of        9         BY MR. O'CONNOR:
     10   diversion of a particular controlled substance?      10     Q. If the DEA believed that a
     11      A. It depends on the manufacturer.                11   manufacturer did not have effective controls
     12      Q. What do you mean by that?                      12   against diversion in place, would it grant that
     13      A. The CSA and these implemented regs             13   manufacturer an individual manufacturing quota?
     14   were written at a time when most manufacturers       14         MR. CHANDLER: Objection. Vague.
     15   were vertically integrated from top to bottom        15         MR. ELSNER: Objection.
     16   and put to actual patient pill form, but             16         THE WITNESS: Can I have the
     17   currently, that is not the case for most of the      17   question again.
     18   manufactures who are applying to be a bulk           18         BY MR. O'CONNOR:
     19   manufacturer. They are applying to provide           19     Q. Sure. If the DEA believed that a
     20   material to a second manufacturer who is then        20   manufacturer did not have effective controls
     21   authorized to do dosage form to the patient, so      21   against diversion in place, would it grant that
     22   there is a disconnect apparently between how         22   manufacturer an individual manufacturing quota?
     23   these regs were written and actual business          23         MR. ELSNER: Objection.
     24   practices today. If a manufacturer is                24         MR. CHANDLER: Same objection.
     25   vertically integrated, then yes, it would be         25         THE WITNESS: The DEA has to act on
                                                     Page 87                                                  Page 89
      1   considered.                                           1   more than belief. As a government entity, it
      2      Q. Okay. To the extent a manufacturer              2   is fact-based, fact-driven.
      3   is not vertically integrated, would the DEA           3           BY MR. O'CONNOR:
      4   still consider the extent of diversion of a           4      Q. If the DEA was aware of any facts
      5   particular controlled substance when                  5   that a manufacturer was not maintaining
      6   determining the appropriate individual                6   effective controls against diversion, would it
      7   manufacturing quota?                                  7   grant that manufacturer an individual
      8      A. Yes.                                            8   manufacturing quota?
      9      Q. In determining the individual                   9           MR. ELSNER: Objection.
     10   manufacturing quota, would the DEA also              10           MR. CHANDLER: Objection. Form.
     11   consider whether the manufacturer was complying      11           THE WITNESS: Each manufacturer is
     12   with the Controlled Substances Act?                  12   allowed due process until the fact is proven
     13      A. I don't understand your question.              13   with certainty.
     14      Q. If the DEA believed a manufacturer             14           BY MR. O'CONNOR:
     15   was not complying with the Controlled                15      Q. So it's your testimony here today,
     16   Substances Act, would it grant that                  16   that if you were aware that a manufacturer was
     17   manufacturer an individual manufacturing quota?      17   not maintaining effective controls against
     18           MR. ELSNER: Objection.                       18   diversion, you would still grant that
     19           THE WITNESS: I still don't                   19   manufacturer an individual manufacturing quota?
     20   understand your question.                            20           MR. ELSNER: Objection.
     21           BY MR. O'CONNOR:                             21           MR. CHANDLER: Objection. Vague.
     22      Q. In the course of the approval                  22   Form generally.
     23   process for an individual manufacturing quota,       23           THE WITNESS: If the DEA had
     24   if it came to your attention that the requester      24   knowledge, it would investigate it, and that's
     25   was not complying with the Controlled                25   what would occur in between whether a quota was

                                                                                                23 (Pages 86 - 89)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 24 of 100. PageID #: 227192


                                                    Page 90                                                  Page 92
      1   granted or not.                                      1   the allocation of procurement quota, correct?
      2          BY MR. O'CONNOR:                              2          MR. CHANDLER: Objection. Vague as
      3      Q. And if that investigation determined           3   to time.
      4   that the manufacturer was not maintaining            4          BY MR. O'CONNOR:
      5   effective controls against diversion, the DEA        5      Q. You can answer the question.
      6   would not grant it a manufacturing quota,            6      A. It does, after the effective date.
      7   correct?                                             7      Q. Fair enough. And to your knowledge,
      8          MR. ELSNER: Objection.                        8   has this regulation changed significantly in
      9          MR. CHANDLER: Objection. Form.                9   the last 20 years?
     10          THE WITNESS: If the DEA had                  10          MR. CHANDLER: Objection. Vague.
     11   evidence and the due process was completed, the     11   Scope.
     12   manufacturer would not be granted quota.            12          MR. ELSNER: Objection.
     13          BY MR. O'CONNOR:                             13          THE WITNESS: It changed last year.
     14      Q. Okay. I want to turn to procurement           14          BY MR. O'CONNOR:
     15   quota now.                                          15      Q. Do you know which -- in what way it
     16          What does procurement quota refer            16   changed?
     17   to?                                                 17          MR. ELSNER: Objection.
     18      A. Procurement quota is the quota                18          BY MR. O'CONNOR:
     19   granted for a manufacturer to receive or            19      Q. Strike that.
     20   procure aggregate production -- active              20          Let's move on. Do you agree with
     21   pharmaceutical ingredients, API, from a bulk        21   the statement in Subsection A that one of the
     22   manufacturer, so this is where I talk about the     22   purposes of the procurement quota is to ensure
     23   fact that the manufacturing process is not          23   an adequate and uninterrupted supply of basic
     24   vertically integrated and bulk manufacturers        24   classes of controlled substances?
     25   will sell to dosage form manufacturers who are      25          MR. CHANDLER: Objection. Scope.
                                                    Page 91                                                  Page 93
      1   not the same company. Therefore, a procurement       1          THE WITNESS: That's what is written
      2   quota is necessary.                                  2   there, yes.
      3      Q. Fair to say that procurement quota             3          BY MR. O'CONNOR:
      4   is what allows a manufacturer to buy the raw         4      Q. Okay. And in setting procurement
      5   material that it needs to produce a dosage           5   quotas, do you consider the need to ensure an
      6   product?                                             6   adequate and uninterrupted supply of basic
      7      A. Correct.                                       7   classes of controlled substances?
      8      Q. Okay. Is there a process in place              8      A. Yes.
      9   at DEA for considering and approving                 9      Q. How does the DEA determine how much
     10   procurement quotas?                                 10   procurement quota to allocate to a particular
     11      A. Yes.                                          11   manufacturer?
     12      Q. What is that process?                         12      A. It depends on the manufacturer's
     13      A. It depends on the manufacturer's              13   business activity on what considerations are
     14   business practice and it's written out in the       14   taken into account.
     15   C.F.R. under procurement quota.                     15      Q. What are some of the considerations
     16      Q. Okay.                                         16   that might be taken into account?
     17          MR. O'CONNOR: We will mark this              17      A. FDA approval.
     18   Exhibit 6.                                          18      Q. Okay.
     19          (Deposition Exhibit 6 was marked for         19      A. Manufacturing yields and losses.
     20   identification.)                                    20      Q. Are there any other factors that DEA
     21          BY MR. O'CONNOR:                             21   takes into account when considering how much
     22      Q. Are you familiar with this                    22   procurement quota to grant?
     23   regulation?                                         23      A. Yes.
     24      A. Yes.                                          24      Q. What are those factors?
     25      Q. And it's the regulation that governs          25      A. Basic market share, FDA recalls.

                                                                                               24 (Pages 90 - 93)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 25 of 100. PageID #: 227193


                                                   Page 94                                                   Page 96
      1      Q. Okay. Are there any other factors,            1   Unit No. 3. The time is 1:07.
      2   other than those we just discussed, that the        2          You may proceed, Counsel.
      3   DEA considers when setting procurement quota?       3          BY MR. O'CONNOR:
      4      A. Known cases against a manufacturer.           4      Q. Welcome back.
      5      Q. What do you mean by "known cases?"            5      A. Thank you.
      6      A. We can't consider something we don't          6          MR. O'CONNOR: I'm going to mark two
      7   know. If there is unfortunately a case going        7   documents here as Exhibits 7 and 8.
      8   on from another part of DEA that we are not         8          (Deposition Exhibit 7 was marked for
      9   apprised of, then we cannot consider it.            9   identification.)
     10      Q. What do you mean by "a case?"                10          (Deposition Exhibit 8 was marked for
     11      A. An investigation.                            11   identification.)
     12      Q. If DEA had reason to believe that a          12          BY MR. O'CONNOR:
     13   manufacturer was causing controlled substances     13      Q. These are documents that appeared on
     14   to be diverted, would it grant that                14   DEA's website.
     15   manufacturer a procurement quota?                  15      A. Okay.
     16          MR. CHANDLER: Objection.                    16          MR. CHANDLER: Just so we are clear,
     17          THE WITNESS: It would be turned             17   Document 7 is the one updated January 13, 2010;
     18   over to the field investigators to determine.      18   is that right?
     19          BY MR. O'CONNOR:                            19          MR. O'CONNOR: That's correct.
     20      Q. And if those field investigators             20          MR. CHANDLER: And 8 is the January
     21   determined that the manufacturer was causing       21   22nd.
     22   controlled substances to be diverted, would it     22          MR. O'CONNOR: That's right.
     23   grant that manufacturer a procurement quota?       23          BY MR. O'CONNOR:
     24          MR. CHANDLER: Objection. Vague.             24      Q. Starting with No. 7, which reflects
     25   Incomplete hypothetical.                           25   the aggregate production quota history for
                                                   Page 95                                                   Page 97
      1           MR. ELSNER: Objection.                   1      selective substances between 2000 and 2010.
      2           THE WITNESS: The manufacturer would      2             Do you see that?
      3   still end up going through due process.          3         A. Yes.
      4           BY MR. O'CONNOR:                         4         Q. Do you recognize this chart?
      5      Q. But at the end of the day, if DEA          5         A. I recognize the format of the chart,
      6   found that that manufacturer was diverting       6      yes.
      7   controlled substances or causing them to be      7         Q. Do you agree that it reflects the
      8   diverted, DEA would not give them a procurement 8       aggregate production quota history for the
      9   quota, correct?                                  9      substances listed here on the left?
     10           MR. ELSNER: Objection.                  10             MR. ELSNER: Objection.
     11           MR. CHANDLER: Objection. Vague.         11             THE WITNESS: With the exception of
     12   Incomplete hypothetical.                        12      2010, it reflects the aggregate production
     13           THE WITNESS: At the end of due          13      quota as finalized from 2000 to 2009.
     14   process, if the manufacturer was found to be in 14             BY MR. O'CONNOR:
     15   violation, then there would be no quota, but    15         Q. Okay. And with respect to 2010,
     16   during the due process, it is open.             16      what does it reflect?
     17           MR. O'CONNOR: We have gone about        17         A. It would reflect the established.
     18   another hour. Should we take a break?           18         Q. And is it fair to state the
     19           MR. CHANDLER: Okay.                     19      established quota might change over the course
     20           THE VIDEOGRAPHER: We are going off 20           of the year?
     21   the record. This is the end of Media Unit No.   21         A. Correct.
     22   2. The time is 11:58.                           22         Q. Let's look at No. 8, Exhibit 8.
     23           (A short recess was taken.)             23         A. Yes.
     24           THE VIDEOGRAPHER: We are back on        24         Q. And do you agree that this reflects
     25   the record. This is the beginning of Media      25      the aggregate production quota history for the

                                                                                               25 (Pages 94 - 97)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 26 of 100. PageID #: 227194


                                                     Page 98                                                  Page 100
      1   substances listed on the left between the years       1   DEA consider all of the factors it was required
      2   2009 through at least 2018?                           2   to consider under the Controlled Substances Act
      3      A. The final aggregate production                  3   in determining those numbers?
      4   quota, yes.                                           4          MR. CHANDLER: Objection. Scope.
      5      Q. And I want to direct your attention             5          THE WITNESS: So far as the factors
      6   on Exhibit 7 to the lines that say: "Oxycodone        6   related to that substance, then yes.
      7   (sale) and oxycodone (CONV)."                         7          BY MR. O'CONNOR:
      8          What does oxycodone (sale) mean?               8      Q. Just to address counsel's objection
      9      A. That that is the aggregate                      9   to scope, with respect to all the numbers
     10   production quota set for oxycodone that will go      10   listed in Exhibits 7 and 8 that are opioids,
     11   to dosage form manufacturers.                        11   did the DEA consider all of the factors that it
     12      Q. Okay. And what does oxycodone                  12   was required to consider by the Controlled
     13   (CONV) mean?                                         13   Substances Act?
     14      A. So CONV stands for conversion and              14      A. Where appropriate, yes.
     15   that is the amount of oxycodone that will be         15      Q. Were there any instances in which
     16   converted to a different substance.                  16   DEA did not consider factors it was required to
     17      Q. And you agree that the numbers                 17   consider under the Controlled Substances Act?
     18   listed to the right of oxycodone (sale) reflect      18      A. If there was no data for it, then
     19   the final aggregate production quota for the         19   no, we could not consider it.
     20   years listed in the column headings?                 20      Q. Are there any substances for which
     21          MR. CHANDLER: Objection.                      21   there was no data to consider the factors the
     22   Mischaracterizes prior testimony.                    22   DEA was required to consider?
     23          THE WITNESS: For 2000 through 2009,           23          MR. ELSNER: Objection.
     24   yes.                                                 24          MR. CHANDLER: Objection.
     25          BY MR. O'CONNOR:                              25          BY MR. O'CONNOR:
                                                     Page 99                                                  Page 101
      1      Q. Okay. So just to make sure I am                 1      Q. You can answer.
      2   reading this correctly, if we look in the             2      A. Yes.
      3   column 2008, the number is for oxycodone (sale)       3      Q. And which were those?
      4   70,000.                                               4      A. Alfentanil is only for export so
      5           What does that 70,000 represent?              5   there is not -- the other factors are missing
      6      A. That 70,000 represents the DEA's                6   when we do the request.
      7   estimated final number of the amount of               7      Q. So with respect to codeine -- and
      8   oxycodone for sale that may be required to            8   just to be clear, you said Alfentanil, correct?
      9   fulfill legitimate, scientific, medical,              9      A. Correct.
     10   research, industrial needs, export as well as        10      Q. I want to make sure the court
     11   inventory requirements.                              11   reporter has that. Thank you.
     12      Q. Okay. And in coming to that number,            12          With respect to codeine, fentanyl,
     13   did DEA take into account the factors that it        13   hydromorphone, levorphanol, methadone,
     14   was required to consider under the Controlled        14   morphine, opium, oxycodone, hydromorphone and
     15   Substances Act?                                      15   sufentanil, are you aware of any year in which
     16           MR. ELSNER: Objection.                       16   the data DEA was required to consider to
     17           THE WITNESS: Yes.                            17   determine the aggregate production quota was
     18           BY MR. O'CONNOR:                             18   not available?
     19      Q. And in coming to that number, did              19      A. That list that you mentioned is
     20   DEA consider the factors it was required to          20   rather long and I don't remember all the
     21   under the regulation related to aggregate            21   substances so where the substances had data for
     22   production quota?                                    22   every single factor, those factors were
     23      A. Yes.                                           23   considered. If there was a place where FDA did
     24      Q. And with respect to the numbers                24   not approve or it was not marketed in the U.S.,
     25   listed for the other substances here, did the        25   then it could not be considered.

                                                                                               26 (Pages 98 - 101)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 27 of 100. PageID #: 227195


                                                    Page 102                                                 Page 104
      1      Q. With the exception of Alfentanil,               1          MR. CHANDLER: Objection.
      2   which you already mentioned, are there any            2          THE WITNESS: I don't understand the
      3   other products for which DEA did not have the         3   question.
      4   data necessary for it to consider the factors         4          BY MR. O'CONNOR:
      5   that it's required by statute and regulation to       5      Q. If you didn't have data from
      6   consider in establishing the aggregate                6   manufacturers, how did you make that decision?
      7   production quota?                                     7      A. For which?
      8           MR. CHANDLER: Objection.                      8      Q. Oxycodone.
      9           THE WITNESS: There would be places            9      A. For which? Our aggregate production
     10   -- there would be substances where DEA could         10   quota?
     11   not have full data, yes.                             11      Q. Yes.
     12           BY MR. O'CONNOR:                             12      A. DEA made the decision based on
     13      Q. And which are those substances?                13   manufacturing data, FDA data as well as other
     14      A. Opium.                                         14   information as required in the CSA. However,
     15      Q. Okay. Are there any other                      15   DEA bills each year separately so if a
     16   substances for which DEA did not have the data       16   manufacturer pulled out of the market, they
     17   it needed to determine aggregate production          17   would not submit that data. However, a new
     18   quota?                                               18   manufacturer may come into the market and have
     19           MR. CHANDLER: Objection.                     19   a different weighted value for the market at
     20           THE WITNESS: Yes, there's other              20   that time.
     21   places.                                              21      Q. Would you agree that with respect to
     22           BY MR. O'CONNOR:                             22   aggregate production quota for oxycodone, that
     23      Q. And what are those?                            23   DEA considered the factors it was legally
     24      A. Methadone.                                     24   required to consider?
     25      Q. Okay. What information was lacking             25      A. Yes.
                                                    Page 103                                                 Page 105
      1   with respect to Methadone?                            1      Q. Okay. With respect to
      2           MR. CHANDLER: Objection.                      2   Hydromorphone, in each of the years listed
      3           THE WITNESS: Methadone is used in             3   here, do you agree that with respect to
      4   narcotics treatment facilities and therefore,         4   aggregate production quota, DEA considered the
      5   it is not always recorded accurately.                 5   factors it was legally required to consider?
      6   Therefore, actual usage is not always captured        6      A. Yes.
      7   correctly.                                            7      Q. With respect to Hydromorphone --
      8           BY MR. O'CONNOR:                              8   sorry, strike that.
      9       Q. Okay. So for oxycodone, in                     9          With respect to Hydrocodone, in each
     10   particular, for each of the years listed here,       10   of the years listed, do you agree that with
     11   did DEA consider the factors it was required by      11   respect to aggregate production quota, DEA
     12   statute and regulation to consider in setting        12   considered the factors it was legally required
     13   the aggregate production quota?                      13   to consider?
     14       A. Yes, where data is available, yes.            14      A. Yes.
     15       Q. Were there any years during which             15      Q. With respect to oxymorphone, in
     16   data was not available for oxycodone?                16   setting the aggregate production quota in each
     17           MR. ELSNER: Objection.                       17   of the years listed, do you agree that DEA
     18           THE WITNESS: There were years where          18   considered the factors it was legally required
     19   manufacturers did not submit complete and            19   to consider?
     20   timely information in order for us to do our         20      A. Yes.
     21   work.                                                21      Q. With respect to fentanyl, in setting
     22           BY MR. O'CONNOR:                             22   the aggregate production quota for the years
     23       Q. When DEA granted the quota for                23   listed here, did DEA consider the factors it
     24   oxycodone during those years, on what                24   was legally required to consider?
     25   information did it rely?                             25      A. Yes.

                                                                                             27 (Pages 102 - 105)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 28 of 100. PageID #: 227196


                                                   Page 106                                                                Page 108
      1      Q. With respect to morphine, in setting           1   combination products were listed as Schedule
      2   the aggregate production quota, did DEA              2   III controlled substances, correct?
      3   consider all of the factors it was legally           3     A      Yes
      4   required to consider?                                4           MR O'CONNOR: Can we take a short
      5      A. Yes.                                           5   break
      6      Q. As a representative of DEA sitting             6           THE VIDEOGRAPHER: We are going off
      7   here today, do you believe the DEA is                7   the record The time is 1:25
      8   responsible for the numbers that appear on this      8           (A short recess was taken )
      9   sheet?                                               9           THE VIDEOGRAPHER: We are back on
     10          MR. ELSNER: Objection.                       10   the record The time is 1:41
     11          MR. CHANDLER: Objection. Scope.              11           You may proceed, Counsel
     12   Vague.                                              12   EXAMINATION BY COUNSEL FOR DEFENDANT McKESSON
     13          THE WITNESS: The DEA is known to             13           BY MR EPPICH:
     14   put the numbers out, yes, correct.                  14     Q      Ms Harper-Avilla, my name is Chris
     15          BY MR. O'CONNOR:                             15   Eppich I'm from the law firm of Covington &
     16      Q. So you would agree that DEA is                16   Burling and I represent McKesson in this
     17   responsible for the aggregate production quota      17   matter
     18   set each year for these products?                   18           Are you familiar with the
     19          MR. CHANDLER: Objection. Scope.              19   distributor defendants in this case?
     20   Vague.                                              20     A      I know of McKesson
     21          MR. ELSNER: Objection.                       21     Q      McKesson and AmerisourceBergen and
     22          THE WITNESS: DEA is required to              22   Cardinal Health?
     23   publish the value, correct, yes.                    23     A      Yes
     24          BY MR. O'CONNOR:                             24     Q      Those are -- I represent those folks
     25      Q. DEA also determines the value of the          25   today for this portion of your testimony

                                                   Page 107                                                                Page 109
      1   quota for each of these substances, correct?         1             Let me -- let me pick up where Mr.
      2         MR. CHANDLER: Objection.                       2     O'Connor just left off. He asked you a
      3         MR. ELSNER: Objection.                         3     question referring to Exhibit 7 and 8.
      4         THE WITNESS: DEA is required to                4             He asked you, and I will just read
      5   provide an estimated value for these                 5     it right from the record. He said: "So just
      6   substances.                                          6     to make sure I am reading this correctly, if we
      7         BY MR. O'CONNOR:                               7     look at the column 2008, the number for
      8      Q. And the numbers that are ultimately            8     oxycodone sales 70,000, what does that 70,000
      9   published as the aggregate production quota for      9     represent?"
     10   each of these substances are determined by DEA,     10             And your testimony, ma'am, your
     11   correct?                                            11     answer: "That 70,000 represents the DEA's
     12         MR. CHANDLER: Objection.                      12     estimated final number of the amount of
     13         THE WITNESS: With assistance from             13     oxycodone for sale that may be required to
     14   other agencies, yes.                                14     fulfill legitimate, scientific, medical
     15         BY MR. O'CONNOR:                              15     research, industrial needs as well as inventory
     16      Q. Does DEA set an aggregate production          16     requirements."
     17   quota for the total amount of Hydrocodone that      17             Do you remember providing that
     18   can be manufactured in a given year?                18     testimony, ma'am?
     19      A. Yes.                                          19         A. Yes.
     20      Q. So when Hydrocodone is used in                20         Q. And would your answer be the same
     21   combination product, like Vicodin, the amount       21     for every year reflected on Exhibit 7 and 8?
     22   of Hydrocodone used counts against the quota        22             MR. CHANDLER: Objection. Vague.
     23   amount, correct?                                    23             THE WITNESS: It would -- it would
     24      A. Yes.                                          24     be for legitimate medical needs, scientific
     25      Q. And that was true when Hydrocodone            25     research, industrial, export as well as
                                                                                                              28 (Pages 106 - 109)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 29 of 100. PageID #: 227197


                                                    Page 110                                                Page 112
      1   inventory needs, yes, and then the                    1   that is used to set the quotas, correct?
      2   manufacturing losses that are necessary to make       2          MR. ELSNER: Objection.
      3   those final figures.                                  3          MR. CHANDLER: Objection.
      4         BY MR. EPPICH:                                  4          THE WITNESS: The list of companies
      5      Q. Thank you. And is it also true for              5   you just provided do not receive quota and
      6   every opioid that is listed on Exhibit 7 and 8?       6   therefore, are not considered for aggregate
      7         MR. CHANDLER: Objection. Vague.                 7   production quotas.
      8         THE WITNESS: It would -- it would               8          BY MR. EPPICH:
      9   work for those that are -- have FDA-approved          9      Q. DEA does not consult with wholesale
     10   products. Those that do not, no.                     10   distributors, such as McKesson, Cardinal and
     11         BY MR. EPPICH:                                 11   AmerisourceBergen when DEA sets the quotas for
     12      Q. And which ones have FDA-approved               12   controlled substances, correct?
     13   products, ma'am?                                     13      A. Correct.
     14      A. That, I can't -- I couldn't cite all           14      Q. And DEA does not consult with
     15   of those.                                            15   pharmacy chains, such as CVS, Walgreens, Rite
     16      Q. Well, oxycodone is one of them,                16   Aid, Walmart, Giant Eagle, HBC, when DEA sets
     17   correct?                                             17   quotas for controlled substances?
     18      A. Correct.                                       18      A. Correct.
     19      Q. Hydrocodone?                                   19          MR. CHANDLER: Objection.
     20      A. Yes.                                           20          BY MR. EPPICH:
     21      Q. Hydromorphone?                                 21      Q. Wholesale distributors, such as
     22      A. Yes.                                           22   McKesson, Cardinal, AmerisourceBergen, they do
     23      Q. Morphine?                                      23   not apply for DEA -- to DEA for quotas, do
     24      A. Yes.                                           24   they?
     25      Q. Fentanyl?                                      25          MR. CHANDLER: Objection.
                                                    Page 111                                                Page 113
      1      A. Yes.                                            1          THE WITNESS: Correct.
      2      Q. Do any others come to mind after we             2          BY MR. EPPICH:
      3   just reviewed five? Oxymorphone, for example?         3      Q. And pharmacy chains, such as CVS,
      4      A. Correct.                                        4   Walgreens, Rite Aid, Walmart, Giant Eagle, HBC,
      5      Q. Oxy -- I will leave it at that.                 5   they also do not apply to DEA for quotas,
      6          Now, Mr. O'Connor asked you several            6   correct?
      7   questions about the information DEA considers         7          MR. CHANDLER: Objection. Scope.
      8   in setting the aggregate production quota.            8          MR. ELSNER: Objection.
      9          Do you remember that testimony                 9          THE WITNESS: Correct.
     10   today?                                               10          BY MR. EPPICH:
     11      A. Yes.                                           11      Q. Now, DEA is required by law to
     12      Q. You testified that DEA sets each of            12   establish aggregate production quotas for
     13   these quotas annually, correct?                      13   certain controlled substances, correct?
     14      A. Correct.                                       14      A. Correct.
     15      Q. Now, do wholesale manufacturers such           15      Q. There are a number of statutes and
     16   as McKesson, Cardinal and AmerisourceBergen          16   regulations that govern the process DEA must
     17   provide any information to DEA that is used to       17   follow and the considerations DEA must consider
     18   set those quotas?                                    18   in establishing quotas for controlled
     19          MR. ELSNER: Objection.                        19   substances?
     20          THE WITNESS: Quotas are not related           20          MR. CHANDLER: Objection.
     21   to distributors, so no.                              21          THE WITNESS: Correct.
     22          BY MR. EPPICH:                                22          BY MR. EPPICH:
     23      Q. And pharmacy chains, such as CVS,              23      Q. And DEA endeavors to comply with
     24   Walgreens, Rite Aid, Walmart, Giant Eagle, HBC,      24   these statutes and regulations governing the
     25   they also don't provide any information to DEA       25   establishment of quotas for controlled

                                                                                             29 (Pages 110 - 113)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 30 of 100. PageID #: 227198


                                                    Page 114                                                   Page 116
      1   substances, correct?                                  1   estimated need, not the granted need.
      2      A. Correct.                                        2          BY MR. EPPICH:
      3      Q. In following these statute and                  3      Q. And so the aggregate production
      4   regulations, the aggregated production quota          4   quota is the total of all the individual
      5   reflects the estimated medical, scientific            5   manufactured quotas that DEA expect
      6   research and industrial needs of the United           6   manufacturers to manufacture that year?
      7   States, correct?                                      7          MR. CHANDLER: Objection.
      8      A. Along with export requirements and              8          MR. ELSNER: Objection.
      9   inventory requirements and manufacturing yield        9          THE WITNESS: It's an estimate.
     10   and losses counted in, yes.                          10          BY MR. EPPICH:
     11      Q. The aggregate production quota is              11      Q. But it's true that DEA understands
     12   the maximum amount of a controlled substance         12   that ultimately, pharmacies may dispense to
     13   that can be manufactured and distributed in a        13   patients across this country, an amount of the
     14   year, correct?                                       14   controlled substance that is set by the
     15      A. It's the maximum amount that can be            15   aggregate production quota, correct?
     16   manufactured within a year.                          16          MR. ELSNER: Objection.
     17      Q. In setting the quota, the aggregate            17          MR. CHANDLER: Objection.
     18   production quota for a prescription opioid, DEA      18          THE WITNESS: A pharmacy may
     19   understands that pharmaceutical manufacturers        19   dispense an amount needed for legitimate
     20   may manufacture, wholesale distributors may          20   patient need.
     21   distribute, and pharmacies may dispense to           21          BY MR. EPPICH:
     22   patients up to the amount the DEA allowed,           22      Q. If the DEA increases the aggregate
     23   correct?                                             23   production quota for prescription opioids, DEA
     24          MR. CHANDLER: Objection.                      24   understands that it is allowing more opioids in
     25          THE WITNESS: I don't understand               25   the communities, correct?
                                                    Page 115                                                   Page 117
      1   your question.                                        1          MR. CHANDLER: Objection.
      2          BY MR. EPPICH:                                 2          MR. ELSNER: Objection.
      3     Q. Well, I am just asking. If DEA sets              3          THE WITNESS: The reason for an
      4   an aggregate production quota, DEA understands        4   increase in an aggregate production quota is
      5   that the manufacturers may manufacturer up to         5   not automatically equated with what goes out to
      6   that limit, correct?                                  6   the community itself. It could be used for
      7          MR. CHANDLER: Objection.                       7   scientific and research needs which are
      8          THE WITNESS: I don't understand                8   different and separate from what is seen in --
      9   your question.                                        9   for patient needs.
     10          BY MR. EPPICH:                                10          BY MR. EPPICH:
     11     Q. Let me try again. I will try and                11      Q. How much of the aggregate production
     12   make it more clear, ma'am.                           12   quota goes to patient needs on a given year?
     13          In setting the quota --                       13          MR. CHANDLER: Objection.
     14     A. The aggregate production quota?                 14          THE WITNESS: I don't know off the
     15     Q. The aggregate production quota, the             15   top of my head.
     16   DEA understands that pharmaceutical                  16          BY MR. EPPICH:
     17   manufacturers, they are going to manufacture         17      Q. But you would agree with me that
     18   enough drugs to supply up to that quota amount,      18   each time the DEA increases that quota, the
     19   correct?                                             19   amount of -- in this case, prescription opioids
     20          MR. CHANDLER: Objection.                      20   that goes into the community increases?
     21          THE WITNESS: No. So the                       21          MR. CHANDLER: Objection.
     22   manufacturer, if they are granted an individual      22          MR. ELSNER: Objection.
     23   quota, will manufacture up to that individual        23          THE WITNESS: I would not -- I would
     24   quota, not up to the APQ. The APQ is the             24   suggest that it would go towards a scientific
     25   aggregate of all manufacturers and it's the          25   or research need perhaps or export need which

                                                                                              30 (Pages 114 - 117)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 31 of 100. PageID #: 227199


                                                    Page 118                                               Page 120
      1   has nothing to do with domestic communities.          1     A.     It is not for public consumption.
      2          BY MR. EPPICH:                                 2     Q.     Where do you find that document?
      3      Q. Do you know or are you guessing when            3          MR. ELSNER: Objection.
      4   you provide that response?                            4          THE WITNESS: Within DEA's internal
      5          MR. CHANDLER: Objection.                       5   control.
      6          MR. ELSNER: Objection.                         6          BY MR. EPPICH:
      7          THE WITNESS: It would depend on the            7      Q. Is there a server that it's stored
      8   year.                                                 8   on, is there a bookshelf that it's stored on?
      9          BY MR. EPPICH:                                 9      A. More than likely a server.
     10      Q. Do you agree that in setting the               10      Q. You access it electronically is what
     11   annual production quota, the DEA has the             11   you are saying?
     12   ability to control the amount of prescription        12      A. It would be.
     13   opioids available to the public?                     13      Q. Do you access it?
     14          MR. CHANDLER: Objection.                      14      A. I do not because it's the same as
     15          THE WITNESS: I don't understand the           15   the regs in the statute, and therefore, if you
     16   question.                                            16   can read the regs in the statute, for the most
     17          BY MR. EPPICH:                                17   part, the information is there, as well as the
     18      Q. Well, in setting the annual                    18   FDA letter that comes in.
     19   production quota, would you agree that DEA has       19      Q. Does your team rely on these
     20   the ability to control how much of a                 20   standard operating procedures?
     21   prescription opioid is available to the public?      21      A. Yes.
     22          MR. CHANDLER: Objection.                      22      Q. And where do they go to look for it?
     23          MR. ELSNER: Objection.                        23   Do they know the name of this document?
     24          THE WITNESS: I would not.                     24      A. I'm sure they do.
     25          BY MR. EPPICH:                                25      Q. But you do not sitting here today?
                                                    Page 119                                               Page 121
      1      Q. Why not?                                        1      A. It is just called SOPs, quota SOPs.
      2      A. Because there are many other factors            2      Q. Thank you. Earlier today, you
      3   in between the number that is set and what goes       3   testified that you met with Mr. Joe Rannazzisi
      4   out to the public.                                    4   and Dr. Chris Sannerud, correct?
      5      Q. What are those factors?                         5           MR. CHANDLER: Objection.
      6      A. Manufacturing losses and yield, FDA             6           THE WITNESS: Correct.
      7   recalls, FDA changes in market practices,             7           BY MR. EPPICH:
      8   manufacturers losing contracts, among others.         8      Q. That was in preparation for your
      9      Q. We talked a fair amount today about             9   deposition today?
     10   the process by which DEA sets the aggregate          10      A. Yes.
     11   production quota.                                    11      Q. And before your preparation sessions
     12          Are there any DEA guides or manuals           12   with your counsel, when was the last time that
     13   or written standards of operation procedures         13   you communicated with Mr. Rannazzisi?
     14   explaining the process how DEA sets the annual       14      A. 2015.
     15   production quota?                                    15      Q. And when was the last time that you
     16      A. Yes.                                           16   communicated with Ms. Sannerud?
     17      Q. And what are those documents called?           17      A. March perhaps.
     18      A. SOPs, standard operating procedures.           18      Q. In your communications with Ms.
     19      Q. Is there a specific one that you               19   Sannerud, were those in relation to preparing
     20   have in mind for setting the aggregate               20   for the deposition today?
     21   production quota?                                    21      A. Not all of those, no.
     22      A. Not one in mind definitely.                    22      Q. What did you discuss with Ms.
     23      Q. There are multiple?                            23   Sannerud during those conversations?
     24      A. They -- the document exists.                   24      A. The ones in March?
     25      Q. Where would I find that document?              25      Q. Yes, ma'am.
                                                                                           31 (Pages 118 - 121)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 32 of 100. PageID #: 227200


                                                Page 122                                                  Page 124
      1      A. The birth of her grandson.                  1      Q. How many -- how many phone calls did
      2      Q. You're friends?                             2   you have with Mr. Rannazzisi in preparation for
      3      A. We've worked together for a long            3   today's deposition?
      4   time.                                             4      A. One.
      5      Q. Are you aware that Mr. Rannazzisi           5      Q. And how long did that conversation
      6   has been subpoenaed to testify in this case?      6   last?
      7      A. Yes.                                        7      A. Approximately an hour.
      8      Q. When did you become aware of that?          8      Q. I would like to return to Exhibit 4.
      9           MR. CHANDLER: Objection. Scope.           9         Exhibit 4 is the document that I
     10           THE WITNESS: Probably last year          10   understand you or your counsel prepared titled:
     11   sometime.                                        11   "APQ Review and Approval."
     12           BY MR. EPPICH:                           12      A. Yes.
     13      Q. Are you aware that he will be              13      Q. Did you prepare this document,
     14   deposed in the coming weeks?                     14   ma'am?
     15           MR. CHANDLER: Objection. Scope.          15      A. I assisted in it.
     16           THE WITNESS: No.                         16      Q. Now, the document starts in 2011,
     17           BY MR. EPPICH:                           17   correct?
     18      Q. Are you aware that defendants have         18      A. Correct.
     19   requested the deposition of Ms. Sannerud in      19      Q. And it identifies in July 2011 --
     20   this litigation?                                 20   Joseph T. Rannazzisi is the first name on the
     21           MR. CHANDLER: Objection. Scope.          21   list?
     22           THE WITNESS: Yes.                        22      A. Yes.
     23           BY MR. EPPICH:                           23      Q. Does that -- does that indicate that
     24      Q. When did you -- when did you become        24   Mr. Rannazzisi was the final approver of the
     25   aware of that?                                   25   proposed adjustments for 2011?
                                                Page 123                                                  Page 125
      1         MR. CHANDLER: Same objection.             1         A. No.
      2         THE WITNESS: Last year sometime.          2         Q. Who would be the final approver in
      3         BY MR. EPPICH:                            3     this list?
      4     Q. Now, earlier today, you were asked         4         A. Michelle Leonard.
      5   who was present during your preparation         5         Q. And so does the list -- does the way
      6   sessions.                                       6     your approval process works, Mr. Rannazzisi
      7         Do you remember that?                     7     would approve it, Mr. Ryan would then approve
      8     A. Yes.                                       8     it, Mr. Mullinax -- or Ms. Mullinax would
      9     Q. And I believe you responded that           9     approve it, Mr. Tuggle would then approve it
     10   counsel for the DOJ was there with you?        10     and then Ms. Leonard would approve it? Is that
     11     A. Yes.                                      11     -- is that how it works?
     12     Q. Were there any other -- were there        12         A. Yes.
     13   any other people present, other than yourself, 13         Q. And is that process the same for
     14   Mr. Rannazzisi, Ms. Sannerud and counsel for 14       each -- each of these tables that you prepared
     15   DOJ present during those discussions?          15     for us for each of the years in Exhibit No. 4?
     16         MR. CHANDLER: Objection.                 16             MR. CHANDLER: Objection.
     17   Mischaracterizes prior testimony.              17             THE WITNESS: It does not seem to be
     18         THE WITNESS: Mr. Rannazzisi and I 18            in that same order on all of these.
     19   were not in the same room so I don't know who 19              BY MR. EPPICH:
     20   was on the other end of the phone with him. 20            Q. Okay. For 2011, we are looking at
     21         BY MR. EPPICH:                           21     2011 in particular, Mr. Rannazzisi would have
     22     Q. Was there someone else on the phone 22           approved the aggregate production quota amounts
     23   with him?                                      23     for each of the classes in 2011, correct?
     24     A. I don't know. I can't answer what I       24             MR. ELSNER: Objection.
     25   could not see.                                 25             THE WITNESS: Yes.

                                                                                          32 (Pages 122 - 125)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 33 of 100. PageID #: 227201


                                                 Page 126                                                  Page 128
      1          BY MR. EPPICH:                              1          MR. CHANDLER: Objection.
      2      Q. And the same is true for each year           2          THE WITNESS: That in 2013, there
      3   that we see Mr. Rannazzisi's name in Exhibit 4;    3   was a 25 percent buffer added to the APQ for
      4   is that correct?                                   4   FDA-approved products.
      5      A. Yes.                                         5          BY MR. EPPICH:
      6      Q. Now, Mr. Rannazzisi joined the               6      Q. And what did he mention about that?
      7   office of diversion control before 2011,           7      A. That there were meetings held
      8   correct?                                           8   between DEA and the bulk manufacturers
      9      A. Yes.                                         9   regarding that issue.
     10      Q. And he had a role in his approval or        10      Q. Anything else?
     11   authorization of the aggregate production quota   11      A. No. That was a point of
     12   before 2011?                                      12   clarification for me.
     13      A. Yes.                                        13      Q. Were there any other points of
     14      Q. And that would be true for his              14   clarification Mr. Rannazzisi made to you?
     15   tenure as the deputy assistant administrator      15      A. For that? No.
     16   for the office of diversion control, correct?     16      Q. For any other topic, ma'am.
     17      A. Correct.                                    17      A. Yes.
     18          MR. EPPICH: Let's take a short             18      Q. What did he say?
     19   break.                                            19      A. That it was a point of clarification
     20          THE VIDEOGRAPHER: We are going off         20   on the section's ability to speak to
     21   the record. This is the end of Media Unit No.     21   registrants.
     22   3. The time is 2:02.                              22      Q. And what was discussed?
     23          (A short recess was taken.)                23      A. The basis for that.
     24          THE VIDEOGRAPHER: We are going back        24      Q. What is the basis that he mentioned?
     25   on the record. This is the start of Media Unit    25      A. That there were former DEA personnel
                                                 Page 127                                                  Page 129
      1   No. 4. The time is 2:12.                           1   who called various sections that were not
      2          You may proceed, Counsel.                   2   related to the topic at hand.
      3          BY MR. EPPICH:                              3      Q. I am not understanding that.
      4      Q. Ms. Harper-Avilla, you testified             4      A. There were former DEA personnel
      5   today as DEA's 30(b)(6) witness for almost         5   hired by manufacturers who would call a section
      6   three hours.                                       6   in order to seek guidance or special favor that
      7          Has any of your testimony been              7   was not that section's ability or place.
      8   informed by your discussions with Mr.              8      Q. And which sections were those that
      9   Rannazzisi and Ms. Sannerud?                       9   were called?
     10          MR. CHANDLER: Objection.                   10      A. It varied. It just was a matter of
     11          MR. ELSNER: Objection.                     11   the fact that it was not -- they didn't call to
     12          THE WITNESS: They have clarified           12   do work for that section or with that section.
     13   issues that I may have had in preparation, but    13      Q. Did you discuss any other points of
     14   -- they clarified issues I had in preparation.    14   clarification?
     15          BY MR. EPPICH:                             15      A. Yes.
     16      Q. And what issues were clarified,             16      Q. And what were those points?
     17   ma'am?                                            17      A. DEA's investigation of the necessary
     18      A. Whether certain documents existed           18   -- the need to actually change the regulations.
     19   for me to review or not.                          19      Q. Which regulations?
     20      Q. Which documents were those?                 20      A. The ones in the C.F.R. or quota.
     21      A. Documents related to setting the            21      Q. The regulations for quota?
     22   APQ.                                              22      A. Correct.
     23      Q. And what information specifically           23      Q. And what did he say about the DEA's
     24   did you discuss with Mr. Rannazzisi that          24   need to change the regulations for quota?
     25   clarified issues for you?                         25          MR. CHANDLER: Objection. Scope.

                                                                                          33 (Pages 126 - 129)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 34 of 100. PageID #: 227202


                                                    Page 130                                                  Page 132
      1          THE WITNESS: That the document had             1      A. Yes.
      2   not been completed under him.                         2      Q. And what were those, ma'am?
      3          BY MR. EPPICH:                                 3      A. In regard to pharmaceutical training
      4      Q. What is the document, ma'am?                    4   seminars not going on through 2012 through
      5      A. The proposed document, the proposed             5   2015, being replaced instead by the pharmacy
      6   notice of proposed rule making had not occurred       6   diversion awareness conferences.
      7   under him.                                            7      Q. And what did you discuss on that
      8      Q. Why was that important to him?                  8   topic?
      9          MR. CHANDLER: Objection.                       9      A. Why -- we discussed whether or not
     10          THE WITNESS: It was not. It was               10   -- why they both could not go on at the same
     11   just a point of clarification.                       11   time for each year.
     12          BY MR. EPPICH:                                12      Q. And why is that?
     13      Q. And you are referring to the 2018              13      A. He felt that they overlapped and
     14   revision to the C.F.R.; is that correct?             14   caused confusion and it would be better served
     15          MR. CHANDLER: Objection. Scope.               15   to the agency if pharmaceutical -- that the
     16          THE WITNESS: I think we were                  16   pharmaceutical diversion awareness conference
     17   talking about things that he noticed needed to       17   occurred instead, pharmacy diversion
     18   be changed within the C.F.R.                         18   conference.
     19          BY MR. EPPICH:                                19      Q. Were there any other points of
     20      Q. Limited to the quota or other                  20   discussion or clarification that you discussed
     21   sections of the C.F.R.?                              21   with him in preparation for today's deposition?
     22      A. Not limited to quota.                          22      A. Yes.
     23      Q. What other sections of the C.F.R.              23      Q. What were those points?
     24   did Mr. Rannazzisi say should be changed?            24      A. The change in signature authority on
     25      A. We did not --                                  25   the individual quota letters.
                                                    Page 131                                                  Page 133
      1           MR. CHANDLER: Objection. Scope.               1      Q. And what did -- what did you
      2           MR. ELSNER: Objection.                        2   discuss?
      3           THE WITNESS: We didn't talk about             3      A. Clarification on the change that
      4   it that much because it was not relevant to my        4   occurred.
      5   preparation here.                                     5      Q. What was the change that occurred?
      6           BY MR. EPPICH:                                6      A. That quota letters went from being
      7       Q. Did he mention any section at all?             7   signed by the section chief to Mr. Rannazzisi.
      8           MR. CHANDLER: Objection. Scope.               8      Q. And when did that occur?
      9           MR. ELSNER: Objection.                        9      A. 2011.
     10           THE WITNESS: Just that he wanted to          10      Q. And these letters would be sent from
     11   make other changes.                                  11   the DEA to who?
     12           BY MR. EPPICH:                               12      A. Individual manufacturers.
     13       Q. But he did not mention a specific             13      Q. And was there an issue with the
     14   section that he wanted to change?                    14   change in signatory?
     15           MR. CHANDLER: Objection. Scope.              15          MR. ELSNER: Objection.
     16           MR. ELSNER: Objection.                       16          MR. CHANDLER: Objection.
     17           THE WITNESS: He mentioned the fact           17          THE WITNESS: Not an issue with it.
     18   that in the course of making changes for the         18   Just a time and make sure I am clear on the
     19   quota, that there were other pieces that he had      19   timing of when it occurred.
     20   not gotten to.                                       20          BY MR. EPPICH:
     21           BY MR. EPPICH:                               21      Q. And why would that be important?
     22       Q. Were there any other points of                22          MR. CHANDLER: Objection.
     23   clarification that you discussed with Mr.            23          THE WITNESS: It was something that
     24   Rannazzisi in preparation for today's                24   I did not know at the time. I did not recall
     25   deposition?                                          25   correctly.
                                                                                              34 (Pages 130 - 133)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 35 of 100. PageID #: 227203


                                                 Page 134                                                  Page 136
      1          BY MR. EPPICH:                              1   a short break.
      2      Q. Were there any other points of               2          THE VIDEOGRAPHER: We are going off
      3   clarification that you discussed with Mr.          3   the record. The time is 2:24.
      4   Rannazzisi during preparation sessions?            4          (A short recess was taken.)
      5      A. Not that I can recall at this time.          5          THE VIDEOGRAPHER: We are back on
      6      Q. Were there any points of                     6   the record. The time is 2:37.
      7   clarification that you discussed with Ms.          7          You may proceed, Counsel.
      8   Sannerud?                                          8          MR. EPPICH: Thank you for your time
      9      A. Yes.                                         9   this afternoon, Ms. Harper-Avilla. We will
     10      Q. And will you please explain those           10   reserve -- we will pass the witness and reserve
     11   points to us?                                     11   our time for after your testimony.
     12          MR. ELSNER: Objection.                     12      EXAMINATION BY COUNSEL FOR PLAINTIFFS
     13          THE WITNESS: It was the signature          13          BY MR. ELSNER:
     14   authority on the individual quota letters.        14      Q. Good afternoon.
     15          BY MR. EPPICH:                             15      A. Good afternoon.
     16      Q. Any other points of clarification?          16      Q. My name is Mike Elsner, I'm from the
     17      A. And again, also the 25 percent              17   law firm Motley Rice and I represent the
     18   increase put on to the APQ in 2013.               18   plaintiffs.
     19      Q. And what did Ms. Sannerud say about         19          Does the Controlled Substances Act
     20   the 25 percent increase put on to the APQ in      20   create a closed system for manufacturing,
     21   2013?                                             21   distributing and dispensing of controlled
     22      A. That she remembered that it went to         22   substances?
     23   only Schedule II substances.                      23          MR. CHANDLER: Objection. Scope.
     24      Q. Anything else?                              24          THE WITNESS: It is supposed to do
     25      A. Just the time frame. That was it.           25   that.
                                                 Page 135                                                  Page 137
      1      Q. Did you discuss any other points of          1          BY MR. ELSNER:
      2   clarification with Ms. Sannerud in preparation     2      Q. And the DEA quota system is one
      3   for today's deposition?                            3   element within that closed system, but it's not
      4      A. Also the ability of the section to           4   the only element; is that right?
      5   speak to registrants.                              5      A. Correct.
      6      Q. And what did you discuss in that             6          MR. CHANDLER: Objection. Scope.
      7   capacity?                                          7          BY MR. ELSNER:
      8      A. Whether or not she could remember            8      Q. And do manufacturers and
      9   the time frame that it occurred in.                9   distributors of controlled substances like
     10      Q. Was MS. Sannerud present for the            10   opioids have a responsibility to design a
     11   phone call with Mr. Rannazzisi?                   11   system to monitor and detect suspicious orders?
     12      A. No, she was not.                            12          MR. CHANDLER: Objection. Scope.
     13      Q. These were separate phone calls?            13          MR. O'CONNOR: Objection.
     14      A. Correct.                                    14          THE WITNESS: Yes.
     15      Q. Do you recall any other points of           15          BY MR. ELSNER:
     16   clarifications or topics that you discussed       16      Q. And when suspicious orders are
     17   with Mr. Rannazzisi or Ms. Sannerud in            17   detected, do manufacturers and distributors
     18   preparation for today's deposition?               18   have a duty to stop shipments of those orders
     19      A. Not that I remember at this time,           19   and report those orders to the DEA?
     20   no.                                               20          MR. O'CONNOR: Objection. Scope.
     21      Q. Did you discuss -- in your                  21          MR. CHANDLER: I'm going to direct
     22   preparations for today's deposition, did you      22   the witness not to answer, this is way outside
     23   meet with any other members of the DEA?           23   the scope.
     24      A. Not that I recall.                          24          MR. ELSNER: I will tie it together
     25          MR. EPPICH: Let's go ahead and take        25   quickly. I just want to give her a basic

                                                                                           35 (Pages 134 - 137)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 36 of 100. PageID #: 227204


                                                    Page 138                                                  Page 140
      1   overview.                                             1   one portion of it, but it's incumbent upon the
      2          MR. CHANDLER: Can you explain, tied            2   manufacturers and distributors and all of the
      3   together on what basis? How does this tie             3   participants within the quota system, within
      4   together?                                             4   the controlled substance system, to do their
      5          MR. ELSNER: You will see in the --             5   part as per the regulations.
      6   within the next few exhibits, I will show you.        6          BY MR. ELSNER:
      7   There's certain statements made by counsel in         7      Q. Okay. So simply because there is a
      8   relationship to their responsibilities that           8   quota system in place, that doesn't excuse
      9   don't exist because there is a quota system in        9   manufacturers and distributors from fulfilling
     10   place.                                               10   their other obligations under the Controlled
     11          MR. CHANDLER: Are these questions             11   Substances Act; is that right?
     12   really necessary to get there?                       12          MR. CHANDLER: Objection. Scope.
     13          MR. ELSNER: I think it sets the               13          MR. O'CONNOR: Objection.
     14   stage for that, yes.                                 14          THE WITNESS: True.
     15          MR. O'CONNOR: Defendants object.              15          MR. ELSNER: I want to mark Exhibit
     16          MR. CHANDLER: You can answer.                 16   9. This is a transcript.
     17          Do you need the question again?               17          (Deposition Exhibit 9 was marked for
     18          THE WITNESS: I need the question              18   identification.)
     19   again.                                               19          BY MR. ELSNER:
     20          BY MR. ELSNER:                                20      Q. This is a transcript of a hearing in
     21      Q. Sure. When suspicious orders are               21   federal court in West Virginia and I want you
     22   detected, do manufacturers and distributors          22   to turn to Page 12 of the transcript and I want
     23   have a duty to stop shipments of those orders        23   to review certain statements made in this
     24   and report those suspicious orders to the DEA?       24   transcript and see if you agree or disagree
     25          MR. O'CONNOR: Objection. Form.                25   with them. Okay?
                                                    Page 139                                                  Page 141
      1          MR. CHANDLER: Objection. Scope.                1          Are you on Page 12?
      2          You can answer.                                2      A. Yes.
      3          THE WITNESS: I can't answer your               3      Q. Okay. At the very top of the page,
      4   question fully because that's not quite my area       4   it says: "We, the distributors, Your Honor,
      5   of expertise.                                         5   have absolutely no role in determining what the
      6          They definitely have a requirement             6   supply needs to be or in making a determination
      7   to notify DEA.                                        7   of what the demand is."
      8          BY MR. ELSNER:                                 8          Do you see that?
      9      Q. Okay. And you mentioned among the               9      A. Yes.
     10   other factors that the DEA may consider is           10      Q. Okay. And then if you go down, it
     11   known diversion.                                     11   says, after the dashes: "But the DEA every
     12          What did you mean by "known?"                 12   year sets the quota in this country for all
     13      A. Known would be something that had              13   Schedule I and Schedule II controlled
     14   been adjudicated through the process.                14   substances that may be manufactured by the
     15      Q. Is the responsibility for                      15   manufacturers and it sets that quota based on
     16   manufacturers and distributors to monitor for        16   its evaluation of legitimate medical,
     17   suspicious orders, stopping shipments of             17   scientific, industrial need for those
     18   suspicious orders and inform the DEA, does that      18   substances."
     19   responsibility go away because there is a quota      19          Did I read that correctly?
     20   system in place by the DEA?                          20      A. Yes.
     21          MR. O'CONNOR: Object to form and              21      Q. Okay. The Court asks: "Is that a
     22   scope.                                               22   nationwide or is it a state specific? How is
     23          MR. CHANDLER: Objection. Scope.               23   it broken down?"
     24          MR. EPPICH: Objection. Foundation.            24          Counsel for the distributors
     25          THE WITNESS: So the quota system is           25   responds: "It's nationwide, Your Honor."

                                                                                              36 (Pages 138 - 141)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 37 of 100. PageID #: 227205


                                                   Page 142                                                 Page 144
      1          The Court then asks -- if you are             1   Controlled Substances Act is a fair inquiry.
      2   with me under where the Court -- it says:            2          MR. CHANDLER: Well, she is not
      3   "Does that overcome the obligation of the            3   going to testify or designated to testify about
      4   distributors to be on the look out for               4   the establishment of quotas and the quota
      5   suspicious high numbers of drugs going into          5   setting process, not other impacts it may have
      6   specific areas?"                                     6   on other obligations of distributors or
      7          And the distributors lawyer says:             7   registrants.
      8   "It does."                                           8          MR. ELSNER: I think she is entitled
      9          Is that statement accurate or                 9   to answer this question. She already answered
     10   inaccurate?                                         10   the question essentially.
     11          MR. EPPICH: Objection. Foundation.           11          MR. O'CONNOR: The Touhy
     12   Form. Outside the scope.                            12   authorization is pretty limited in terms of the
     13          MR. CHANDLER: Objection.                     13   policies around the quota process and certain
     14          MR. O'CONNOR: Objection.                     14   other topics that don't include obligations
     15          THE WITNESS: I'm not sure what the           15   when there's suspicious monitoring.
     16   Court's question refers to at this point. I         16          MR. EPPICH: The distributors would
     17   apologize.                                          17   also agree that this is well beyond the scope
     18          BY MR. ELSNER:                               18   of the 30(b)(6) topics and any testimony that
     19      Q. That's okay. The Court is asking              19   she may or may not provide would be personal
     20   whether that obviates the distributors need to      20   testimony and no foundation has been
     21   be on the lookout for suspicious high numbers       21   established for any such testimony.
     22   of drugs going into specific areas, and the         22          MR. RUIZ: The pharmacies would
     23   distributors lawyer says that it does.              23   agree as well.
     24          That statement is not true; is that          24          MR. CHANDLER: Yeah, I mean, Topic 3
     25   right?                                              25   is establishment of quotas for production of
                                                   Page 143                                                 Page 145
      1          MR. EPPICH: Objection. Foundation.            1   opioids in the United States, not secondary
      2   Form. Scope.                                         2   impacts or other obligations of registrants as
      3          MR. O'CONNOR: Objection. Scope.               3   a result of quotas.
      4          MR. CHANDLER: This is well outside            4          MR. ELSNER: I understand. I think
      5   Topics 13 and 14 and outside the Touhy               5   if I get an answer to this question, we can
      6   authorization.                                       6   move on. I'm not going to belabor this.
      7          Is this the big tie together that             7          MR. CHANDLER: This is the last
      8   you promised a moment ago?                           8   question on this topic?
      9          MR. ELSNER: I don't -- it is. I               9          MR. ELSNER: Yes.
     10   don't think that it is beyond the scope. The        10          MR. CHANDLER: All right.
     11   distributors have taken the responsibility          11          MR. EPPICH: We can still make our
     12   before federal court that they are -- they are      12   objection.
     13   not obligated to fulfill their responsibilities     13          MR. CHANDLER: Our scope objection
     14   because there is a quota system in place, and I     14   stands. I will allow the witness to answer in
     15   want to make sure that that is inconsistent         15   her personal capacity, not on behalf of the
     16   with the DEA's view of their responsibilities       16   DEA.
     17   under the quota system.                             17          You can answer if you know.
     18          MR. CHANDLER: Ms. Harper-Avilla has          18          THE WITNESS: Can I have the
     19   not been designated to testify about                19   question again?
     20   distributors' obligations related to reporting      20          BY MR. ELSNER:
     21   before the Court.                                   21      Q. You may. The simple question is, is
     22          MR. ELSNER: No, I understand that,           22   -- the Court asked counsel whether -- in the
     23   but she is responsible for the quota system and     23   transcript, as a federal district court judge,
     24   I think she's -- and I think whether that           24   whether the quota system overcame the
     25   obviates the other responsibilities under the       25   obligations of the distributors to be on the
                                                                                            37 (Pages 142 - 145)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 38 of 100. PageID #: 227206


                                                  Page 146                                                 Page 148
      1   lookout for suspicious high numbers of drugs        1   be made.
      2   going into specific areas, and counsel for the      2          BY MR. ELSNER:
      3   distributors said, it did. It overcame that         3      Q. Okay. So can the DEA tell Purdue
      4   responsibility.                                     4   you cannot manufacture an 80 milligram
      5          And my question to you is: In your           5   OxyContin pill under the quota system?
      6   personal capacity, is that consistent or            6          MR. MASTERS: Objection.
      7   inconsistent with your understanding of the         7          MR. CHANDLER: Objection.
      8   Controlled Substances Act?                          8          THE WITNESS: The DEA would be able
      9          MR. CHANDLER: I will renew my                9   to limit them only if it was not FDA-approved.
     10   objection.                                         10          BY MR. ELSNER:
     11          MR. O'CONNOR: Objection. Scope.             11      Q. Okay. But otherwise, they can --
     12          MR. EPPICH: Same objection. In              12   but in any case, they cannot approve or
     13   addition to any -- to the extent it                13   disapprove of a particular dose of the use of
     14   mischaracterizes the testimony on this             14   the bulk substance, correct?
     15   document.                                          15          MR. CHANDLER: Objection.
     16          MS. McCLURE: Object to this line of         16          MR. O'CONNOR: Object to form.
     17   questioning and the characterization of            17          THE WITNESS: Correct.
     18   distributors and treating this argument as on      18          BY MR. ELSNER:
     19   behalf of the distributors as a whole.             19      Q. Would you agree with me that there
     20          MR. CHANDLER: You can answer if you         20   are some types of drugs that are more abused
     21   know.                                              21   than other drugs?
     22          THE WITNESS: The quota system does          22          MR. CHANDLER: Objection. Scope.
     23   not change the obligation of the distributors      23          MR. O'CONNOR: Objection.
     24   under this CSA.                                    24          MR. EPPICH: Objection. Vague.
     25          BY MR. ELSNER:                              25          THE WITNESS: I would not have a
                                                  Page 147                                                 Page 149
      1      Q. Thank you. I want to turn to               1      basis for that.
      2   procurement quotas for a second, and in the      2             BY MR. ELSNER:
      3   procurement quota process, does the DEA approve 3          Q. Are you aware just in your personal
      4   in the quota system the dose of an opioid        4      capacity whether a red flag for diversion could
      5   product that a manufacturer may make?            5      be when a patient refers to an oxycodone pill
      6      A. No.                                        6      as a blue or a panda bear or an octagon?
      7          MR. O'CONNOR: Objection to form.          7             MS. McCLURE: Objection to form.
      8          BY MR. ELSNER:                            8             MR. EPPICH: Objection to form.
      9      Q. The DEA is really just authorizing a       9             MR. O'CONNOR: Objection to form.
     10   gross bulk amount of a controlled substance     10      Scope.
     11   that a manufacturer may acquire to create a     11             MR. CHANDLER: Objection to form.
     12   dose; is that right?                            12      Scope.
     13          MR. O'CONNOR: Objection to form.         13             THE WITNESS: I would think that
     14          THE WITNESS: Correct.                    14      that means that it's not for the intended
     15          BY MR. ELSNER:                           15      purpose.
     16      Q. Okay. The DEA cannot issue a quota        16             BY MR. ELSNER:
     17   or a limit on the dosage units or number of     17         Q. Okay. And we all understand that
     18   specific opioid pills that a manufacturer can   18      there are certain drugs that are more subject
     19   make, can they?                                 19      to abuse than other drugs, but can the DEA
     20           MR. MASTERS: Objection.                 20      through the quota system focus on creating a
     21          MR. CHANDLER: Objection.                 21      limit on the specific type of drug that is most
     22          THE WITNESS: The quota that is           22      subject to abuse?
     23   granted is by weight, kilogram, and in the      23             MR. O'CONNOR: Object to form.
     24   sense, it will limit it that way, but it does   24             MR. CHANDLER: Objection. Scope.
     25   not specific -- specify X number of tablets to  25             MR. EPPICH: Objection. Foundation.
                                                                                           38 (Pages 146 - 149)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 39 of 100. PageID #: 227207


                                                    Page 150                                                 Page 152
      1          THE WITNESS: I don't understand                1          BY MR. ELSNER:
      2   your question. I'm sorry.                             2      Q. And the DEA, through the quota
      3          BY MR. ELSNER:                                 3   system, it doesn't analyze and approve
      4      Q. That's okay. My question is, is                 4   individual orders from pharmacies, to
      5   whether the DEA in the quota system could limit       5   manufacturers or to wholesale distributors,
      6   the authorization and just restrict                   6   does it?
      7   authorization to the drugs that are most              7      A. It does not.
      8   subject to abuse?                                     8      Q. Okay. And the quota system doesn't
      9          MR. CHANDLER: Objection. Scope.                9   authorize the number of pills that could be
     10          MR. O'CONNOR: Objection.                      10   distributed into Summit County or Cabell County
     11          THE WITNESS: Within the quota                 11   in West Virginia, does it?
     12   system, if it's an FDA-approved product without      12          MR. CHANDLER: Object to form.
     13   actual case data, then it would not be limited.      13          MR. O'CONNOR: Object to form.
     14          BY MR. ELSNER:                                14          THE WITNESS: It does not.
     15      Q. Because what the DEA is looking at             15          BY MR. ELSNER:
     16   is the gross -- is the gross bulk amount of the      16      Q. And it doesn't authorize the number
     17   substance, right?                                    17   of pills that a distributor could send to any
     18          They are not looking at the specific          18   city or county in the United States, does it?
     19   type of medicine or the specific dose, correct?      19      A. It does not. It is national. It is
     20          MR. O'CONNOR: Objection. Form.                20   not county, not city, not state-specific.
     21          MS. McCLURE: Objection. Form.                 21      Q. Okay. So the DEA is really just
     22   Vague. Compound.                                     22   approving a gross bulk amount of a controlled
     23          THE WITNESS: The DEA looks at bulk            23   substance that a manufacturer can acquire to
     24   data.                                                24   produce certain drugs that could be then made
     25          BY MR. ELSNER:                                25   into any type of drug at any dose and sold into
                                                    Page 151                                                 Page 153
      1      Q. Okay. The quota system run by the               1   any town into America; is that right?
      2   DEA is also national in scope; is that right?         2           MS. McCLURE: Object to form.
      3      A. Correct.                                        3           MR. EPPICH: Objection. Vague.
      4      Q. Okay. It didn't -- it doesn't look              4           MR. O'CONNOR: Object to form.
      5   at -- the quota system for the DEA doesn't look       5           MR. CHANDLER: Object to form.
      6   at how many pills a distributor like                  6           THE WITNESS: Quota is granted for
      7   AmerisourceBergen or Cardinal could distribute        7   any FDA-approved product to be distributed into
      8   to a particular pharmacy in a particular              8   the patient population.
      9   community, does it?                                   9           BY MR. ELSNER:
     10           MR. CHANDLER: Objection. Scope.              10       Q. Without respect to the particular
     11           MR. MASTERS: Objection.                      11   location of national scope, correct?
     12           THE WITNESS: It does not.                    12       A. It is national in scope.
     13           BY MR. ELSNER:                               13       Q. Now, correct me if I am wrong, but
     14      Q. Okay. And the quota system, even if            14   it's the manufacturer that requests
     15   you reduce the quota, it couldn't prevent a          15   authorization to purchase a bulk amount of a
     16   distributor like McKesson from distributing          16   certain drug; is that right?
     17   112,000 doses units of Hydrocodone products          17           MR. O'CONNOR: Object to form.
     18   into one pharmacy in West Virginia with a            18           THE WITNESS: Correct.
     19   population of 1500 people, could it?                 19           BY MR. ELSNER:
     20           MR. CHANDLER: Object to form.                20       Q. Okay. And at any time a
     21           MR. O'CONNOR: Objection. Scope.              21   manufacturer could say, I no longer want
     22           MR. EPPICH: Objection.                       22   authorization to purchase these controlled
     23           THE WITNESS: The quota system is             23   substances, right?
     24   national so it has no control over distributor       24           MR. O'CONNOR: Object to form.
     25   contracts.                                           25           THE WITNESS: Correct.

                                                                                             39 (Pages 150 - 153)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 40 of 100. PageID #: 227208


                                                   Page 154                                                  Page 156
      1         BY MR. ELSNER:                                 1          MR. CHANDLER: Object to form.
      2     Q. It's not the U.S. -- the U.S.                   2          MR. EPPICH: Object to form.
      3   Government cannot make a manufacturer seek an        3          THE WITNESS: Based on the
      4   authorization to purchase bulk controlled            4   application that the manufacturer submitted, it
      5   drugs, right?                                        5   could -- they did not -- they do not need to
      6     A. Correct.                                        6   use it for that year, but they should use it in
      7     Q. In fact, DEA, through the quota                 7   the second year as an inventory allowance.
      8   system, cannot make a manufacturer seek a            8          BY MR. ELSNER:
      9   specific authorization for a specific type of        9      Q. The statute says that the DEA was to
     10   drug either, can it?                                10   establish the total annual needs of controlled
     11     A. I don't understand the question.               11   substances in the United States to provide for
     12     Q. The DEA -- can the DEA instruct a              12   the estimated medical, scientific research and
     13   manufacturer to seek an authorization for a         13   industrial needs in the U.S.; is that right?
     14   specific type of controlled substance to make a     14      A. And inventory allowance and export
     15   particular product?                                 15   included.
     16     A. No, it cannot.                                 16      Q. And one of the factors that the DEA
     17     Q. And the DEA cannot require                     17   must consider when establishing the quota is
     18   manufacturers or distributors to distribute         18   whether there is an adequate supply of a given
     19   controlled substance down through the supply        19   drug; is that right?
     20   chain, can it?                                      20      A. Correct.
     21         MR. MASTERS: Objection. Scope.                21      Q. And, in fact, the DEA must ensure
     22         MR. EPPICH: Objection. Foundation.            22   that there is both an adequate and an
     23         THE WITNESS: No.                              23   uninterrupted supply of those controlled
     24         BY MR. ELSNER:                                24   substances available for legitimate medical use
     25     Q. Just because a manufacturer may be             25   and other things, correct?
                                                   Page 155                                                  Page 157
      1   able to obtain an authorization for an opioid,   1           A. Correct.
      2   that doesn't mean a manufacturer needs to        2           Q. It is also true, isn't it, that
      3   actually purchase the opioids, right?            3       under the Food & Drug Administration Safety
      4           MR. MASTERS: Objection. Scope.           4       Innovation Act, that the FDA could request that
      5           MR. EPPICH: Objection. Foundation. 5             the DEA increase quotas applicable to a
      6           MR. CHANDLER: Objection.                 6       particular substance if the FDA determines
      7           THE WITNESS: Correct.                    7       that's necessary; is that true?
      8           BY MR. ELSNER:                           8              MR. EPPICH: Objection. Vague.
      9      Q. And once a quota is issued, it can         9              THE WITNESS: Can I have that asked
     10   be increased or decreased throughout the year; 10        again, please.
     11   is that true?                                   11              BY MR. ELSNER:
     12      A. At the request of the manufacturer        12           Q. If the FDA is notified of a supply
     13   itself.                                         13       disruption of certain drugs that contain
     14      Q. Can the DEA request the manufacturer 14            controlled substances subject to a quota, the
     15   to decrease or increase the quota?              15       FDA, under the Food & Drug Administration
     16      A. No.                                       16       Safety Innovation Act, requires that the FDA
     17      Q. And if a manufacturer receives an         17       request DEA to increase the quota applicable to
     18   authorization for a quota and purchases the     18       that controlled substance if the FDA determines
     19   bulk amount of that drug, that doesn't mean     19       it's necessary; is that true?
     20   they need to use all of that drug in a given    20              MR. EPPICH: Objection.
     21   year to manufacture pills. They could spread 21                 MR. O'CONNOR: Objection.
     22   it over several years if they informed the DEA; 22              MR. CHANDLER: Objection.
     23   is that true?                                   23              THE WITNESS: It requires that the
     24           MS. McCLURE: Object to form.            24       FDA and DEA enter into a dialogue in order to
     25   Compound. Vague.                                25       determine whether it's necessary or not to

                                                                                             40 (Pages 154 - 157)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 41 of 100. PageID #: 227209


                                                    Page 158                                                 Page 160
      1   increase the quota.                                   1          THE WITNESS: Correct.
      2          MR. ELSNER: I will mark this as                2          BY MR. ELSNER:
      3   Exhibit 10.                                           3      Q. And the third bullet there says
      4          (Deposition Exhibit 10 was marked              4   there's no federal regulation of the practice
      5   for identification.)                                  5   of medicine and so the DEA cannot regulate the
      6          BY MR. ELSNER:                                 6   practice of medicine; is that true?
      7      Q. This is a DEA PowerPoint                        7          MR. CHANDLER: Objection. Scope.
      8   presentation and it's from a presentation done        8          THE WITNESS: I'm not sure of your
      9   in New Orleans, and it's the 11th                     9   question.
     10   Pharmaceutical Industry Conference.                  10          BY MR. ELSNER:
     11          There is not a year on the beginning          11      Q. Well, my question was just whether
     12   of the document but we have been able to             12   you agreed with that bullet, that the DEA
     13   determine that that conference occurred in           13   cannot regulate the practice of medicine,
     14   2003. Okay?                                          14   certainly not through the quota system,
     15      A. Okay.                                          15   correct?
     16      Q. I'm going to ask you to turn to Page           16          MR. CHANDLER: Objection. Scope.
     17   10 of the presentation. There is a slide there       17   Vague.
     18   that reads: "Quota factors."                         18          MR. MASTERS: Counsel, is there a
     19          The second bullet there, it reads:            19   Bates number for this document?
     20   "There is no real means of determining               20          MR. ELSNER: It's on the last page.
     21   legitimate medical need for product substance        21          MS. McCLURE: For purposes of the
     22   class."                                              22   record, it is Bates 03000179742, TPLCP
     23          And then it says underneath that:             23   030000179742.
     24   "Because we are treating symptoms, pain,             24          THE WITNESS: So DEA will regulate
     25   insomnia and the like."                              25   only as far as a doctor who writes a
                                                    Page 159                                                 Page 161
      1          Do you agree with that bullet point            1   prescription for a controlled substance needs
      2   from the DEA presentation that there is no real       2   to be registered with the DEA.
      3   means of determining legitimate medical need          3          BY MR. ELSNER:
      4   for a product?                                        4       Q. Okay. Because there is no precise
      5          MR. O'CONNOR: Objection.                       5   means of determining the exact medical need,
      6          THE WITNESS: That is the FDA's role            6   one of the factors that the DEA considers are
      7   in all of this so DEA cannot respond to that.         7   data that is provided by the manufacturers such
      8          BY MR. ELSNER:                                 8   as sales data, correct?
      9      Q. But just in terms of practical                  9          MR. O'CONNOR: Objection. Form.
     10   sense, the role of the DEA is to establish an        10          THE WITNESS: Correct.
     11   estimate of medical need. You could never            11          MS. NEWMARK: Counsel, I'm going to
     12   determine the exact precise medical need at any      12   object to the use of this document, the Purdue
     13   given point in time; is that fair?                   13   document that was produced pursuant to the
     14          MR. CHANDLER: Objection. Form.                14   protective order in this case. If you would --
     15          MS. McCLURE: Objection. Form.                 15   you haven't established a foundation for what
     16   Vague.                                               16   this document -- where it came from.
     17          THE WITNESS: Correct.                         17          MR. ELSNER: Well, it's a DEA
     18          BY MR. ELSNER:                                18   document.
     19      Q. So you rely on a bunch of different            19          MS. NEWMARK: Did you seek
     20   factors to consider that, but at the end of the      20   permission to use it from Purdue?
     21   day, it's an estimate because you can never be       21          MR. ELSNER: I don't need to seek
     22   exactly precise; is that true?                       22   permission to use a DEA document from Purdue.
     23          MS. McCLURE: Objection.                       23          MS. NEWMARK: Well, you haven't --
     24          MR. O'CONNOR: Objection.                      24   it is marked confidential. You have not
     25          MR. CHANDLER: Object to form.                 25   established that this is a DEA document.

                                                                                             41 (Pages 158 - 161)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 42 of 100. PageID #: 227210


                                                    Page 162                                                 Page 164
      1          BY MR. ELSNER:                                 1   data as reported by the manufacturers, does the
      2      Q. Ma'am, is there a DEA logo on the               2   DEA have the ability to actually look in
      3   front page of the document?                           3   realtime behind the sales data that is
      4      A. Yes.                                            4   provided?
      5      Q. Does it read DEA OD 11th                        5          MR. O'CONNOR: Objection to form.
      6   Pharmaceutical Industry Conference?                   6          THE WITNESS: No.
      7      A. Yes.                                            7          BY MR. ELSNER:
      8      Q. Okay. Isn't it true that individual             8      Q. And so, in part, you are relying on
      9   quotas for each registrant are calculated based       9   -- although you are skeptical, you are relying
     10   on the business activities and justification         10   on the information that the manufacturers
     11   they provide to the DEA?                             11   provide to you in order to assess legitimate
     12          MR. O'CONNOR: Objection. Form.                12   medical need in part, correct?
     13          THE WITNESS: It's based on their              13          MR. CHANDLER: Objection. Form.
     14   business activities and a part of it on their        14          MR. O'CONNOR: Objection. Form.
     15   justification, yeah.                                 15          MR. EPPICH: Objection. Form.
     16          BY MR. ELSNER:                                16          THE WITNESS: Yes.
     17      Q. Okay. And you'd agree that the                 17          MR. ELSNER: This is Exhibit 11.
     18   quality of the data -- that the quality of the       18          (Deposition Exhibit 11 was marked
     19   quota calculation is based on the quality of         19   for identification.)
     20   the data provided in part by the manufacturers.      20          BY MR. ELSNER:
     21   Would you agree with that?                           21      Q. I'm going to ask you to -- it's a
     22          MR. O'CONNOR: Objection. Form.                22   collection of e-mails. I'm going to ask you to
     23          MR. EPPICH: Objection. Vague.                 23   turn to the very last page of the document.
     24          THE WITNESS: Part of that data is             24          This is an e-mail from Richard
     25   the consideration, yes.                              25   Sackler of Purdue.
                                                    Page 163                                                 Page 165
      1          BY MR. ELSNER:                                 1         MS. NEWMARK: Objection to form.
      2      Q. Okay. And there would be an                     2         BY MR. ELSNER:
      3   expectation that the data that would be               3      Q. And he writes: "I think we should
      4   provided would be both accurate and complete,         4   move our allocation upward again. I believe
      5   right?                                                5   that we should be able to handle an increase up
      6          MR. EPPICH: Object to form. Vague.             6   to 175 million for this year in demand and well
      7          THE WITNESS: So DEA was -- is                  7   above 200 million next year. Michael will give
      8   skeptical of data submitted by the                    8   you numbers today but I think this is close to
      9   manufacturers and therefore relies on the             9   ballpark."
     10   third-party prescription data as well.               10         Then he asks: "What is our
     11          BY MR. ELSNER:                                11   allocation for now? Am I right in estimating
     12      Q. For sure. And we will get to the               12   that we are earning about $60,000 per kilogram
     13   prescription data.                                   13   sold. If so, it would appear that we need
     14          Why is the DEA skeptical of the data          14   about 2,925 kilograms of oxycodone HCL for this
     15   provided by manufacturers?                           15   year and something approaching 4,000 kilograms
     16          MR. O'CONNOR: Objection. Form.                16   next year."
     17          THE WITNESS: Because based on the             17         Did I read that correctly?
     18   business activities, the manufacturers may not       18      A. Yes.
     19   fully state what is actually being -- what is        19         MR. O'CONNOR: Object to form.
     20   actually necessary for patient consumption.          20         MS. NEWMARK: Object to form, and
     21          BY MR. ELSNER:                                21   I'm going to object to the use of this e-mail.
     22      Q. And when they do that, that could              22   Once again, this is a Purdue document that was
     23   impact the size of the quota, correct?               23   produced pursuant to a confidentiality order.
     24      A. Correct.                                       24   There is no indication that -- yet again, that
     25      Q. When the DEA is reviewing the sales            25   counsel sought permission to use this e-mail

                                                                                             42 (Pages 162 - 165)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 43 of 100. PageID #: 227211


                                                    Page 166                                                 Page 168
      1   and it's outside the scope of the permit.             1   legitimate medical need, it could offset an
      2          BY MR. ELSNER:                                 2   impact to the quota authorization, right?
      3      Q. Did DEA know that Purdue had                    3          MR. O'CONNOR: Objection. Form.
      4   internal estimates that they could earn $60,000       4          MR. CHANDLER: Objection. Vague.
      5   for every kilogram of oxycodone authorized?           5   Form.
      6          MR. O'CONNOR: Objection to form and            6          THE WITNESS: I'm not -- I don't
      7   scope.                                                7   understand your question.
      8          MR. CHANDLER: Objection to scope               8          BY MR. ELSNER:
      9   and I will instruct witness not to answer.            9      Q. Okay. If a manufacturer was seeking
     10   Specifically excluded from the deposition            10   authorization of quota, not by determining
     11   notice, any consideration of particular quota        11   actual medical data but instead by determining
     12   amounts for particular years for particular          12   how much profit they could earn, that could
     13   registrants.                                         13   offset the quota authorization, correct?
     14          MR. ELSNER: My question -- my                 14          MS. McCLURE: Objection to form.
     15   question is not to analyze whether the DEA           15   Foundation. Vague. Compound.
     16   considered any specific quota requests from any      16          MR. CHANDLER: Objection. Form.
     17   manufacturer.                                        17          MR. O'CONNOR: Objection.
     18          My question is simply whether the             18          MS. McCLURE: Calls for speculation.
     19   DEA was aware that certain manufacturers were        19          THE WITNESS: The DEA would seek a
     20   calculating quota based on the dollars they          20   third-party data in terms of trying to
     21   could earn off the kilograms authorized.             21   determine actual legitimate medical need for
     22   That's my question.                                  22   that particular manufacturer.
     23          MR. O'CONNOR: Objection.                      23          BY MR. ELSNER:
     24          MR. CHANDLER: With reference to               24      Q. I understand that the DEA has other
     25   this particular e-mail and those particular          25   systems it could use. It looks at IMS data,
                                                    Page 167                                                 Page 169
      1   amounts, I'm going to instruct the witness not        1   prescription data, we're going to get there.
      2   to answer that.                                       2          But my question is is that if
      3          BY MR. ELSNER:                                 3   manufacturers were giving the DEA data and
      4      Q. Was the DEA aware, ma'am, that                  4   requesting quota authorizations based on the
      5   manufacturers of opioids were establishing            5   profit they could earn instead of legitimate
      6   quota based on the dollars they could earn off        6   medical need, that could impact the quota
      7   the quota authorized?                                 7   authorization?
      8          MR. O'CONNOR: Objection to form.               8          MR. CHANDLER: Objection.
      9          MS. NEWMARK: Object to form.                   9          MS. McCLURE: Same objection.
     10   Object to foundation.                                10          MR. CHANDLER: Vague. Calls for
     11          MR. CHANDLER: Object to form.                 11   speculation. Objection to form.
     12          THE WITNESS: The DEA was not aware.           12          THE WITNESS: If a manufacturer used
     13          BY MR. ELSNER:                                13   that process, then they would probably
     14      Q. The quota authorization was supposed           14   overestimate the amount of quota.
     15   to be based on legitimate medical need,              15          BY MR. ELSNER:
     16   correct?                                             16      Q. Just above the e-mail from Richard
     17      A. Yes.                                           17   Sackler, there is an e-mail from James
     18      Q. It's not supposed to -- it's not               18   Sullivan, and at the end of the second
     19   supposed to be based on how much profit you can      19   paragraph, he says: "I'd asked for 1,1800-plus
     20   earn of the quota authorized, correct?               20   and I have been given 1,412. I will ask for a
     21          MR. O'CONNOR: Objection.                      21   plus-700 and probably get 400, then go back
     22          THE WITNESS: Correct.                         22   again in the summer for more."
     23          BY MR. ELSNER:                                23          MS. NEWMARK: Counsel, again, I'm
     24      Q. And if you calculate a quota based             24   objecting to the use of this e-mail. This
     25   on how much you could earn instead of                25   e-mail was produced in a different litigation
                                                                                             43 (Pages 166 - 169)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 44 of 100. PageID #: 227212


                                                    Page 170                                                 Page 172
      1   pursuant to a confidentiality order and Mr.           1   instruction as to whether this witness is
      2   Chandler already instructed the witness not to        2   permitted to answer questions regarding
      3   answer subject to that.                               3   individual situations or not.
      4           MR. MASTERS: And further, I would             4           MR. CHANDLER: You can answer the
      5   add that pursuant to the DEA's authorization          5   question subject to my objection.
      6   letter, to the extent that these -- that this         6           THE WITNESS: If a manufacturer
      7   e-mail reflects procurement quota applications,       7   suggested that their sales outpaced and that
      8   it is outside the scope of the DEA                    8   they had used up their inventory, it would
      9   authorization which is not the decision with          9   result in probably a higher quota.
     10   respect to individual procurement quota for any      10           MR. ELSNER: Mark this document as
     11   given year.                                          11   Exhibit 12.
     12           BY MR. ELSNER:                               12           (Deposition Exhibit 12 was marked
     13       Q. My question is whether the DEA was            13   for identification.)
     14   aware that manufacturers would sometimes ask         14           MS. McCLURE: For the record, could
     15   for more quota than they actually needed with        15   you please read the confidentiality designation
     16   the hope that they would -- sorry, my question       16   that may appear on the document as well as the
     17   is whether -- let me strike that.                    17   Bates numbers for the record as per the
     18           My question is whether DEA was aware         18   deposition protocol.
     19   that manufacturers would sometimes ask for more      19           MR. ELSNER: I will give the Bates
     20   quota than they actually needed.                     20   numbers. P 2421610 through 1612.
     21           MR. O'CONNOR: Objection to form.             21           MS. NEWMARK: Object to the extent
     22           MR. CHANDLER: Objection. Scope.              22   this is in violation of the protective order in
     23           MS. McCLURE: Form. Speculation.              23   this case and the information that appears in
     24   Foundation.                                          24   the foot of the document is in a different
     25           MR. MASTERS: We object as well.              25   lawsuit.
                                                    Page 171                                                 Page 173
      1         MR. CHANDLER: You can answer.                   1           And I am going to repeat the same
      2         THE WITNESS: DEA was aware that                 2   objection and object again to the fact that
      3   manufacturers asked for larger quotas than was        3   this is a highly confidential document and as
      4   supported by actual documentation.                    4   counsel -- Mr. Chandler stated before, he
      5         BY MR. ELSNER:                                  5   instructed his client not to answer and this is
      6      Q. Was that another reason the DEA was             6   outside the scope of the designations for which
      7   skeptical of manufacturer's quota requests?           7   the witness was designated to testify.
      8      A. Yes.                                            8           BY MR. ELSNER:
      9      Q. Among the factors that the DEA would            9      Q. I'm going to ask you to look at the
     10   look at in examining a mid-year quota change,        10   last page of the document here.
     11   would they look at sales compared to inventory?      11           The third to last paragraph just
     12      A. Yes.                                           12   under "total available," it reads: "Based on
     13      Q. And so if a manufacturer was able to           13   the conversation with DEA recently, their
     14   show a lot of sales and no inventory, then that      14   stated position is that Rhodes will not be
     15   might support an increase in their quota             15   awarded additional quota allocation until we
     16   authorization; is that right?                        16   generate sales and submit a new quota request.
     17         MR. CHANDLER: Objection. Calls for             17   My recommendation is to ship (sell) every
     18   speculation. Incomplete hypothetical.                18   kilogram we can from Rhodes in April, hold back
     19         MR. O'CONNOR: Objection.                       19   only what we estimate R&D may want for
     20         MS. McCLURE: Object to form.                   20   development purposes. Rhodes would then
     21   Scope.                                               21   prepare and submit a new quota request to DEA
     22         MR. MASTERS: Objection to                      22   on May 1st for 3,000-plus kilograms and a 50
     23   highlighting part of the document rather than        23   percent inventory build allowance or a total of
     24   the entire paragraph.                                24   4,500-plus kilograms."
     25         MS. McCLURE: Objection as to the               25           Did I read that correctly?

                                                                                             44 (Pages 170 - 173)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 45 of 100. PageID #: 227213


                                                    Page 174                                                  Page 176
      1          MS. NEWMARK: Objection.                        1          MR. CHANDLER: You can answer
      2          MR. O'CONNOR: Objection.                       2   without reference to the document.
      3          MS. NEWMARK: Again to the use of               3          THE WITNESS: If a manufacturer came
      4   this document.                                        4   for a mid-year revision for a quota because it
      5          MR. ELSNER: Your objection is                  5   sold all that it had, DEA would consider that,
      6   preserved. You don't need to give a speaking          6   but once again, with a skeptical eye and a look
      7   objection that lasts three minutes every time.        7   to third-party data to see that prescriptions
      8          MS. NEWMARK: I'm going to keep                 8   were being filled.
      9   repeating my objection as long as you keep            9          BY MR. ELSNER:
     10   trying to violate the confidentiality order in       10      Q. But it could potentially impact the
     11   this case and in the Kentucky case.                  11   quota authorization, correct?
     12          MS. McCLURE: I will note for the              12          MS. McCLURE: Same objection.
     13   record the inconsistent instruction from DEA         13          MR. CHANDLER: Same objection.
     14   counsel as to whether witnesses are or are not       14          MR. O'CONNOR: Objection.
     15   permitted to answer questions.                       15          THE WITNESS: It could.
     16          MR. MASTERS: Objection.                       16          MR. ELSNER: Why don't we take a
     17          MR. CHANDLER: And I am going to               17   quick break.
     18   object on scope grounds, and instruct the            18          THE VIDEOGRAPHER: We are going off
     19   witness not to answer.                               19   the record. This is the end of Media Unit No.
     20          Again, the witness is not designated          20   4. The time is 3:23.
     21   to testify about individual determinations as        21          (A short recess was taken.)
     22   to particular registrants, particular years,         22          THE VIDEOGRAPHER: We are going back
     23   particular substances and I -- if you want to        23   on the record. This is the start of Media Unit
     24   ask about a policy or a practice, that's fine,       24   No. 5. The time is 3:44.
     25   but I don't see any connection between this          25          You may proceed, Counsel.
                                                    Page 175                                                  Page 177
      1   document and the policy or practice.                  1          MR. ELSNER: Thank you.
      2           MR. ELSNER: I appreciate the                  2          BY MR. ELSNER:
      3   objection. I just haven't asked the question          3      Q. Ma'am, as you pointed out, the DEA
      4   yet.                                                  4   didn't just rely on the manufacturer's
      5           BY MR. ELSNER:                                5   information to set quota. The DEA also looked
      6       Q. My question is, is that if a                   6   at prescription data; is that true?
      7   manufacturer was selling all the product that         7      A. Correct.
      8   they have and then requesting a mid-year review       8          MR. O'CONNOR: Object to form.
      9   saying that we sold all of our product and our        9          BY MR. ELSNER:
     10   inventory is down to nothing, would that             10      Q. And did that include data provided
     11   potentially impact the DEA's decision to             11   by IMS and later equivalence of that company?
     12   increase their quota?                                12      A. Yes.
     13           MR. CHANDLER: And --                         13      Q. And would you agree with me that if
     14           MR. O'CONNOR: Objection.                     14   manufacturers and distributors of opioids had
     15           MR. CHANDLER: -- I'm going to                15   misled doctors and the public about the health
     16   object on scope grounds, and if you are asking       16   benefits and the addictive nature of opioids
     17   the question in the abstract separate from           17   they were manufacturing and distributing
     18   Exhibit 12, then I will allow the witness to         18   causing sales to rise, then the DEA's estimate
     19   answer.                                              19   of the medical need could be above the actual
     20           Subject to the further objection             20   medical need in the United States?
     21   that it is vague, calls for speculation and          21          MR. CHANDLER: Objection.
     22   it's an incomplete hypothetical.                     22          MS. McCLURE: Objection. Form.
     23           MS. McCLURE: Objection. Incomplete           23   Speculation. Incomplete hypothetical. Vague.
     24   hypothetical. Objection to form, speculation         24   Compound. Foundation.
     25   and scope.                                           25          THE WITNESS: Yes.

                                                                                              45 (Pages 174 - 177)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 46 of 100. PageID #: 227214


                                                   Page 178                                                Page 180
      1          BY MR. ELSNER:                                1          BY MR. ELSNER:
      2      Q. And among the factors that could               2      Q. Okay. If you look at the notes at
      3   impact quota and the medical need, if you turn       3   the bottom of the slide under the heading:
      4   to -- back to Exhibit 10, which is a PowerPoint      4   "Unusually aggressive, innovative, persuasive
      5   and I will ask you to look at Page 28. This is       5   marketing promotion."
      6   the DEA's PowerPoint again.                          6          Do you see where I am at?
      7          And the heading on the top of the             7      A. Yes.
      8   PowerPoint says: "Factors hindering                  8      Q. The first bullet reads: "Much more
      9   determination of legitimate medical need."           9   promotional money spent on OxyC than equivalent
     10          Did I read that correctly?                   10   products."
     11      A. Yes.                                          11          Could that promotional money spent
     12      Q. Okay. And one of those factors on             12   on OxyContin impact the determination of
     13   the bottom is an unusually aggressive,              13   legitimate medical need of the DEA?
     14   innovative, persuasive marketing and promotion.     14          MR. CHANDLER: Objection. Vague.
     15   Would you agree that that would potentially         15          MR. EPPICH: Objection. Foundation.
     16   impact the determination of legitimate medical      16   Form. Outside the scope.
     17   need?                                               17          MR. CHANDLER: Objection.
     18          MR. CHANDLER: Object to form.                18   Foundation. Form.
     19          MR. O'CONNOR: Object to form.                19          THE WITNESS: Only if it impacted
     20          MS. McCLURE: Same objection.                 20   physician's prescription writing.
     21   Speculation.                                        21          BY MR. ELSNER:
     22          THE WITNESS: It would definitely             22      Q. And there are a number of other
     23   overestimate legitimate medical need.               23   bullets here.
     24          BY MR. ELSNER:                               24          The second one reads: "Scope of the
     25      Q. Okay. Now, the DEA doesn't have               25   medical specialty groups promoted to the widest
                                                   Page 179                                                Page 181
      1   control over the marketing and promotional           1   for OxyC."
      2   activities of manufacturers; is that correct?        2          Next is: "IMS messaging site.
      3           MR. O'CONNOR: Object to form.                3   Physicians heard use OxyC for moderate to
      4           MR. CHANDLER: Objection. Scope.              4   severe pain, acute and chronic pain."
      5           MS. McCLURE: Foundation.                     5          Next one: "Effective pain relief,
      6           THE WITNESS: Correct.                        6   use it for everyone."
      7           BY MR. ELSNER:                               7          Next one: "OxyC reports of
      8       Q. Now, this slide has some pictures in          8   diversion and abuse routinely downplayed."
      9   it. It has a stuffed animal and it has a mug,        9          These are all items listed as
     10   it reads: "The one to start with." And then         10   factors that could hinder the determination of
     11   the other mug has "OxyContin" written on it.        11   legitimate medical need in the DEA's
     12           Do you see that?                            12   presentation; is that true?
     13           MR. EPPICH: Objection. Foundation.          13          MR. O'CONNOR: Objection. Form.
     14   Speculation.                                        14   Scope.
     15           THE WITNESS: Yes.                           15          MR. CHANDLER: Objection. Form.
     16           BY MR. ELSNER:                              16          THE WITNESS: Correct.
     17       Q. Are these some promotional items             17          BY MR. ELSNER:
     18   that Purdue would send out?                         18      Q. Do you agree with them?
     19           MS. McCLURE: Foundation.                    19          MR. CHANDLER: Objection. Scope.
     20           MS. NEWMARK: Objection.                     20   Form.
     21   Foundation. Form.                                   21          THE WITNESS: If those statements
     22           MR. EPPICH: Scope.                          22   are true, they would impact estimations of
     23           MR. CHANDLER: Objection. Form.              23   legitimate medical need.
     24           THE WITNESS: I'm unaware of the             24          BY MR. ELSNER:
     25   promotional items that they sent out.               25      Q. Okay. And if these extensive
                                                                                           46 (Pages 178 - 181)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 47 of 100. PageID #: 227215


                                                   Page 182                                                  Page 184
      1   marketing campaigns encouraged doctors to            1   as factors that could limit -- under the
      2   prescribe and patients to seek opioids for the       2   limitations of quotas, do you agree that
      3   treatment of ankle sprains and backaches and         3   marketing these products to nontraditional pain
      4   all other types of nonchronic pain, and sales        4   groups and spending massive promotional dollars
      5   increased dramatically, it would impact the          5   could impact the quota and the definition of
      6   DEA's estimate of potential medical need             6   legitimate medical need?
      7   because it would impact the number of                7          MR. O'CONNOR: Objection. Form.
      8   prescription written, correct?                       8          MR. CHANDLER: Objection. Form.
      9          MR. CHANDLER: Objection. Vague.               9   Scope. Foundation. Form.
     10   Incomplete hypothetical. Form.                      10          THE WITNESS: They would limit
     11          MR. MASTERS: Form. Foundation.               11   quota, yes.
     12   Speculation.                                        12          BY MR. ELSNER:
     13          MS. NEWMARK: Scope.                          13      Q. Okay. If -- you said, "they would
     14          MR. O'CONNOR: Objection. Form.               14   limit quota."
     15          THE WITNESS: DEA does not determine          15          Do you mean -- I just want to make
     16   which legitimate medical needs require              16   sure I understand. Are you saying that these
     17   controlled substances and which ones do not.        17   types of activities, they would limit the
     18   That is up to the FDA and the physicians            18   ability to accurately determine quota; is that
     19   themselves.                                         19   what you mean?
     20          BY MR. ELSNER:                               20      A. Correct.
     21      Q. If you turn to Page 29 in the                 21          MR. CHANDLER: Objection. Scope.
     22   presentation.                                       22   Foundation. Form.
     23          The top of the slide reads: "The             23          MR. O'CONNOR: Object to form.
     24   limitations of quotas."                             24          BY MR. ELSNER:
     25          Did I read that right?                       25      Q. If you could turn to Page 11 of the
                                                   Page 183                                                  Page 185
      1     A. Yes.                                            1   presentation.
      2     Q. Okay. And it shows dollars in                   2         The title of this slide is:
      3   thousands and it shows OxyContin reaching over       3   "Consumption of analgesics for the treatment of
      4   $1.6 billion in total sales.                         4   moderate to severe pain."
      5         Do you see that in the red bar?                5         Is that what it says?
      6     A. Yes.                                            6     A. Yes.
      7     Q. And then on the bottom, there's some            7     Q. And it shows that the number of
      8   notes from DEA and there is a heading that           8   prescriptions for the -- the number of
      9   says: "Drawbacks of quotas."                         9   prescriptions for the treatment of moderate to
     10         Do you see that?                              10   severe pain increased as a result of the those
     11     A. Yes.                                           11   promotional activities from '98, '99 through
     12     Q. Then there is: "Marketing                      12   2002, correct?
     13   promotional techniques," that's underlined.         13         MR. CHANDLER: Objection. Scope.
     14         Do you see that?                              14   Foundation.
     15     A. Yes.                                           15         MR. EPPICH: Objection. Foundation.
     16     Q. And it reads: "Massive promotional             16   Form.
     17   dollars spent."                                     17         THE WITNESS: So it shows that
     18         Did I read that correctly?                    18   prescriptions increased.
     19     A. Yes.                                           19         BY MR. ELSNER:
     20     Q. "Promoted to nontraditional pain               20     Q. For the treatment of moderate to
     21   specialty groups implied and inferred OxyContin     21   severe pain, correct?
     22   messages to prescribers."                           22     A. Correct.
     23         Did I read that correctly?                    23     Q. And consequently, the quota
     24     A. Yes.                                           24   authorization also increased, correct? In the
     25     Q. Okay. This presentation lists these            25   red bars?

                                                                                             47 (Pages 182 - 185)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 48 of 100. PageID #: 227216


                                                    Page 186                                                Page 188
      1          MR. CHANDLER: Objection. Form.                 1          MR. CHANDLER: Object to form.
      2   Foundation.                                           2          MR. O'CONNOR: Object to form.
      3          THE WITNESS: Yes.                              3          THE WITNESS: It reduces the amount
      4          BY MR. ELSNER:                                 4   of material available, period.
      5      Q. Okay. Now if the supply was limited             5          BY MR. ELSNER:
      6   -- so I am done with the document now.                6      Q. Across the board?
      7          If the supply were limited, if you             7      A. Across the board.
      8   decreased the quota, would that stop all              8           MR. EPPICH: Object to form.
      9   diversion?                                            9          MS. McCLURE: All the same
     10          MR. CHANDLER: Objection. Form.                10   objections.
     11          THE WITNESS: No.                              11          BY MR. ELSNER:
     12          BY MR. ELSNER:                                12      Q. In 2001, the DEA administrator Donny
     13      Q. It would simply mean that the gross            13   Marshall testified before Congress.
     14   bulk amount of a particular gross drug type          14          Are you familiar with that
     15   would be less, right?                                15   testimony?
     16          MR. CHANDLER: Objection. Form.                16      A. I am.
     17          THE WITNESS: Can you repeat the               17      Q. Okay.
     18   question.                                            18          MR. ELSNER: I'm going to mark it as
     19          BY MR. ELSNER:                                19   the next exhibit.
     20      Q. It would simply mean that gross bulk           20          (Deposition Exhibit 13 was marked
     21   amount of a particular gross drug type would be      21   for identification.)
     22   less, correct?                                       22          BY MR. ELSNER:
     23          MR. CHANDLER: Same objection.                 23      Q. I'm going to ask you to turn to Page
     24          MR. O'CONNOR: Object to form.                 24   115 of 228.
     25          THE WITNESS: Correct.                         25          MS. McCLURE: Can you read the Bates
                                                    Page 187                                                Page 189
      1          BY MR. ELSNER:                                 1   number into the record.
      2      Q. Okay. And when it was reduced, it               2          MR. ELSNER: There is not a Bates
      3   would be reduced both for the illicit market          3   number but this is the -- it's testimony of
      4   and the licit market, correct?                        4   Donny Marshall before a subcommittee of the
      5          MR. MASTERS: Objection. Scope.                 5   committee of appropriations in the House of
      6          MS. McCLURE: Objection. Form.                  6   Representatives in 2001.
      7   Speculation. Foundation.                              7          BY MR. ELSNER:
      8          MR. CHANDLER: Objection. Form.                 8      Q. And about in the middle of the page,
      9          THE WITNESS: The quota is only for             9   there is a paragraph that -- it begins with:
     10   the legitimate medical needs and so it's only        10   "We begin to see this problem."
     11   for the legitimate market.                           11          Do you see where I am at?
     12          BY MR. ELSNER:                                12      A. Yes.
     13      Q. But we recognize that pills are                13      Q. Okay. And he is asked about
     14   diverted, correct?                                   14   oxycodone and he says: "We begin to see this
     15          MR. O'CONNOR: Objection. Form.                15   problem as a result of some developments that
     16          MS. McCLURE: Foundation.                      16   began four or five years ago. What we saw
     17          MR. CHANDLER: Objection.                      17   about four or five years in 1996 or
     18          THE WITNESS: Yes.                             18   thereabouts, was that the AMA and a number of
     19          BY MR. ELSNER:                                19   pain management groups that made the case and
     20      Q. And so if we reduce the size of the            20   contended that we are under-treating pain in
     21   quota simply reduces the pool of available           21   this country or that we are not effectively
     22   drugs, both to the licit and illicit users of        22   treating pain in this country."
     23   that drug, correct?                                  23          Did I read that correctly?
     24          MS. McCLURE: Form. Foundation.                24      A. Yes.
     25   Speculation. Scope.                                  25      Q. And if you go to the next page, in

                                                                                            48 (Pages 186 - 189)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 49 of 100. PageID #: 227217


                                                     Page 190                                                 Page 192
      1   the middle of the paragraph, it starts at the          1          MR. ELSNER: Mark this next document
      2   third full paragraph: "We are asking the               2   as the next exhibit.
      3   industry to do several things."                        3          (Deposition Exhibit 14 was marked
      4           Do you see where I am at?                      4   for identification.)
      5      A. Yes.                                             5          MR. ELSNER: It bears the Bates
      6      Q. It says: "No. 1, we are asking that              6   range PPLPC045 and then a bunch of zeros, 5405
      7   the company do a more balanced approach in             7   through 5425.
      8   their marketing of this drug. We are asking            8          BY MR. ELSNER:
      9   them to educate doctors and patients about the         9      Q. Was the DEA aware --
     10   dangers of the drug. We are asking them not to        10          MS. NEWMARK: I will object to the
     11   advertise in such a way that gives a physician,       11   use of this document. I have not gotten a
     12   for instance, who is not well-trained in pain         12   chance to look through it but it appears to be
     13   management, it gives that physician the               13   a Purdue produced e-mail and you are showing it
     14   impression that this might be the painkiller of       14   to the witness in violation of the protective
     15   first resort rather than the painkiller of last       15   order as it's marked confidential, and you did
     16   resort. We are asking them and others perhaps         16   not seek permission from Purdue to show this to
     17   to come up with what we refer to as a                 17   the witness.
     18   restricted distribution, in other words,              18          MR. ELSNER: First, your
     19   recommend that doctors only prescribe and             19   understanding of the protective order is wrong.
     20   pharmacists only distribute this for certain          20   Section 33M states that there is only a
     21   types of pain, so that the kidney stone patient       21   restriction in sharing it with another -- an
     22   may get a different version of it, but the            22   employee of another party. This is not another
     23   terminal cancer patient may well get the 160          23   party in the litigation. So your objection is
     24   milligram oxycodone."                                 24   completely wrong.
     25           Do you see that?                              25          Furthermore, the Government has
                                                     Page 191                                                 Page 193
      1      A. Yes.                                             1   signed the confidentiality order and they're --
      2      Q. Did I read it correctly?                         2   and I am entitled to use it in this deposition
      3      A. Yes.                                             3   and I don't need to ask for permission.
      4      Q. Okay. And then in the second to                  4          Secondly, the repeated extensive
      5   last paragraph, he states: "Frankly, the               5   objections are interfering with the flow of the
      6   manufacturer of this, they have met us on some         6   deposition unnecessarily, and I think
      7   of these issues, on others, they have not met          7   intentionally, and I ask you simply to say
      8   us."                                                   8   objection. Your objections are always
      9          And then he says: "And I have to                9   preserved and you can raise them at a later
     10   tell you, sir, that we need more cooperation          10   time.
     11   from that company, and if we cannot find some         11          MS. NEWMARK: Counsel, I am entitled
     12   more middle ground in this area, I am seriously       12   to object to whenever you ask a question that
     13   considering rolling back the corners of th            13   is objectionable. Furthermore, under Section
     14   quotas that the DEA set, rolling back those           14   33H of the confidentiality order, if a designee
     15   quotas to 1996 levels until we find ways to           15   -- you're required to give the designee party
     16   control this."                                        16   notice of your intent to disclose a document to
     17          Did I read this correctly?                     17   state or federal law enforcement agencies, even
     18      A. Yes.                                            18   if they have completed the certification in
     19      Q. Were you aware that the DEA was                 19   Exhibit A and the acknowledgement to be bound,
     20   considering rolling back quotas to 1996 levels        20   and if the designating party, which here is
     21   for oxycodone?                                        21   Purdue, objects to the disclosure, then the
     22          MR. CHANDLER: Objection. Scope.                22   designating party may request a meet and confer
     23          MR. O'CONNOR: Objection.                       23   and resolve the protective order from the
     24          THE WITNESS: I am aware that it had            24   Court.
     25   been considered.                                      25          MR. ELSNER: This is not that

                                                                                              49 (Pages 190 - 193)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 50 of 100. PageID #: 227218


                                                  Page 194                                                  Page 196
      1   situation. I'm not disclosing it for that           1         Did I read that correctly?
      2   situation.                                          2      A. Yes.
      3          MS. NEWMARK: This is that                    3      Q. Okay. It reads that -- under that:
      4   situation, and we can call Colin right now if       4   "In human terms, such a rollback would mean,
      5   you want to have a dispute about this.              5   No. 1, in 1996, the amount of oxycodone
      6          MR. ELSNER: Well, we have a dispute          6   allocated to Purdue allowed us to supply enough
      7   about it, but we are not going to waste any         7   OxyContin to fill approximately 29,000
      8   more time. Your objection is preserved.             8   prescriptions per year. In 2000, the amount of
      9          MS. NEWMARK: I'm going to continue           9   oxycodone allocated to Purdue allowed us to
     10   to object to your use of this document and         10   supply enough OxyContin to fill approximately
     11   furthermore, it is outside the scope of what       11   5.4 million prescriptions a year."
     12   this witness is permitted to testify about         12         It then says, under Item 3: "If the
     13   today.                                             13   quota were reduced as suggested by Mr.
     14          BY MR. ELSNER:                              14   Marshall, we would not be able to supply 95
     15      Q. Ma'am, were you aware that Purdue,           15   percent of the demand for OxyContin. 19 out of
     16   in response to Mr. Marshall's testimony, began     16   every 20 patients would be unable to fill their
     17   writing letters to its customers, to pain          17   doctor's prescriptions."
     18   management groups and to members of Congress?      18         Did I read that correctly?
     19          MR. O'CONNOR: Objection. Form.              19      A. Yes.
     20   Scope.                                             20      Q. On the next page, the second
     21          MR. CHANDLER: Objection. Scope.             21   paragraph, the first line reads: "If the DEA
     22          MS. NEWMARK: Objection.                     22   were to impose even a small restriction on
     23   Foundation.                                        23   Purdue's quota for oxycodone, the war on drugs
     24          THE WITNESS: The DEA is aware of            24   would turn into a war on people in pain."
     25   that.                                              25         Did I read that correctly?
                                                  Page 195                                                  Page 197
      1          BY MR. ELSNER:                               1      A. Yes.
      2      Q. Okay. I'm going to ask you to look            2      Q. Was the DEA aware that Purdue was
      3   at the second page of the document. This is         3   sending letters out to its customers telling
      4   one of the drafts.                                  4   them that the DEA was engaged in a war on
      5          MS. NEWMARK: So again, I'm going to          5   people in pain?
      6   object to the use of this document.                 6         MR. O'CONNOR: Objection. Form.
      7          MR. ELSNER: Your objection is                7   Scope.
      8   preserved.                                          8         MR. CHANDLER: Objection.
      9          MS. NEWMARK: That it's violating             9         MS. NEWMARK: Objection.
     10   the protective order in this case, and I'm         10   Foundation.
     11   going to keep objecting as long as you keep        11         MR. O'CONNOR: Can the DOJ instruct
     12   violating the protective order.                    12   the witness not to answer on the basis of
     13          MR. ELSNER: I'm going to ask                13   scope.
     14   questions on this document. Your objection is      14         MR. CHANDLER: No. The witness can
     15   preserved. You don't need to raise it every        15   answer.
     16   single question that I ask. It's preserved.        16         THE WITNESS: I'm not sure we -- DEA
     17   You can simply say objection.                      17   was aware of it going to actual patients. We
     18          BY MR. ELSNER:                              18   knew it went to Congress.
     19      Q. I'm going to ask you to look at the          19         BY MR. ELSNER:
     20   middle of this document, at the end of the         20      Q. And the DEA wasn't engaged in a war
     21   second full paragraph.                             21   on people in pain, was it?
     22          It reads: "The 1996 level would             22         MR. O'CONNOR: Objection. Scope.
     23   represent a 95 percent reduction in raw            23         MR. CHANDLER: Objection.
     24   material allowing only one prescription of 20      24   Foundation.
     25   to be filled."                                     25         THE WITNESS: No.

                                                                                            50 (Pages 194 - 197)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 51 of 100. PageID #: 227219


                                                   Page 198                                                  Page 200
      1           BY MR. ELSNER:                               1           BY MR. ELSNER:
      2      Q. You were trying to set the                     2      Q. If you look at the bottom of the
      3   legitimate medical need for the country,             3   first page of this exhibit, there is a dash 8
      4   correct?                                             4   there.
      5      A. Correct.                                       5           And it reads: "A version of this
      6           MR. EPPICH: Objection. Vague.                6   letter should go to pain physicians as well.
      7           BY MR. ELSNER:                               7   This is a clear attack on the pain movement.
      8      Q. Among the items that the DEA was               8   There can be no other interpretation."
      9   attempting to work with manufacturers on, which      9           Did I read that correctly?
     10   included a more balanced approach to marketing,     10      A. Yes.
     11   better education, better -- less advertising,       11      Q. And was the DEA trying to attack the
     12   those items including the addictive nature of       12   pain movement by trying to set the appropriate
     13   the drug are not revealed in this letter, are       13   quota authorization for oxycodone?
     14   they?                                               14           MR. O'CONNOR: Objection.
     15           MR. O'CONNOR: Objection. Form.              15           MR. EPPICH: Objection. Scope.
     16   Scope.                                              16           THE WITNESS: No.
     17           MR. CHANDLER: Objection. Form.              17           BY MR. ELSNER:
     18           THE WITNESS: No, it does not look           18      Q. The DEA was just simply trying to
     19   like it.                                            19   correctly determine the legitimate medical need
     20           BY MR. ELSNER:                              20   for oxycodone; is that right?
     21      Q. If you turn to the next letter, the           21           MR. O'CONNOR: Objection.
     22   next draft letter, you mentioned that you were      22           MR. EPPICH: Objection. Calls for
     23   aware that letters had been sent from Purdue to     23   speculation.
     24   members of Congress.                                24           MR. CHANDLER: Objection. Form.
     25           This is a draft letter to be sent to        25           THE WITNESS: So the DEA was hoping
                                                   Page 199                                                  Page 201
      1   Congressional members in North Carolina, and in      1   to find that the FDA would provide better data
      2   this letter, Purdue is threatening that they         2   for legitimate medical need, yes, as they are
      3   are going to close their plant in Wilson, North      3   the agency required to do so.
      4   Carolina, if the 1996 rollback occurs.               4          BY MR. ELSNER:
      5          Was the DEA aware of that?                    5      Q. But the DEA was not trying to attack
      6          MR. O'CONNOR: Objection. Form.                6   the pain movement in trying to set the right
      7   Scope. Mischaracterizes prior testimony.             7   quota, correct?
      8          THE WITNESS: DEA knew that                    8          MR. O'CONNOR: Objection. Form.
      9   manufacturers tended to threaten Congress with       9          THE WITNESS: Correct.
     10   closing their facilities.                           10          BY MR. ELSNER:
     11          BY MR. ELSNER:                               11      Q. Now, under No. 10, it says: "The
     12      Q. Okay. If we turn to --                        12   AAFP," this is the American Association of
     13          MR. ELSNER: Mark this as the next            13   Family Practitioners, "would be very interested
     14   exhibit.                                            14   in this testimony. Want me to call Henely or
     15          (Deposition Exhibit 15 was marked            15   to send him an e-mail this weekend with the
     16   for identification.)                                16   testimony? He will be incensed at the
     17          MR. ELSNER: This is another Purdue           17   suggestion that prescribing will be limited."
     18   document. Your objections are preserved.            18          Did I read that correctly?
     19          MS. NEWMARK: I'm going to repeat my          19      A. Yes.
     20   objection. Obviously an objection to the use        20      Q. Now one of the things that the DEA
     21   of the prior document, the document is under        21   was hoping to work cooperatively with the
     22   the protective order in this case and counsel's     22   industry with, was to restrict the number of
     23   violating Section 33H of the protective order       23   doctors who could prescribe this medication to
     24   by continuing to use all of these Purdue            24   those who specialized in pain management,
     25   documents that are clearly marked confidential.     25   correct?
                                                                                            51 (Pages 198 - 201)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 52 of 100. PageID #: 227220


                                                   Page 202                                                 Page 204
      1          MR. O'CONNOR: Object to form.                 1          THE VIDEOGRAPHER: We are back on
      2   Scope.                                               2   the record. The time is 4:34.
      3          MR. CHANDLER: Objection to scope.             3          You may proceed, Counsel.
      4   I will instruct the witness not to answer that       4          (Deposition Exhibit 16 was marked
      5   one.                                                 5   for identification.)
      6          BY MR. ELSNER:                                6          BY MR. ELSNER:
      7      Q. Was the DEA aware that Purdue was              7      Q. I placed before you Exhibit 16 which
      8   sending letters to pain physicians and to pain       8   is the letter that was written by the American
      9   -- patient advocacy groups to oppose Mr.             9   Academy of Pain Management to the DEA, Donnie
     10   Marshall's testimony in the quota                   10   Marshall, on June 8, 2001.
     11   authorization?                                      11          Do you see that?
     12          MR. O'CONNOR: Objection. Form.               12      A. Yes.
     13   Scope.                                              13      Q. And this is in response to Mr.
     14          THE WITNESS: I'm unaware that the            14   Marshall's testimony, and if you go to the
     15   DEA knew about that.                                15   middle of the second paragraph, it begins:
     16          BY MR. ELSNER:                               16   "CSA requirement."
     17      Q. Okay. If you turn to the second to            17          Do you see where I am at? "For
     18   the last page of the document, the document         18   determination of legitimate medical need."
     19   bearing the Bates number -- the last numbers        19          You can see it on the screen
     20   being 5403.                                         20   perhaps?
     21          There is a comment there on the              21      A. Yes.
     22   right-hand side and it reads: "Again, if this       22      Q. Okay. It reads: "CSA requirement
     23   becomes public, do we think that our employees      23   for determination of legitimate medical need is
     24   will understand that we don't expect the            24   based on the undisputed position that patients
     25   reduction in quota to happen, wouldn't it be        25   and pharmacies should be able to obtain
                                                   Page 203                                                 Page 205
      1   better to make this point verbally over the          1   sufficient quantities of any Schedule II drug
      2   telephone rather than in a letter, which may be      2   to fill prescriptions. A therapeutic drug
      3   leaked intentionally or unintentionally. I'm         3   should be available to patients when they need
      4   sure that between us three, we can get               4   it."
      5   eventually every Senator and Congressman we          5           Did I read that correctly?
      6   want to talk to us on the phone in the next 72       6      A. Yes.
      7   hours."                                              7      Q. Okay. And then on the next page in
      8           Did I read that correctly?                   8   the second full paragraph, second sentence, it
      9      A. Yes.                                           9   states -- in the second sentence: "For 30
     10      Q. Was the DEA aware that Purdue had             10   years, the U.S. Government has waged a war
     11   done an outreach by phone to members of             11   against this epidemic problem with limited
     12   Congress?                                           12   success, choking off the supply of one opioid
     13           MR. O'CONNOR: Object to form.               13   analgesic oxycodone does not solve the
     14           MR. CHANDLER: Objection to form.            14   underlying problem of consumer demand. In
     15   Foundation.                                         15   fact, declaring oxycodone highly dangerous only
     16           THE WITNESS: DEA was aware that             16   adds to its mystique and desirability by drug
     17   there was an outreach to Congress, not the form     17   abusers and addicts."
     18   that it took.                                       18           Did I read that correctly?
     19           BY MR. ELSNER:                              19      A. Yes.
     20      Q. If you turn to --                             20      Q. In the next paragraph, it says that:
     21           MR. ELSNER: Actually, can we go off         21   "The manufacturer of the most highly sought
     22   the record real quick.                              22   after form of oxycodone, Purdue Pharma L.P., is
     23           THE VIDEOGRAPHER: We are going off          23   one of the most ethical pharmaceutical
     24   the record. The time is 4:15.                       24   companies in the United States."
     25           (A short recess was taken.)                 25           Did I read that correctly?

                                                                                            52 (Pages 202 - 205)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 53 of 100. PageID #: 227221


                                                   Page 206                                                 Page 208
      1      A. Yes.                                           1   Foundation. Scope.
      2      Q. When the DEA received this letter,             2           MR. CHANDLER: Objection. Form.
      3   did it know that Purdue Pharma had provided          3           Unless you want the witness to spend
      4   financial support for this organization?             4   the next few minutes reading through the entire
      5          MS. McCLURE: Objection.                       5   letter.
      6   Foundation. Form.                                    6           You can answer.
      7          MR. O'CONNOR: Objection.                      7           THE WITNESS: I haven't read the
      8          THE WITNESS: I do not think DEA was           8   full letter but -- so I don't know.
      9   aware of that.                                       9           BY MR. ELSNER:
     10          BY MR. ELSNER:                               10      Q. I will represent to you that it
     11      Q. The next sentence in that paragraph,          11   doesn't, but in April of 2018 --
     12   it says: "Unlike many other pharmaceutical          12           MR. ELSNER: Can I see -- we will
     13   companies, Purdue Pharma consistently offers        13   mark this as the next exhibit.
     14   the best continuing medical education               14           (Deposition Exhibit 17 was marked
     15   conferences, does not engage in covert bribery      15   for identification.)
     16   and even discourages its representatives from       16           BY MR. ELSNER:
     17   providing alcohol."                                 17      Q. In April of 2018, the DEA published
     18          This was at least five years before          18   a notice of proposed rulemaking related to
     19   Purdue pled guilty in federal court; is that        19   quotas, and if you look on the summary, it
     20   correct?                                            20   reads: "The Drug Enforcement Administration is
     21          MR. O'CONNOR: Objection.                     21   publishing this proposed rule to strengthen
     22          MR. CHANDLER: Objection. Scope.              22   controls over diversion of controlled
     23          MS. McCLURE: Objection. Form.                23   substances and make other improvements to the
     24          MS. NEWMARK: Objection. Form.                24   quota management regulatory system for their
     25          MR. EPPICH: Foundation.                      25   production, manufacturing and procurement of
                                                   Page 207                                                 Page 209
      1          THE WITNESS: I don't remember the             1   controlled substances."
      2   exact year that they were in court.                  2           Did I read that correctly?
      3          BY MR. ELSNER:                                3      A. Yes.
      4      Q. You do remember that Purdue has pled           4      Q. And the purpose in the third column
      5   guilty to a felony of misbranding their drug         5   on the first page in the second full paragraph,
      6   with an intent to defraud and mislead?               6   where it starts: "The current regulations."
      7          MR. CHANDLER: Objection. Scope.               7           Do you see where I am at?
      8          MS. NEWMARK: Objection.                       8      A. Yes.
      9          MR. O'CONNOR: Objection.                      9      Q. "The current regulations issued
     10          BY MR. ELSNER:                               10   initially in 1971 need to be updated to reflect
     11      Q. Are you aware of that?                        11   changes in the manufacture of controlled
     12      A. Yes.                                          12   substances, changing patterns of substance
     13      Q. This wasn't the only letter that DEA          13   abuse and markets in illicit drugs, and the
     14   received in response to Mr. Marshall's              14   challenges presented by the current national
     15   testimony, was it?                                  15   crisis of controlled substance abuse. This
     16          MR. O'CONNOR: Objection. Form.               16   proposed rule modifies the regulations to
     17          MR. CHANDLER: Objection.                     17   strengthening controls over diversion."
     18   Foundation. Form.                                   18           Was that the intent?
     19          THE WITNESS: Not that I'm aware of.          19           MR. O'CONNOR: Objection.
     20          BY MR. ELSNER:                               20           THE WITNESS: Yes.
     21      Q. And the letter doesn't indicate,              21           BY MR. ELSNER:
     22   does it, that Purdue had given financial            22      Q. And if you go to the next page in
     23   support to this organization, the American          23   the regulations, in the second full paragraph
     24   Academy of Pain Management, does it?                24   beginning with "first."
     25          MR. O'CONNOR: Objection. Form.               25           Do you see where I am at?
                                                                                            53 (Pages 206 - 209)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 54 of 100. PageID #: 227222


                                                   Page 210                                                  Page 212
      1      A.   Yes.                                         1   customer identities and the amounts of
      2      Q.   It reads: "First, it would" --               2   controlled substances sold to each customer."
      3          MR. CHANDLER: I'm going to object             3          Did I read that correctly?
      4   to the characterization of this document as the      4      A. Yes.
      5   regulations.                                         5      Q. Is this the first time where the DEA
      6          MR. ELSNER: I didn't mean to                  6   has -- where there is a proposed rule for the
      7   suggest. I meant the proposed regulation.            7   DEA to expressly consider customer information
      8          MR. CHANDLER: I just wanted to be             8   from manufacturers?
      9   clear.                                               9          MR. O'CONNOR: Objection.
     10          MR. ELSNER: No problem.                      10   Foundation.
     11          BY MR ELSNER:                                11          MR. EPPICH: Objection. Foundation.
     12      Q. The proposed regulation as expressed          12   Scope.
     13   here in that paragraph reads: "First, it would      13          THE WITNESS: I don't understand the
     14   add to the list the extent of any diversion of      14   question.
     15   the controlled substance in the class."             15          BY MR. ELSNER:
     16          Did I read that correctly?                   16      Q. Okay. The proposed rule provides
     17      A. Yes.                                          17   that manufacturers could -- clarifies that the
     18      Q. Okay. Is this the first time that             18   manufacturers may be required to provide
     19   diversion is expressly mentioned in the statute     19   information about their customers; is that
     20   or in the regulatory scheme related to quotas?      20   right?
     21          MR. EPPICH: Object to form.                  21      A. Correct.
     22   Foundation. Vague.                                  22      Q. Why was that important?
     23          THE WITNESS: Yes.                            23          MR. CHANDLER: Object to form.
     24          BY MR. ELSNER:                               24          MR. O'CONNOR: Objection.
     25      Q. Okay. And so prior to this, there             25          MR. CHANDLER: Scope.
                                                   Page 211                                                  Page 213
      1   was no expressed list or item in any of the          1          THE WITNESS: One factor that arose
      2   regulations related to quota that mentioned          2   with this proposed rule was to remind
      3   diversion; is that right?                            3   manufacturers of their requirements to know
      4          MR. O'CONNOR: Objection.                      4   their customers.
      5          THE WITNESS: Correct.                         5          BY MR. ELSNER:
      6          BY MR. ELSNER:                                6      Q. And why were you reminding
      7      Q. Okay. In the end of the -- say, the            7   manufacturers of that responsibility?
      8   -- the proposed regulation also expressly            8          MR. O'CONNOR: Objection. Form.
      9   permits the DEA to consider state's relevant         9   Scope.
     10   data from its prescription monitoring program;      10          THE WITNESS: So that the
     11   is that true?                                       11   manufacturers would not be surprised when we
     12          MR. CHANDLER: Objection. Vague.              12   said -- we suggested that they did not know
     13          THE WITNESS: To allow DEA to                 13   their customers.
     14   consider data from the states, yes.                 14          BY MR. ELSNER:
     15          BY MR. ELSNER:                               15      Q. Sorry. Go ahead.
     16      Q. And the other thing that it                   16      A. No.
     17   expressly clarified at the bottom of the second     17      Q. Okay. And that's one of the
     18   column on this page, the last full paragraph.       18   requirements under the Controlled Substances
     19          Do you see where I'm at?                     19   Act, right? In any event, for manufacturers to
     20      A. Yes.                                          20   know their customers?
     21      Q. Okay. It reads: "The proposed rule            21          MR. O'CONNOR: Objection. Form.
     22   would amend Section 1303.12(b) to clarify that      22   Scope.
     23   the administrator may require additional            23          MR. CHANDLER: Objection. Scope.
     24   comparable information from applicants that may     24          THE WITNESS: It is part of the
     25   help to detect or prevent diversion including       25   regulatory framework.

                                                                                             54 (Pages 210 - 213)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 55 of 100. PageID #: 227223


                                                    Page 214                                                 Page 216
      1           BY MR. ELSNER:                                1          THE WITNESS: So that piece suggests
      2      Q. In response to this proposed                    2   that those are two separate factors that should
      3   rulemaking, the DEA also received comments.           3   be considered.
      4           MR. ELSNER: I will mark this as an            4          BY MR. ELSNER:
      5   exhibit.                                              5      Q. And so even in 2018, there were
      6           (Deposition Exhibit 18 was marked             6   still objections being raised by pain
      7   for identification.)                                  7   management groups and others to the reminders
      8           BY MR. ELSNER:                                8   from the DEA to manufacturers to know their
      9      Q. One of the comments was from the                9   customers and provide that data to the DEA,
     10   PHRMA which is on the third page.                    10   correct?
     11           Do you see that?                             11          MR. O'CONNOR: Objection. Form.
     12           MS. NEWMARK: I will object to the            12   Scope.
     13   use of this document as violating the                13          MR. CHANDLER: Objection. Form.
     14   protective order in this case and I repeat all       14   Scope.
     15   my prior objections.                                 15          THE WITNESS: I don't understand the
     16           THE WITNESS: Yes.                            16   question.
     17           BY MR. ELSNER:                               17          BY MR. ELSNER:
     18      Q. And on the second page of that                 18      Q. Even in 2018, as late as that, there
     19   letter, it reads "under diversion and                19   were still objections by pain management groups
     20   legitimate medical need."                            20   and others to the DEA's proposed rulemaking
     21           "We're concerned that the DEA seems          21   adding diversion as one of the criteria to
     22   to conflate legitimate need for opioid               22   consider, correct?
     23   treatment with legitimate use of opioids."           23          MR. CHANDLER: I'm going to renew my
     24           Do you see that?                             24   objection.
     25      A. Yes.                                           25          MR. O'CONNOR: Objection.
                                                    Page 215                                                 Page 217
      1      Q. And then further down, it reads --              1          THE WITNESS: They submitted
      2   the sentence beginning: "However, illegitimate        2   comments objecting, yes.
      3   use of diverted controlled substances."               3          BY MR. ELSNER:
      4           Do you see that?                              4      Q. And were you aware -- this document
      5      A. No. Hold on a sec.                              5   was produced to us by Purdue and if you look at
      6      Q. Take your time.                                 6   the very first page, you can see there is an
      7      A. Yes.                                            7   e-mail from Purdue attaching the letter to the
      8      Q. It says: "However, illegitimate use             8   DEA.
      9   of diverted controlled substances does not            9          Was the DEA aware that Purdue was
     10   extinguish legitimate need for a drug. For           10   encouraging letters like this to be written to
     11   example, if someone steals a pain patient's          11   the DEA?
     12   legally prescribed opioid, the pain patient          12          MR. CHANDLER: Objection. Form.
     13   still has a legitimate need for opioid, even         13   Foundation. Characterization of the document.
     14   though some of the opioids were diverted for         14          MR. O'CONNOR: Objection. Form.
     15   illegitimate uses."                                  15          MR. CHANDLER: Scope.
     16           Did I read that correctly?                   16          MR. O'CONNOR: Scope and foundation.
     17      A. Yes.                                           17          THE WITNESS: DEA was not aware.
     18      Q. And so what is being argued here is            18          MR. ELSNER: Go off the record for a
     19   that -- that diversion does not affect need; is      19   minute.
     20   that a fair summary?                                 20          THE VIDEOGRAPHER: We are going off
     21           MR. O'CONNOR: Object to form.                21   the record. The time is 4:51.
     22           MR. CHANDLER: Objection.                     22          (A short recess was taken.)
     23           MS. McCLURE: Object to form.                 23          THE VIDEOGRAPHER: We are back on
     24           MR. EPPICH: Object to form.                  24   the record. The time is 4:55.
     25   Mischaracterization of the document.                 25          You may proceed, Counsel.

                                                                                             55 (Pages 214 - 217)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 56 of 100. PageID #: 227224


                                                               Page 218                                                   Page 220
      1            BY MR. ELSNER:                                          1      A.   Hello.
      2        Q. Earlier in the deposition, you were                      2      Q.   I will try to be quick.
      3     asked a question that -- during the years that                 3          Could you turn to Exhibit No. 10,
      4     you approved the quota numbers, did you feel                   4   please.
      5     that they reflected the medical need of the                    5          When counsel for plaintiffs asked
      6     United States?                                                 6   you some questions about this document, he
      7            Do you remember that line of                            7   represented that it was delivered in 2003.
      8     questioning?                                                   8          Do you recall that?
      9        A. Yes.                                                     9      A. Yes, that's what he stated.
     10            MR. CHANDLER: Objection.                               10      Q. Where were you in 2003?
     11     Mischaracterizes the prior question.                          11      A. I was not at DEA.
     12            MR. O'CONNOR: Objection.                               12      Q. Did you have any involvement in
     13            BY MR. ELSNER:                                         13   preparing this presentation?
     14        Q. And you answered that you believed                      14      A. No, I did not.
     15     that when you were approving quota allocations,               15      Q. Do you know who prepared the
     16     they were based on legitimate medical need.                   16   presentation?
     17            Do you remember that testimony?                        17      A. No, I do not.
     18            MR. CHANDLER: Objection.                               18      Q. Had you ever seen this presentation
     19     Mischaracterizes prior testimony.                             19   before today?
     20            MR. O'CONNOR: Objection.                               20      A. Not this one, no.
     21            THE WITNESS: So when I approved                        21      Q. And can you personally vouch for any
     22     quota, it was for a legitimate medical need or                22   of the information contained in this
     23     scientific or research purposes or export or                  23   presentation?
     24     inventory.                                                    24          MR. ELSNER: Objection.
     25            BY MR. ELSNER:                                         25          THE WITNESS: I have not reviewed
                                                               Page 219                                                   Page 221
      1     Q    When you approved those quota                             1   the whole presentation at this point, so no.
      2   allocation, you were doing that based on the                     2          BY MR. O'CONNOR:
      3   information that you had available to you and                    3      Q. Do you have any personal knowledge
      4   to the office of the DEA, correct?                               4   about the statements made in this presentation?
      5         MR O'CONNOR: Objection Form                                5          MR. CHANDLER: Object to form.
      6         THE WITNESS: Yes                                           6          THE WITNESS: I have not reviewed
      7         BY MR ELSNER:                                              7   the entire presentation so I cannot speak to
      8     Q    And you did your very best with the                       8   that.
      9   information that you had to make that                            9          BY MR. O'CONNOR:
     10   determination; is that true?                                    10      Q. Fair to say, you were not involved
     11         MR O'CONNOR: Objection                                    11   in making any of the statements in this
     12         THE WITNESS: Yes                                          12   presentation, correct, because it was delivered
     13         MR ELSNER: I will pass the witness                        13   in 2003?
     14   at this time Go off the record                                  14      A. So I do not know if these are
     15         THE VIDEOGRAPHER: We are going off                        15   statements that DEA has continued to use since
     16   the record This is the end of Media Unit No                     16   that time, so at the time that this
     17   5 The time is 4:56                                              17   presentation was made, I am not aware of those
     18         (A short recess was taken )                               18   statements. I have not reviewed the entire
     19         THE VIDEOGRAPHER: We are going back                       19   presentation.
     20   on the record This is the beginning of Media                    20          MR. O'CONNOR: I have no further
     21   Unit No 6 The time is 5:23                                      21   questions at the moment, but we do reserve the
     22         You may proceed, Counsel                                  22   right to leave this deposition open pending the
     23   FURTHER EXAMINATION BY COUNSEL FOR DEFENDANTS                   23   production of the letters from DEA and we are
     24         BY MR O'CONNOR:                                           24   happy to discuss that more offline.
     25     Q    Ms Harper-Avilla, hello again                            25          MR. CHANDLER: Okay.

                                                                                                         56 (Pages 218 - 221)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 57 of 100. PageID #: 227225
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 58 of 100. PageID #: 227226


                                                                           Page 226
      1         DEPOSITION REVIEW
               CERTIFICATION OF WITNESS
      2
        ASSIGNMENT REFERENCE NO: 3282688
      3 CASE NAME: In Re: National Prescription Opiate Litigation v
        DATE OF DEPOSITION: 4/11/2019
      4 WITNESS' NAME: Stacy Harper-Avilla
      5     In accordance with the Rules of Civil
        Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me
      7     I have listed my changes on the attached
        Errata Sheet, listing page and line numbers as
      8 well as the reason(s) for the change(s)
      9     I request that these changes be entered
        as part of the record of my testimony
     10
            I have executed the Errata Sheet, as well
     11 as this Certificate, and request and authorize
        that both be appended to the transcript of my
     12 testimony and be incorporated therein
     13 _______________           ________________________
        Date                 Stacy Harper-Avilla
     14
            Sworn to and subscribed before me, a
     15 Notary Public in and for the State and County,
        the referenced witness did personally appear
     16 and acknowledge that:
     17     They have read the transcript;
            They have listed all of their corrections
     18     in the appended Errata Sheet;
            They signed the foregoing Sworn
     19     Statement; and
            Their execution of this Statement is of
     20     their free act and deed
     21     I have affixed my name and official seal
     22 this ______ day of_____________________, 20____
     23         ___________________________________
                Notary Public
     24
                ___________________________________
     25         Commission Expiration Date

                                                        Page 227
      1            ERRATA SHEET
               VERITEXT LEGAL SOLUTIONS MIDWEST
      2          ASSIGNMENT NO: 3282688
      3   PAGE/LINE(S) /    CHANGE       /REASON
      4   ___________________________________________________
      5   ___________________________________________________
      6   ___________________________________________________
      7   ___________________________________________________
      8   ___________________________________________________
      9   ___________________________________________________
     10   ___________________________________________________
     11   ___________________________________________________
     12   ___________________________________________________
     13   ___________________________________________________
     14   ___________________________________________________
     15   ___________________________________________________
     16   ___________________________________________________
     17   ___________________________________________________
     18   ___________________________________________________
     19
        _______________      ________________________
     20 Date            Stacy Harper-Avilla
     21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
     22 DAY OF ________________________, 20______ .
     23       ___________________________________
              Notary Public
     24
              ___________________________________
     25       Commission Expiration Date

                                                                                                 58 (Pages 226 - 227)
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 59 of 100. PageID #: 227227


   [& - 2018]                                                                      Page 1

             &               164:18 184:25       17 1:5,9 11:14        20 92:9 195:24
    & 2:8 4:11,12,16       1100 224:1              12:21 61:5 208:14     196:16 225:16
      5:13,18,22 6:3 7:3   112,000 151:17        1701 5:18               226:22 227:22
      7:7,11,16,22 8:3,7   115 188:24            1717 6:13             200 165:7
      8:22 12:23 13:14     11937 223:19          172 11:4              2000 97:1,13 98:23
      13:17,21 14:4,11     11:00 66:6            175 3:5 165:6           196:8
      15:4,6,14 108:15     11:06 66:9            1755 5:4              20001 5:14 7:4
      157:3,15             11:58 95:22           18 1:11,14 10:9       20002 3:5
                           11th 10:25 158:9        11:16 214:6         20004 3:23
              0
                             162:5               1800 6:8              20005 6:4 7:12
    00015423-506           12 11:4 39:9 61:4     1820 224:2            20006 4:13
      10:14                  140:22 141:1        188 11:6              2001 188:12 189:6
    02199 7:18               172:11,12 175:18    18976 8:19              204:10
    030000179742           12th 6:3              19 72:25 196:15       2002 185:12
      160:23               13 11:6 18:20,21      19103 5:19 6:14       2003 158:14 220:7
    03000179742              61:4 96:17 143:5    192 11:8                220:10 221:13
      160:22                 188:20              1971 209:10           20036 6:9
    081098-099 11:3        1300 8:23             199 11:10             2008 23:9,11 60:16
              1            1303 10:11            1995 19:6 41:6          60:21 61:16,22
    1 10:9 12:14 18:1      1303.11 50:9            42:17 50:21 51:14     62:4 64:6,14,18
      18:2 57:8 190:6      1303.12 10:17           52:4 53:14 54:12      65:9 99:3 109:7
      196:5                  211:22                55:4,18 56:2        2009 61:4 97:13
    1,1800 169:19          1303.12. 52:9           58:22 62:4 67:2       98:2,23
    1,412 169:20           1303.21 10:16           67:13 68:19 70:9    2010 96:17 97:1,12
    1-13-10 10:20          1303.23 84:25           72:25 73:6 74:14      97:15
    1-22-19 10:22          136 10:6                75:21 76:3,11,17    2011 81:8 124:16
    1.6 183:4              14 11:8 19:4 61:4     1996 189:17             124:19,25 125:20
    10 10:25 57:24,25        143:5 192:3           191:15,20 195:22      125:21,23 126:7
      61:4 158:3,4,17      140 10:23               196:5 199:4           126:12 133:9
      178:4 201:11         15 11:10 61:4         1998 55:12            2011-2018 10:15
      220:3                  199:15              1999 4:17 7:7         2012 132:4
    1000 6:8               1500 151:19           1:07 96:1             2013 128:2 134:18
    1001 3:23              15219 5:24 8:8        1:25 108:7              134:21
    10036 4:9              158 10:25             1:41 108:10           2015 10:13 121:14
    107 11:7               16 10:3 11:12 61:4    1st 173:22              132:5
    108 10:5                 204:4,7 224:4                 2           2018 19:6 41:6
    1095 4:8               160 190:23                                    42:17 50:21 51:15
                                                 2 10:11 49:4,5
    10:23 57:8             1612 172:20                                   52:4 53:15 54:13
                                                   51:4 57:12 85:5
    10:57 57:12            1625 4:13                                     55:4,12,18 56:2
                                                   86:1,4,4,5 95:22
    11 1:21 7:22 11:2      164 11:2                                      58:22 61:17 64:14
                                                 2,925 165:14
      12:5 61:4 164:17                                                   64:19 65:10 67:2

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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 60 of 100. PageID #: 227228


   [2018 - 80]                                                                   Page 2

      67:13 68:19 70:9   28 3:19 178:5           125:15 126:3       5425 192:7
      73:1,7 74:14       2800 6:18               127:1 176:20       57 10:12
      75:21 76:3,11,17   2804 1:5,5 12:20      4,000 165:15         5:23 219:21
      98:2 130:13          12:21               4,500 173:24         5:26 222:5,12
      208:11,17 216:5    29 182:21             4-19-18 11:15                 6
      216:18             29,000 196:7          4-4-05 11:5
                                                                    6 1:17 2:1 10:10
    2019 1:21 12:5       29464 3:19            4/11/2019 224:8
                                                                      10:17 18:19 91:18
      224:4              2:02 126:22             225:3 226:3
                                                                      91:19 127:5
    202-383-5129 4:14    2:12 127:1            400 3:14 169:21
                                                                      144:18 219:21
    202-386-9626 3:24    2:24 136:3            401 3:22
                                                                    6-20-17 10:24
    202-434-5000 6:4     2:37 136:6            412-338-5208 8:9
                                                                    6-8-01 11:12
    202-514-4678 3:6              3            412-560-7463 5:24
                                                                    60,000 165:12
    202-598-6204 3:10                          414-297-5913 8:4
                         3 10:12 19:19                                166:4
    202-662-6000 7:5                           419 4:4
                           20:18 51:19 57:15                        601 2:9 5:14 12:23
    202-778-1800 6:9                           424-332-4764 7:8
                           57:16 96:1 126:22                        60601 5:8
    202-879-5907 7:13                          44113 3:15
                           144:24 196:12                            60654 8:14
    202-942-5000 5:15                          44114 8:23 224:2
                         3,000 173:22                               617-951-7000 7:18
    2020 223:23                                45005 1:9
                         30 1:17 2:1 10:10                          650-739-3939 5:5
    204 11:12                                  45090 1:14
                           127:5 144:18                             655 7:12
    208 11:14                                  45132 1:11
                           205:9 223:23                                      7
    20th 8:23                                  46204 7:23
                         300 8:13,18
    212-698-3500 4:9                           49 10:11             7 10:18 96:7,8,17
                         301 8:8
    214 11:16                                  4:15 203:24            96:24 98:6 100:10
                         304-525-9115 4:5
    214-740-8554 6:19                          4:34 204:2             109:3,21 110:6
                         310-553-6700 4:18
    215-241-7910 6:14                          4:51 217:21          7-12-18 11:16
                         3100 6:13
    215-918-3680 8:19                          4:55 217:24          70,000 99:4,5,6
                         312-269-4066 5:9
    215-963-4824 5:19                          4:56 219:17            109:8,8,11
                         312-494-4445 8:15
    216-523-1313                                        5           700 169:21
                         317-231-7364 7:23
      224:3                                                         72 203:6
                         3282688 1:25          5 10:16 52:18 53:5
    216-621-7860 8:24                                               725 6:3
                           224:7 225:2 226:2     84:17,18 176:24
    216-622-3988 3:15                                               75201 6:19
                           227:2                 219:17
    219 10:4                                                        76 11:14
                         33h 193:14 199:23     5-28-01 11:10
    2200 6:18                                                       77 5:8
                         33m 192:20            5-28-97 11:3
    22152 3:10                                                      777 8:4
                         35th 8:7              5-29-01 11:8
    228 188:24                                                               8
                         3:23 176:20           5.4 196:11
    22nd 96:21                                                      8 10:21 96:7,10,20
                         3:44 176:24           50 173:22
    2421610 172:20                                                    97:22,22 100:10
                         3con 3:4              53202 8:4
    25 128:3 134:17,20                                                109:3,21 110:6
                                  4            54 8:13
    25701 4:4                                                         200:3 204:10
                                               5403 202:20
    2700 8:18            4 10:15 52:7 81:22
                                               5405 192:6           80 148:4
                           81:23 124:8,9

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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 61 of 100. PageID #: 227229


   [800 - aggregate]                                                                Page 3

    800 7:17                209:13,15           activity 47:2,5        advertising 198:11
    801 3:14              abused 148:20           93:13                advocacy 202:9
    81 10:15              abusers 205:17        actual 51:19 53:10     affect 215:19
    83 11:14              academy 204:9           54:13 86:16,23       affiliations 13:6
    84 10:16                207:24                103:6 150:13         affixed 225:15
    843-216-9250 3:20     accepted 55:13          168:11,21 171:4        226:21
    850 7:4               access 120:10,13        177:19 197:17        afternoon 136:9
    8701 3:9              account 51:10         acute 181:4              136:14,15
    8th 4:17                52:4 71:19 72:9     add 170:5 210:14       agencies 35:16,17
              9             79:5 83:8,13 84:5   added 128:3              35:20,22 40:18
                            93:14,16,21 99:13   addictive 177:16         74:5 107:14
    9 10:23 19:17
                          accounts 71:21          198:12                 193:17
      140:16,17
                          accumulation          addicts 205:17         agency 35:15
    90067 4:17 7:8
                            51:22               adding 216:21            73:25 79:15,16
    91 10:17
                          accurate 28:22        addition 71:13           80:6 84:2 132:15
    94303 5:4
                            81:18 142:9 163:4     72:7 146:13            201:3
    95 75:21 195:23
                          accurately 103:5      additional 173:15      agent 24:23 29:16
      196:14
                            184:18                211:23               aggregate 10:18
    96 10:18,21
                          accused 88:8          address 100:8            10:21 19:22 30:3
    98 185:11
                          acknowledge             224:15                 34:23 35:14 37:1
    99 185:11
                            225:11 226:16       adds 205:16              38:6,9 41:24 42:3
    9:16 1:22 12:4
                          acknowledgement       adequate 47:11,16        42:7 43:6 44:1,11
    9th 3:22 8:23
                            193:19                47:22 92:23 93:6       50:5,20 51:1,12,17
              a           acquire 147:11          156:18,22              52:5,15,24 53:6
    a.m. 1:22 12:4          152:23              adjudicated              54:6,23 55:5,15,23
    aafp 201:12           act 31:19 87:12,16      139:14                 56:4,14,18 57:1
    aaron 1:7               88:1,6,25 99:15     adjust 85:16             58:7,13,18,25
    ability 33:4 48:23      100:2,13,17         adjusted 85:7            59:15 60:19,24
      118:12,20 128:20      136:19 140:11       adjustments              61:7,23 62:9,18,25
      129:7 135:4 164:2     144:1 146:8 157:4     124:25                 63:9,15,24 65:10
      184:18                157:16 213:19       administration           67:3,6 68:12 70:6
    able 40:3 78:14         225:14 226:20         1:18 2:2 3:8 14:23     70:14 71:9,18
      148:8 155:1         action 45:17            23:11 34:3 157:3       72:24 73:9,23
      158:12 165:5          223:12,17             157:15 208:20          74:10,13 75:5,23
      171:13 196:14       active 44:11 80:14    administrator            76:5,13,19 77:3
      204:25                90:20                 29:19 50:10 52:21      79:1,17 80:2,4,12
    absolutely 141:5      activities 162:10       80:13,14,15 81:3       80:17 82:3,20
    abstract 175:17         162:14 163:18         85:8,17 126:15         83:1,7,9,12,14
    abuse 41:5 53:11        179:2 184:17          188:12 211:23          90:20 96:25 97:8
      55:5,9 149:19,22      185:11              advertise 190:11         97:12,25 98:3,9,19
      150:8 181:8                                                        99:21 101:17

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 62 of 100. PageID #: 227230


   [aggregate - appropriate]                                                         Page 4

      102:6,17 103:13     allocation 92:1       amounts 72:9           answered 144:9
      104:9,22 105:4,11     165:4,11 173:15       125:22 166:12          218:14
      105:16,22 106:2       219:2                 167:1 212:1          answering 17:6
      106:17 107:9,16     allocations 218:15    amy 4:15 15:4          answers 17:8
      111:8 112:6         allow 75:8 145:14     analgesic 205:13       anthony 6:7 13:24
      113:12 114:11,17      175:18 211:13       analgesics 185:3       anticipated 58:15
      115:4,14,15,25      allowance 156:7       analyst 9:2            api 90:21
      116:3,15,22 117:4     156:14 173:23       analyze 152:3          apologize 142:17
      117:11 119:10,20    allowances 35:5         166:15               apparently 86:22
      125:22 126:11         42:13 44:24         anda 8:2 15:8          appear 106:8
    aggregated 114:4      allowed 48:16,20      andrew 7:15 13:8         165:13 172:16
    aggressive 178:13       89:12 114:22          16:13 20:16            225:11 226:15
      180:4                 196:6,9             andrew.o'connor        appearances 3:1
    ago 44:3 84:22        allowing 116:24         7:19                   4:1 5:1 6:1 7:1 8:1
      143:8 189:16          195:24              angeles 4:17 7:8         13:6
    agree 12:13 42:24     allows 91:4           animal 179:9           appeared 96:13
      43:3 58:6 92:20     alto 5:4              ankle 182:3            appearing 12:15
      97:7,24 98:17       alucas 4:18           annual 35:7 61:18        222:6
      104:21 105:3,10     ama 189:18              118:11,18 119:14     appears 172:23
      105:17 106:16       amend 211:22            156:10                 192:12 223:5
      117:17 118:10,19    america 153:1         annually 111:13        appended 226:11
      140:24 144:17,23    american 201:12       answer 20:13             226:18
      148:19 159:1          204:8 207:23          26:20,24,25 27:1,6   applicable 157:5
      162:17,21 177:13    americas 4:8            27:8,9 30:24           157:17
      178:15 181:18       amerisourceberg...      31:16 32:18 34:20    applicants 211:24
      184:2                 6:11 14:3 108:21      35:9 36:16 40:23     application 42:10
    agreed 160:12           111:16 112:11,22      44:20 54:18 59:13      156:4
    ahead 18:19             151:7                 65:24 66:15 67:23    applications 28:20
      135:25 213:15       amount 34:16            68:6 71:23 74:20       170:7
    aid 5:17 14:9           35:1 46:14,14,16      78:5,21 92:5         apply 34:14
      111:24 112:16         51:24 52:11 98:15     101:1 109:11,20        112:23 113:5
      113:4                 99:7 107:17,21,23     123:24 137:22        applying 86:18,19
    al 1:9,11,13,13         109:12 114:12,15      138:16 139:2,3       appreciate 81:12
    alcohol 206:17          114:22 115:18         144:9 145:5,14,17      175:2
    alfentanil 101:4,8      116:13,19 117:19      146:20 166:9         apprised 94:9
      102:1                 118:12 119:9          167:2 170:3 171:1    approach 190:7
    allergan 7:10           147:10 150:16         172:2,4 173:5          198:10
      13:21,23              152:22 153:15         174:15,19 175:19     approaching
    allocate 93:10          155:19 169:14         176:1 197:12,15        165:15
    allocated 196:6,9       186:14,21 188:3       202:4 208:6          appropriate 48:12
                            196:5,8                                      87:6 100:14

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 63 of 100. PageID #: 227231


   [appropriate - awareness]                                                        Page 5

      200:12               areas 26:13 142:6     attempting 198:9      available 73:4,12
    appropriations           142:22 146:2        attending 13:5          73:15 101:18
      189:5                argued 215:18         attention 18:20         103:14,16 118:13
    approval 10:15         argument 146:18         19:3 87:24 98:5       118:21 156:24
      32:13 33:14 42:15    arnold 2:8 5:13       attorney 65:23          173:12 187:21
      42:16 80:8 81:7        12:23 14:4            66:14 223:15          188:4 205:3 219:3
      87:22 93:17          arnoldporter.com      attorney's 3:13       ave 224:1
      124:11 125:6           5:15,16               14:19               avenue 2:9 3:14
      126:10               arose 213:1           attorneys 25:11,12      4:8,17 5:14 6:18
    approve 33:17,21       aruiz 6:10              25:13,23,24 27:11     7:7 12:24
      80:1,7 82:3,9        asked 17:15 109:2       28:3                avilla 1:19 2:3
      101:24 125:7,7,9,9     109:4 111:6 123:4   attributed 75:6,9       10:2,10 12:16
      125:10 147:3           145:22 157:9        audio 12:11,11          15:25 16:11,19
      148:12 152:3           169:19 171:3        authority 33:25         21:18 57:19 66:12
    approved 63:19           175:3 189:13          34:3 132:24           81:14 108:14
      63:22 82:13 110:9      218:3 220:5           134:14                127:4 136:9
      110:12 125:22        asking 16:14          authorization           143:18 219:25
      128:4 148:9            20:11,12 115:3        19:12 126:11          222:7 224:8 225:4
      150:12 153:7           142:19 175:16         143:6 144:12          225:9 226:4,13
      218:4,21 219:1         190:2,6,8,10,16       150:6,7 153:15,22     227:20
    approver 124:24        asks 141:21 142:1       154:4,9,13 155:1    avilla's 19:12
      125:2                  165:10                155:18 167:14       awarded 173:15
    approving 91:9         assess 28:21            168:2,10,13 169:7   aware 37:12 45:13
      152:22 218:15          164:11                170:5,9 171:16        57:21 61:11 70:10
    approximately          assessment 48:11        176:11 185:24         70:12 75:20,25
      38:13,17 124:7       assessments 22:4        200:13 202:11         76:2,7,10,14 89:4
      196:7,10             assignment 225:2      authorizations          89:16 101:15
    apq 10:15 115:24         226:2 227:2           169:4                 122:5,8,13,18,25
      115:24 124:11        assistance 107:13     authorize 152:9         149:3 166:19
      127:22 128:3         assistant 29:19         152:16 226:11         167:4,12 170:14
      134:18,20              126:15              authorized 18:25        170:18 171:2
    apqs 58:1              assisted 124:15         19:7 20:7 21:6        191:19,24 192:9
    april 1:21 12:5        association 201:12      86:21 166:5,21        194:15,24 197:2
      173:18 208:11,17     assume 17:14            167:7,20              197:17 198:23
      224:4                attached 226:7        authorizing 18:16       199:5 202:7
    arch 6:13              attaching 217:7         147:9                 203:10,16 206:9
    arcos 66:25 67:1,5     attachment 11:8       automatically           207:11,19 217:4,9
      67:19,24 68:2,8,9      11:11,17              117:5                 217:17 221:17
      68:14                attack 200:7,11       automation 66:24      awareness 132:6
    area 139:4 191:12        201:5               availability 55:19      132:16


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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 64 of 100. PageID #: 227232


   [b - ca]                                                                      Page 6

             b           basically 83:23         218:14             bribery 206:15
    b 1:17 2:1 10:10     basis 19:4 21:7       benefits 177:16      bridgeside 3:19
     18:10 50:9 86:4       30:14 35:7 41:8     bennett 3:13 14:18   broken 74:22 75:2
     127:5 144:18          41:17 128:23,24       14:18                77:21 78:1,7
     211:22                138:3 149:1         best 206:14 219:8      141:23
    back 21:3 22:1         197:12              better 132:14        brown 29:16,17
     28:14 49:25 56:24   bates 160:19,22         198:11,11 201:1    bryant 4:8
     57:10 66:8,17         172:17,19 188:25      203:1              btlaw.com 7:24
     81:7 95:24 96:4       189:2 192:5         beyond 143:10        bucket 16:23
     108:9 126:24          202:19                144:17             buffer 128:3
     136:5 169:21        bear 149:6            big 39:5 143:7       build 173:23
     173:18 176:22       bearing 202:19        bigger 39:3,4        built 30:25 44:22
     178:4 191:13,14     bears 192:5           biggest 39:7         bulk 44:9 83:23
     191:20 204:1        beck 8:12             billion 183:4          86:18 90:21,24
     217:23 219:19       began 189:16          bills 104:15           128:8 147:10
     224:15                194:16              birth 122:1            148:14 150:16,23
    backaches 182:3      beginning 57:11       blue 149:6             152:22 153:15
    balanced 190:7         95:25 158:11        bmasters 6:5           154:4 155:19
     198:10                209:24 215:2        board 188:6,7          186:14,20
    ballpark 165:9         219:20              bockius 5:18,22      bullet 66:20 69:13
    bar 183:5            begins 189:9          bonnie 1:24 13:2       70:1 72:19 158:19
    barber 5:21 15:9,9     204:15                223:2                159:1 160:3,12
    barnes 7:22 15:19    behalf 2:13 3:2,12    bookshelf 120:8        180:8
    bars 185:25            3:17 4:2,6,11 5:2   boston 7:18          bullets 58:12
    bartlit 8:12           5:11,17,21 6:2,6    bottom 86:15           180:23
    bartlitbeck.com        6:11,16 7:2,10,15     178:13 180:3       bunch 159:19
     8:14                  7:20 8:2,6,10,16      183:7 200:2          192:6
    based 42:23 47:1,6     8:21 12:16 13:19      211:17             burling 7:3,7
     58:19,24 59:17        14:17,19,23,25      boulevard 3:19         13:17 108:16
     60:13,18 61:6         15:3,5,7,11,14,17   bound 193:19         business 47:1,4
     75:13 85:16 89:2      15:18,21 16:15      bounds 35:23           86:23 91:14 93:13
     104:12 141:15         17:23 18:17         boylston 7:17          162:10,14 163:18
     156:3 162:9,13,19     145:15 146:19       brad 6:2 14:10       buy 91:4
     163:17 166:20         222:6               brandan 6:16                   c
     167:6,15,19,24      beisell 5:6 15:2,2    brandan.montmi...
                                                                    c 3:7 4:7 10:1 12:1
     169:4 173:12        belabor 145:6           6:20
                                                                    c.f.r. 49:11,13
     204:24 218:16       belief 89:1           brandon 15:20
                                                                      83:23 84:12 91:15
     219:2               believe 62:3 94:12    break 57:5 95:18
                                                                      129:20 130:14,18
    basic 43:13 58:1       106:7 123:9 165:4     108:5 126:19
                                                                      130:21,23
     63:1,10 92:23       believed 69:6           136:1 176:17
                                                                    ca 224:25
     93:6,25 137:25        87:14 88:10,19

                                  Veritext Legal Solutions
    www.veritext.com                                                       888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 65 of 100. PageID #: 227233


   [cabell - changes]                                                              Page 7

    cabell 152:10         catie.ventura 7:14      42:25 44:17 45:22     157:22 159:14,25
    calculate 167:24      caused 132:14           46:5 47:18 49:15      160:7,16 164:13
    calculated 162:9      causing 94:13,21        49:23 52:25 53:8      166:8,24 167:11
    calculating 166:20      95:7 177:18           53:22 54:7,16,24      168:4,16 169:8,10
    calculation 162:19    caveat 27:1             55:7,21 56:6 60:6     170:2,22 171:1,17
    california 4:17 5:4   cavitch 8:22 15:13      61:9 62:11,20         172:4 173:4
      7:8                 ceased 61:13            63:3,17 64:1,8,15     174:17 175:13,15
    call 129:5,11         cell 12:9               65:12 66:1 67:21      176:1,13 177:21
      135:11 194:4        cellular 12:8           68:4 71:3 74:19       178:18 179:4,23
      201:14              center 8:18             78:3,16 81:5          180:14,17 181:15
    called 119:17         centre 5:23 8:7         82:17 85:11 86:3      181:19 182:9
      121:1 129:1,9       ceppich 7:9             88:4,14,24 89:10      184:8,21 185:13
    calls 124:1 135:13    certain 18:16           89:21 90:9 92:2       186:1,10,16,23
      168:18 169:10         30:21 113:13          92:10,25 94:16,24     187:8,17 188:1
      171:17 175:21         127:18 138:7          95:11,19 96:16,20     191:22 194:21
      200:22                140:23 144:13         98:21 100:4,24        197:8,14,23
    campaigns 182:1         149:18 152:24         102:8,19 103:2        198:17 200:24
    cancer 190:23           153:16 157:13         104:1 106:11,19       202:3 203:14
    capacity 135:7          166:19 190:20         107:2,12 109:22       206:22 207:7,17
      145:15 146:6        certainly 160:14        110:7 112:3,19,25     208:2 210:3,8
      149:4               certainty 89:13         113:7,20 114:24       211:12 212:23,25
    captured 103:6        certificate 223:1       115:7,20 116:7,17     213:23 215:22
    cardinal 6:2 14:11      226:11                117:1,13,21 118:5     216:13,23 217:12
      108:22 111:16       certification           118:14,22 121:5       217:15 218:10,18
      112:10,22 151:7       193:18 225:1          122:9,15,21 123:1     221:5,25 224:5
    carolina 3:19           226:1                 123:16 125:16       change 38:23,25
      199:1,4             certify 223:4           127:10 128:1          97:19 129:18,24
    case 1:5,9,11,14      chain 11:2,4,10,16      129:25 130:9,15       131:14 132:24
      12:20 16:14 72:21     81:2,7 154:20         131:1,8,15 133:16     133:3,5,14 146:23
      73:17 77:16 80:11   chains 111:23           133:22 136:23         171:10 224:13,14
      86:17 94:7,10         112:15 113:3          137:6,12,21 138:2     226:8 227:3
      108:19 117:19       challenges 209:14       138:11,16 139:1     changed 39:2
      122:6 148:12        chance 192:12           139:23 140:12         61:12 64:21 92:8
      150:13 161:14       chandler 3:3            142:13 143:4,18       92:13,16 130:18
      172:23 174:11,11      14:24,24 19:11        144:2,24 145:7,10     130:24
      189:19 195:10         20:16,25 21:8         145:13 146:9,20     changes 42:10,11
      199:22 214:14         26:18 30:22 31:8      147:21 148:7,15       42:14,15,15 51:9
      224:6 225:3 226:3     31:15 32:1,15         148:22 149:11,24      55:13 119:7
    cases 67:17 94:4,5      33:9 34:17 35:8       150:9 151:10,20       131:11,18 209:11
    catie 7:11 13:22        36:4,15 37:22         152:12 153:5          224:12 225:7
                            39:16,23 41:9         155:6 156:1           226:7,9

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 66 of 100. PageID #: 227234


   [changing - congressional]                                                     Page 8

    changing 209:12       clarified 127:12      comes 120:18          completed 90:11
    channels 20:4           127:14,16,25        comfortable 69:5        130:2 193:18
    characterization        211:17              coming 99:12,19         224:15
      146:17 210:4        clarifies 212:17        122:14              completely 17:19
      217:13              clarify 211:22        comment 82:23           192:24
    charge 59:12          class 43:7,9,12,13      202:21              comply 36:22
      80:15                 45:3 47:24 50:17    comments 83:3,6         113:23
    chart 97:4,5            50:24 51:6,16,20      83:12 214:3,9       complying 87:11
    chicago 5:8 8:14        51:21 52:8 55:14      217:2                 87:15,25
    chief 3:9 21:20         58:2 63:1,10        commission            compound 34:18
      22:14,23 24:15        158:22 210:15         223:23 225:19         150:22 155:25
      28:14,24 29:2,20    classes 44:2 63:13      226:25 227:25         168:15 177:24
      29:21 34:12,13        63:21 65:6 79:18    committee 189:5       computerized
      38:12,17 40:2         92:24 93:7 125:23   communicate             223:8
      49:14,14 60:16      clear 17:12 61:3        40:14 41:13,16,20   concerned 214:21
      79:13 82:7,8          76:16 96:16 101:8   communicated          concerns 41:21
      133:7                 115:12 133:18         40:11,16,19         concert 35:16
    choking 205:12          200:7 210:9           121:13,16           concluded 222:12
    choose 26:10,12       clearance 39:2        communicating         concludes 222:5
    chris 13:16 24:12     clearly 199:25          56:18               confer 193:22
      28:25 108:14        cleveland 1:10        communication         conference 10:25
      121:4                 3:15 8:23 14:19       27:10 66:2            132:16,18 158:10
    christopher 7:6         224:2               communications          158:13 162:6
    chronic 181:4         client 173:5            19:25 24:9 26:22    conferences 132:6
    circumstances         close 165:8 199:3       26:22 27:4 121:18     206:15
      45:14               closed 31:11          communities           confidential
    cite 110:14             136:20 137:3          116:25 118:1          161:24 173:3
    city 1:10 152:18      closing 199:10        community 117:6         192:15 199:25
      152:20              codeine 101:7,12        117:20 151:9        confidentiality
    citycenter 7:3        colin 194:4           companies 5:12          165:23 170:1
    civil 3:4 225:5       collection 164:22       71:12 112:4           172:15 174:10
      226:5               columbia 223:21         205:24 206:13         193:1,14
    claimed 42:22         column 98:20 99:3     company 91:1          conflate 214:22
    clarification 23:25     109:7 209:4           177:11 190:7        confusion 132:14
      128:12,14,19          211:18                191:11              congress 11:7
      129:14 130:11       combination           comparable              188:13 194:18
      131:23 132:20         107:21 108:1          211:24                197:18 198:24
      133:3 134:3,7,16    come 29:1,21          compared 171:11         199:9 203:12,17
      135:2                 67:19 71:15         complete 103:19       congressional
    clarifications          104:18 111:2          163:4                 10:12 199:1
      135:16                190:17

                                   Veritext Legal Solutions
    www.veritext.com                                                        888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 67 of 100. PageID #: 227235


   [congressman - correct]                                                           Page 9

    congressman              69:10 70:5 72:8     continuing 199:24        210:15 212:2
      203:5                  73:22 75:22 76:1      206:14                 213:18 215:3,9
    connection 35:25         76:4,8,12,15,22     contract 59:9,21       controls 88:11,20
      36:11 37:1 40:11       77:2 87:1 101:23      60:7 61:12,25          89:6,17 90:5
      41:8 49:13 59:14       101:25 104:23         62:3                   208:22 209:17
      74:9 174:25            105:4,12,18 112:6   contracts 59:12        conv 98:7,13,14
    connolly 6:3 14:11       166:16 191:25         119:8 151:25         conversation
    consequently             216:3               control 118:12,20        124:5 173:13
      185:23               considering 55:15       120:5 126:7,16       conversations
    consider 41:23           68:12 69:5 71:18      151:24 179:1           12:8 25:19 121:23
      42:2,6,9,18 44:2       91:9 93:21 191:13     191:16               conversion 98:14
      50:11,19 51:15         191:20              controlled 21:25       converted 98:16
      52:14,23 53:6        considers 58:3,8        22:5 28:18 31:18     cooperation
      54:4,13,22 55:4,13     84:1 85:2 94:3        31:19 32:8,12,22       191:10
      55:19 56:3,13,25       111:7 161:6           32:25 34:4,10        cooperatively
      58:14,17,23 61:22    consistent 72:16        43:7,10,12 44:13       201:21
      65:15 67:1 70:13       146:6                 45:3,10 46:19        copy 81:10
      71:6 72:5,23 73:7    consistently            47:24 58:2 63:1      corners 191:13
      74:9,12 75:4           206:13                63:10,13,22 65:7     corporate 8:18
      76:18 77:16 84:9     consolidated            66:23 69:24,25       corporation 6:11
      86:8 87:4,11 93:5      66:25                 70:4 72:20 73:8        7:2
      94:6,9 99:14,20      consult 36:18,25        73:21 74:22,24       correct 23:10,12
      100:1,2,11,12,16       41:7 66:13 112:9      75:3,7 76:15,24        31:25 32:7 33:22
      100:17,19,21,22        112:14                77:14 78:7,10          33:23 36:12 38:2
      101:16 102:4,6       consulted 36:11         79:18 85:23 86:10      38:3 46:18 47:25
      103:11,12 104:24     consumer 205:14         87:5,12,15,25 88:5     48:1,7,10,17,21
      105:5,13,19,23,24    consumption 22:2        92:24 93:7 94:13       61:19 63:25 64:7
      106:3,4 113:17         58:19,24 59:17        94:22 95:7 99:14       64:14 65:11 68:19
      139:10 156:17          60:13,17 61:6         100:2,12,17 108:2      68:24 77:4 79:19
      159:20 176:5           120:1 163:20          112:12,17 113:13       79:23 82:5 85:18
      211:9,14 212:7         185:3                 113:18,25 114:12       90:7 91:7 92:1
      216:22               contain 157:13          116:14 136:19,21       95:9 96:19 97:21
    consideration          contained 81:17         137:9 140:4,10         101:8,9 106:14,23
      33:14 61:20            220:22                141:13 144:1           107:1,11,23 108:2
      162:25 166:11        contemplated 53:5       146:8 147:10           110:17,18 111:4
    considerations         contended 189:20        152:22 153:22          111:13,14 112:1
      93:13,15 113:17      continue 12:12          154:4,14,19            112:12,13,18
    considered 53:14         194:9                 156:10,23 157:14       113:1,6,9,13,14,21
      54:10 56:8 63:23     continued 4:1 5:1       157:18 161:1           114:1,2,7,14,23
      64:5,10,13 65:8        6:1 7:1 8:1 11:1      182:17 208:22          115:6,19 116:15
      68:16,18,22 69:7       221:15                209:1,11,15            116:25 121:4,6

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 68 of 100. PageID #: 227236


   [correct - dea]                                                                 Page 10

      124:17,18 125:23      121:12 123:10,14    crisis 209:15            68:16,18,21 69:2,5
      126:4,8,16,17         124:10 127:2        criteria 216:21          69:7,11,21,22
      129:22 130:14         136:7,12 138:7      cross 16:23              72:19,23 73:3,7,11
      135:14 137:5          141:24 145:22       csa 86:13 104:14         73:14,21,24 74:1,2
      147:14 148:14,17      146:2 160:18          146:24 204:16,22       74:3,7,9,12,17,22
      150:19 151:3          161:11 165:25       current 21:18            75:2,8,9,13,14,16
      153:11,13,18,25       169:23 173:4          29:12,15 50:18         75:21 76:3,11,18
      154:6 155:7           174:14 176:25         209:6,9,14             76:23 77:1,3,5,7
      156:20,25 157:1       193:11 204:3        currently 55:13          77:10,13,20 78:1,6
      159:17 160:1,15       217:25 219:22,23      86:17                  78:12,15 100:18
      161:8,10 163:23       220:5 223:11,15     customer 212:1,2         100:21 101:16,21
      163:24 164:12       counsel's 100:8         212:7                  102:4,11,16
      167:16,20,22          199:22              customers 44:22          103:14,16 104:5
      168:13 176:11       counted 114:10          194:17 197:3           104:13,13,17
      177:7 179:2,6       counting 51:2           212:19 213:4,13        150:13,24 161:7,8
      181:16 182:8        country 116:13          213:20 216:9           162:18,20,24
      184:20 185:12,21      141:12 189:21,22    cuyahoga 1:8             163:3,8,10,13,14
      185:22,24 186:22      198:3               cvs 6:6,6 13:25,25       164:1,3 168:11,20
      186:25 187:4,14     counts 107:22           111:23 112:15          168:25 169:1,3
      187:23 198:4,5      county 1:8,12 3:17      113:3                  176:7 177:6,10
      201:7,9,25 206:20     152:10,10,18,20               d              201:1 211:10,14
      211:5 212:21          225:10 226:15                                216:9
                                                d 12:1
      216:10,22 219:4     course 87:22                                 databases 72:22
                                                d.c. 1:20 2:10 3:23
      221:12                97:19 131:18                               date 92:6 224:8
                                                  4:13 5:14 6:4,9
    corrections 224:12    court 1:1 12:19                                225:3,9,19 226:3
                                                  7:4,12 12:24
      226:17                13:2 15:22 17:2                              226:13,25 227:20
                                                dallas 6:19
    correctly 20:5          101:10 140:21                                227:25
                                                dan 1:7
      99:2 103:7 109:6      141:21 142:1,2,19                          dated 11:3,5,8,10
                                                dangerous 205:15
      133:25 141:19         143:12,21 145:22                             11:12,16
                                                dangers 190:10
      165:17 173:25         145:23 193:24                              davis 5:12 14:4,4
                                                daniel 9:2 12:25
      178:10 183:18,23      206:19 207:2                               davison 7:16
                                                dash 200:3
      189:23 191:2,17       225:7                                        13:11,11
                                                dashes 141:11
      196:1,18,25 200:9   court's 142:16                               day 5:3,7 14:13
                                                data 53:17,21 60:3
      200:19 201:18       cov.com 7:5,9                                  15:3 95:5 159:21
                                                  60:17,22,23 61:5
      203:8 205:5,18,25   covert 206:15                                  225:16 226:22
                                                  61:17,23 62:8,8,9
      209:2 210:16        covington 7:3,7                                227:22
                                                  62:17,17,18,24,24
      212:3 215:16          13:17 108:15                               days 224:18
                                                  62:25 63:8,8,9,15
    counsel 3:9 12:17     create 136:20                                dc 3:5
                                                  63:23 64:3,9,16,19
      13:4 16:6,8 57:13     147:11                                     dea 10:14,25 12:15
                                                  64:22 65:4,8,9,16
      66:10 70:25 79:13   creating 149:20                                14:21 17:23 18:17
                                                  66:22 67:1,5,9,12
      96:2 108:11,12                                                     18:25 19:7 20:7
                                                  67:15,19 68:2,8,14
                                   Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 69 of 100. PageID #: 227237


   [dea - deposition]                                                              Page 11

      21:19 22:11,19,22    95:5,8 99:13,20        176:5 177:3,5        deed 225:14
      23:6 24:18,20,23     100:1,11,16,22         178:25 180:13          226:20
      25:11,11,13,22       101:16 102:3,10        182:15 183:8         deemed 224:19
      27:14,21 28:3        102:16 103:11,23       188:12 191:14,19     deems 85:8,17
      29:18 30:19 31:4     104:12,15,23           192:9 194:24         defendant 12:17
      31:24 32:6,13        105:4,11,17,23         196:21 197:2,4,16      14:9 108:12
      33:1,3,7,20 34:8     106:2,6,7,13,16,22     197:20 198:8         defendants 13:21
      35:6,13,15 36:22     106:25 107:4,10        199:5,8 200:11,18      13:23 14:5,7,15
      36:25 37:10,16,20    107:16 111:7,12        200:25 201:5,20        15:10,21 16:8,16
      38:1 40:10,13,16     111:17,25 112:9        202:7,15 203:10        108:19 122:18
      40:19 41:7,7,13,16   112:11,14,16,23        203:16 204:9           138:15 219:23
      41:19,22,23 42:2,6   112:23 113:5,11        206:2,8 207:13       definitely 119:22
      42:9,18,22 43:6,9    113:16,17,23           208:17 211:9,13        139:6 178:22
      43:25 44:15 45:3     114:18,22 115:3,4      212:5,7 214:3,21     definition 184:5
      45:11,16,18,21       115:16 116:5,11        216:8,9 217:8,9,11   defraud 207:6
      46:1,4,6,17,21,24    116:22,23 117:18       217:17 219:4         delivered 220:7
      47:7,14 48:11,17     118:11,19 119:10       220:11 221:15,23       221:12
      48:21 50:19 51:10    119:12,14 128:8        222:6                demand 52:7,11
      51:15 52:3,14,23     128:25 129:4         dea's 19:20 20:13        141:7 165:6
      53:6 54:3,4,13,21    133:11 135:23          29:22 33:25 59:15      196:15 205:14
      55:4,12,18 56:3,13   137:2,19 138:24        66:22 96:14 99:6     department 3:2,3
      56:17,20,25 58:3,8   139:7,10,18,20         109:11 120:4           3:8,12 14:20,25
      58:14,16,17,23       141:11 145:16          127:5 129:17,23        18:11 224:22
      59:9,16,21 60:3,7    147:3,9,16 148:3,8     143:16 170:5         departments
      60:17,22,23 61:5     149:19 150:5,15        175:11 177:18          40:19
      61:17,22 62:7,16     150:23 151:2,5         178:6 181:11         depend 53:1 88:7
      62:23 63:7,14,23     152:2,21 154:7,12      182:6 216:20           118:7
      65:8 67:1 68:14      154:12,17 155:14     dear 224:10            depending 80:15
      69:19 70:13,18       155:22 156:9,16      dechert 4:7 14:7       depends 86:11
      71:6,14,15,19 72:4   156:21 157:5,17      dechert.com 4:10         91:13 93:12
      72:8,14,23 73:7      157:24 158:7         decided 65:1,3         deposed 122:14
      74:7 75:3,13         159:2,7,10 160:5     deciding 83:8,14       deposition 1:17
      76:17,22 77:1,6,9    160:12,24 161:2,6      84:5                   2:1 10:10 12:11
      78:14,20 79:1,7      161:17,22,25         decision 42:23           12:15,22 16:21
      80:1,20 82:2 83:3    162:2,5,11 163:7       57:1 104:6,12          18:2,5 23:18
      83:6,11,17 84:4      163:14,25 164:2        170:9 175:11           24:11 25:4 27:13
      85:2,15 86:8 87:3    166:3,15,19 167:4    declaring 205:15         27:21 49:5 57:16
      87:10,14 88:10,19    167:12 168:19,24     decline 33:4             81:23 84:18 91:19
      88:25 89:4,23        169:3 170:8,13,18    decrease 155:15          96:8,10 121:9,20
      90:5,10 91:9 93:9    171:2,6,9 173:13     decreased 155:10         122:19 124:3
      93:20 94:3,8,12      173:21 174:13          186:8                  131:25 132:21

                                   Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 70 of 100. PageID #: 227238


   [deposition - diversion]                                                        Page 12

      135:3,18,22          determinations        disagree 21:14        dispute 194:5,6
      140:17 158:4           174:21                140:24              disruption 157:13
      164:18 166:10        determine 35:6        disapprove 148:13     disruptions 56:3
      172:12,18 188:20       44:15 46:21,24      discharge 40:3        distribute 114:21
      192:3 193:2,6          93:9 94:18 101:17   disclose 26:21          151:7 154:18
      199:15 204:4           102:17 157:25         193:16                190:20
      208:14 214:6           158:13 159:12       disclosing 194:1      distributed 114:13
      218:2 221:22           168:21 182:15       disclosure 19:24        152:10 153:7
      223:3,5,9,13 224:8     184:18 200:19         193:21              distributing
      224:11 225:1,3       determined 90:3       disconnect 86:22        136:21 151:16
      226:1,3                94:21 107:10        discounted 8:21         177:17
    deputy 29:19           determines 79:17        15:14               distribution 31:11
      80:14 126:15           106:25 157:6,18     discourages             190:18
    describe 79:4          determining 34:16       206:16              distributor 108:19
    described 34:15          35:13 39:11 41:24   discuss 71:3            151:6,16,24
    describes 85:1           42:3,7 51:12          121:22 127:24         152:17
    desh 8:11 15:11,11       54:23 58:17 61:7      129:13 132:7        distributors 32:6
    design 137:10            65:10 67:3,6 70:6     133:2 135:1,6,21      111:21 112:10,21
    designated 67:23         70:14 71:9 83:18      221:24                114:20 137:9,17
      143:19 144:3           85:2 87:6,9 100:3   discussed 27:22         138:22 139:16
      173:7 174:20           141:5 158:20          94:2 128:22           140:2,9 141:4,24
    designating              159:3 161:5           131:23 132:9,20       142:4,7,20,23
      193:20,22              168:10,11             134:3,7 135:16        143:11,20 144:6
    designation            development           discussion 132:20       144:16 145:25
      172:15                 173:20              discussions 24:24       146:3,18,19,23
    designations 173:6     developments            24:25 25:3 36:8       152:5 154:18
    designee 193:14          189:15                36:23 37:9 123:15     177:14
      193:15               dialogue 36:19          127:8               district 1:1,2
    desirability             157:24              dispense 114:21         12:19,19 145:23
      205:16               difference 45:7         116:12,19             223:21
    detailed 83:22           48:22               dispensed 58:20       diversion 20:3
    detect 137:11          different 38:8          58:25 59:18 60:14     53:11 54:22 72:20
      211:25                 79:10 98:16           60:18 61:6            73:8,21,24 74:8
    detected 137:17          104:19 117:8        dispensing 136:21       75:9,21 76:3,11,18
      138:22                 159:19 169:25       disposal 50:16,24       76:23 77:3 81:1
    determination            172:24 190:22         50:25 51:1,5,9,11     85:23 86:10 87:4
      50:10 71:16 141:6    direct 18:20 19:3       51:16                 88:12,21 89:6,18
      178:9,16 180:12        98:5 137:21         disposed 52:2           90:5 126:7,16
      181:10 204:18,23     direction 223:9       disposition 20:1        132:6,16,17
      219:10               directly 41:18,19       51:1 69:22            139:11 149:4
                                                                         181:8 186:9

                                    Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 71 of 100. PageID #: 227239


   [diversion - elsner]                                                           Page 13

      208:22 209:17       documented 37:14        149:21 152:25       east 8:4,23
      210:14,19 211:3     documents 23:25         153:16 154:10       eastern 1:2 8:10
      211:25 214:19         24:2,5 26:8,10,12     155:19,20 156:19      12:20
      215:19 216:21         26:16 27:5 96:7       157:3,15 186:14     economic 55:19
    diverted 94:14,22       96:13 119:17          186:21 187:23       educate 190:9
      95:8 187:14 215:3     127:18,20,21          190:8,10 198:13     education 198:11
      215:9,14              199:25                205:1,2,16 207:5      206:14
    diverting 95:6        doing 219:2             208:20 215:10       eekhoff 9:2
    division 1:2 3:4      doj 25:14,16,22       drugs 115:18          effective 88:11,20
      12:20                 28:3 35:23 123:10     142:5,22 146:1        89:6,17 90:5 92:6
    doctor 160:25           123:15 197:11         148:20,21 149:18      181:5
    doctor's 196:17       dollars 166:20          149:19 150:7        effectively 189:21
    doctors 177:15          167:6 183:2,17        152:24 154:5        either 44:12 61:17
      182:1 190:9,19        184:4                 157:13 187:22         154:10
      201:23              domestic 35:3           196:23 209:13       electronically
    document 1:7 18:6       64:2 118:1          due 89:12 90:11         120:10
      18:12 19:18 49:8    donnie 204:9            95:3,13,16          element 137:3,4
      57:20,21 81:15      donny 188:12          duly 16:1 223:5       eleventh 4:4
      82:1 88:6 96:17       189:4               durkin 8:22 15:14     ellis 7:11 13:21
      119:24,25 120:2     dosage 86:21          duties 40:4           elsner 3:18 10:6
      120:23 124:9,13       90:25 91:5 98:11    duty 137:18             14:16,16 21:9,10
      124:16 130:1,4,5      147:17                138:23                36:3 37:17 40:6
      146:15 158:12       dose 147:4,12                   e             40:21 43:2 44:18
      160:19 161:12,13      148:13 150:19                               45:5 53:16 59:7
                                                e 3:3,18 7:2 10:1
      161:16,18,22,25       152:25                                      59:19 60:5,25
                                                  11:2,4,8,10,16
      162:3 164:23        doses 151:17                                  64:20 67:14 68:3
                                                  12:1,1 24:4
      165:22 171:23       downplayed 181:8                              71:25 73:2,10,16
                                                  164:22,24 165:21
      172:10,16,24        dr 24:12,15,17,25                             75:11 76:6,21
                                                  165:25 166:25
      173:3,10 174:4        25:4 27:14 28:25                            77:11 78:2,22
                                                  169:16,17,24,25
      175:1 176:2 186:6     121:4                                       85:19 87:18 88:3
                                                  170:7 192:13
      192:1,11 193:16     draft 198:22,25                               88:15,23 89:9,20
                                                  201:15 217:7
      194:10 195:3,6,14   drafts 195:4                                  90:8 92:12,17
                                                eagle 111:24
      195:20 199:18,21    dramatically                                  95:1,10 97:10
                                                  112:16 113:4
      199:21 202:18,18      182:5                                       99:16 100:23
                                                earlier 70:23 79:6
      210:4 214:13        drawbacks 183:9                               103:17 106:10,21
                                                  121:2 123:4 218:2
      215:25 217:4,13     drive 3:9                                     107:3 111:19
                                                earn 166:4,21
      220:6               driven 89:2                                   112:2 113:8 116:8
                                                  167:6,20,25
    documentation         drug 1:18 2:1 3:8                             116:16 117:2,22
                                                  168:12 169:5
      28:21 37:5,7          6:11 8:21 14:23                             118:6,23 120:3
                                                earning 165:12
      171:4                 15:14 23:1,2,11                             125:24 127:11
                                                easier 17:2
                            34:3 56:13 72:22                            131:2,9,16 133:15

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 72 of 100. PageID #: 227240


   [elsner - event]                                                                 Page 14

      134:12 136:13,16       206:10 207:3,10      entitled 21:5,10      errors 67:17
      137:1,7,15,24          207:20 208:9,12        144:8 193:2,11      esq 3:3,7,13,18,21
      138:5,13,20 139:8      208:16 209:21        entity 89:1             4:2,7,12,15 5:3,6
      140:6,15,19            210:6,10,11,24       epidemic 205:11         5:12,13,21 6:2,7
      142:18 143:9,22        211:6,15 212:15      eppich 7:6 10:5         6:12,16 7:2,6,10
      144:8 145:4,9,20       213:5,14 214:1,4,8     13:16,16 108:13       7:11,15,16,21 8:2
      146:25 147:8,15        214:17 216:4,17        108:15 110:4,11       8:6,11,16,21
      148:2,10,18 149:2      217:3,18 218:1,13      111:22 112:8,20     essentially 144:10
      149:16 150:3,14        218:25 219:7,13        113:2,10,22 115:2   establish 113:12
      150:25 151:13          220:24                 115:10 116:2,10       156:10 159:10
      152:1,15 153:9,19    email 224:17             116:21 117:10,16    established 97:17
      154:1,24 155:8       embarcadero 5:4          118:2,9,17,25         97:19 144:21
      156:8 157:11         emilie 4:12 14:14        120:6 121:7           161:15,25
      158:2,6 159:8,18     employed 24:18           122:12,17,23        establishing 28:17
      160:2,10,20 161:3      223:12,15              123:3,21 125:19       58:1 72:24 102:6
      161:17,21 162:1      employee 192:22          126:1,18 127:3,15     113:18 156:17
      162:16 163:1,11        223:14                 128:5 130:3,12,19     167:5
      163:21 164:7,17      employees 38:21          131:6,12,21         establishment
      164:20 165:2           202:23                 133:20 134:1,15       18:22 19:20 29:23
      166:2,14 167:3,13    enclosed 224:11          135:25 136:8          113:25 144:4,25
      167:23 168:8,23      encompassed              139:24 142:11       estimate 28:5
      169:15 170:12          26:13                  143:1 144:16          59:24 62:12 72:5
      171:5 172:10,19      encouraged 182:1         145:11 146:12         116:9 159:11,21
      173:8 174:5 175:2    encouraging              148:24 149:8,25       173:19 177:18
      175:5 176:9,16         217:10                 151:22 153:3          182:6
      177:1,2,9 178:1,24   endeavors 113:23         154:22 155:5        estimated 51:20
      179:7,16 180:1,21    endo 5:11,11 14:5        156:2 157:8,20        99:7 107:5 109:12
      181:17,24 182:20     enforcement 1:18         162:23 163:6          114:5 116:1
      184:12,24 185:19       2:2 3:8 14:23          164:15 179:13,22      156:12
      186:4,12,19 187:1      23:11 34:3 74:5        180:15 185:15       estimates 22:4
      187:12,19 188:5        193:17 208:20          188:8 198:6           58:18 59:16 60:12
      188:11,18,22         engage 206:15            200:15,22 206:25      70:2,5,13,18 71:7
      189:2,7 192:1,5,8    engaged 197:4,20         210:21 212:11         71:13 72:7 166:4
      192:18 193:25        ensure 45:19 46:2        215:24              estimating 165:11
      194:6,14 195:1,7       47:11 92:22 93:5     equated 117:5         estimations
      195:13,18 197:19       156:21               equivalence             181:22
      198:1,7,20 199:11    enter 157:24             177:11              et 1:9,11,13,13
      199:13,17 200:1      entered 226:9          equivalent 180:9      ethical 205:23
      200:17 201:4,10      entire 171:24          eric 8:21 15:13       evaluation 141:16
      202:6,16 203:19        208:4 221:7,18       errata 224:13,18      event 213:19
      203:21 204:6           225:5 226:5            226:7,10,18 227:1

                                     Veritext Legal Solutions
    www.veritext.com                                                           888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 73 of 100. PageID #: 227241


   [eventually - federal]                                                            Page 15

    eventually 203:5          204:4,7 208:13,14   extinguish 215:10        97:18 119:9 144:1
    evidence 72:22            214:5,6 220:3       extra 40:8               159:13 215:20
      90:11                 exhibits 10:8 11:1    extracts 44:10           221:10
    ewinckel 4:14             11:24 96:7 100:10   eye 4:13 176:6         familiar 31:10
    exact 28:4 70:24          138:6                          f             33:24 34:6,22
      80:24 159:12          exist 61:13 62:3                               46:9 57:19 59:22
                                                  facilities 103:4
      161:5 207:2             64:19,23 65:3,5                              91:22 108:18
                                                    199:10
    exactly 159:22            74:18 138:9                                  188:14
                                                  fact 51:15 89:2,2
    examination 10:2        existed 61:25                                familo 8:22 15:14
                                                    89:12 90:23
      16:8 20:21 108:12       64:16 70:8 74:15                           family 201:13
                                                    129:11 131:17
      136:12 219:23           127:18                                     far 37:4 68:8
                                                    154:7 156:21
    examining 171:10        existence 59:3                                 100:5 160:25
                                                    173:2 205:15
    example 48:2,4            62:6                                       farrell 4:2
                                                  factor 50:19 51:13
      53:4 56:11 83:2       exists 60:2 119:24                           favor 129:6
                                                    52:14 54:9,19
      111:3 215:11          expect 116:5                                 fda 35:19,25 36:7
                                                    55:1,10 61:20
    examples 79:11            202:24                                       36:11,17,23,25
                                                    62:13,13,13,21
    exception 97:11         expectation 163:3                              37:10,10 40:17
                                                    64:11 68:17 85:17
      102:1                 expertise 139:5                                42:15,16 44:24
                                                    101:22 213:1
    excerpt 10:23           expiration 225:19                              51:13 55:10,17
                                                  factored 64:11
    excluded 166:10           226:25 227:25                                56:16,18,21,23
                                                  factors 42:18,24
    excuse 140:8            expires 223:23                                 57:1 63:19,22
                                                    44:3 50:11 52:18
    executed 226:10         explain 71:24                                  64:21 65:1,3,13
                                                    52:23 53:5,13,21
    execution 225:14          134:10 138:2                                 70:10,14,20 71:9
                                                    84:4,8,9,11 85:2,7
      226:19                explaining 119:14                              71:21 72:8 93:17
                                                    85:22 93:20,24
    exhibit 10:9,11,12      export 42:12                                   93:25 101:23
                                                    94:1 99:13,20
      10:15,16,17,18,21       52:21 99:10 101:4                            104:13 110:9,12
                                                    100:1,5,11,16,21
      10:23,25 11:2,4,6       109:25 114:8                                 119:6,7 120:18
                                                    101:5,22 102:4
      11:8,10,12,14,16        117:25 156:14                                128:4 148:9
                                                    103:11 104:23
      18:1,2,10 49:4,5        218:23                                       150:12 153:7
                                                    105:5,12,18,23
      57:15,16 81:22,23     exportation 35:4                               157:4,6,12,15,16
                                                    106:3 119:2,5
      84:17,18 91:18,19     expressed 210:12                               157:18,24 182:18
                                                    139:10 156:16
      96:8,10 97:22           211:1                                        201:1
                                                    158:18 159:20
      98:6 109:3,21         expressly 210:19                             fda's 36:1 41:22
                                                    161:6 171:9 178:2
      110:6 124:8,9           211:8,17 212:7                               41:23 70:3 72:1
                                                    178:8,12 181:10
      125:15 126:3          extends 19:13                                  159:6
                                                    184:1 216:2
      140:15,17 158:3,4     extensive 181:25                             february 10:13
                                                  facts 89:4
      164:17,18 172:11        193:4                                      federal 11:14
                                                  fair 31:6 33:3 41:3
      172:12 175:18         extent 26:20 74:7                              79:23 80:1,5,9
                                                    43:8,11 45:9,18
      178:4 188:19,20         85:23 86:9 87:2,4                            82:4,10,21 140:21
                                                    46:1 47:9,14
      192:2,3 193:19          146:13 170:6                                 143:12 145:23
                                                    72:12,13 84:14,14
      199:14,15 200:3         172:21 210:14                                160:4 193:17
                                                    85:15 91:3 92:7
                                     Veritext Legal Solutions
    www.veritext.com                                                            888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 74 of 100. PageID #: 227242


   [federal - generate]                                                           Page 16

       206:19              five 28:11 38:19         178:18,19 179:3      203:15 206:6,25
    feel 69:5 82:13          50:15 111:3            179:21,23 180:16     207:18 208:1
       218:4                 189:16,17 206:18       180:18 181:13,15     210:22 212:10,11
    felony 207:5           flag 149:4               181:20 182:10,11     217:13,16
    felt 40:3 82:25        floor 4:17 5:23 8:7      182:14 184:7,8,9   four 38:19 189:16
       132:13                8:23                   184:22,23 185:16     189:17
    fentanyl 101:12        flow 21:3 193:5          186:1,10,16,24     fox 8:17 15:16
       105:21 110:25       focus 149:20             187:6,8,15,24      foxrothschild.com
    field 94:18,20         foley 8:3                188:1,2,8 194:19     8:20
    fifteenth 7:12         foley.com 8:5            197:6 198:15,17    frame 77:13,19
    figures 110:3          folks 108:24             199:6 200:24         134:25 135:9
    filed 12:18            follow 113:17            201:8 202:1,12     framework
    fill 196:7,10,16       following 20:20          203:13,14,17         213:25
       205:2                 50:11 114:3            205:22 206:6,23    francis 9:3
    filled 176:8 195:25    follows 16:3 79:1        206:24 207:16,18   frankly 191:5
    final 80:8 83:9,14     food 157:3,15            207:25 208:2       free 225:14 226:20
       98:3,19 99:7        foot 172:24              210:21 212:23      friends 122:2
       109:12 110:3        foregoing 223:3,5        213:8,21 215:21    front 162:3
       124:24 125:2          225:13 226:18          215:23,24 216:11   fulfill 99:9 109:14
    finalized 97:13        foreset 65:16            216:13 217:12,14     143:13
    finance 7:10           form 37:6 52:25          219:5 221:5        fulfilling 140:9
    financial 206:4          56:24 86:16,21       format 97:5          full 16:17 38:20
       207:22                89:10,22 90:9,25     former 128:25          41:2 102:11 190:2
    financially 223:16       98:11 138:25           129:4                195:21 205:8
    find 78:13 119:25        139:21 142:12        forth 21:3 33:25       208:8 209:5,23
       120:2 191:11,15       143:2 147:7,13         34:9 55:17           211:18
       201:1 224:11          148:16 149:7,8,9     forward 224:15       fully 139:4 163:19
    finds 52:22              149:11,23 150:20     found 95:6,14        further 170:4
    fine 174:24              150:21 151:20        foundation 139:24      175:20 215:1
    finish 17:5              152:12,13 153:2,4      142:11 143:1         219:23 221:20
    firm 13:1,3 108:15       153:5,17,24            144:20 149:25        223:13
       136:17                155:24 156:1,2         154:22 155:5       furthermore
    first 16:1 17:1          159:14,15,25           161:15 167:10        192:25 193:13
       23:6 38:16 50:16      161:9 162:12,22        168:15 170:24        194:11
       58:6 80:20,23         163:6,16 164:5,13      177:24 179:5,13              g
       124:20 180:8          164:14,15 165:1        179:19,21 180:15
                                                                       g 12:1
       190:15 192:18         165:19,20 166:6        180:18 182:11
                                                                       gain 30:14
       196:21 200:3          167:8,9,11 168:3,5     184:9,22 185:14
                                                                       generally 41:3
       209:5,24 210:2,13     168:14,16 169:11       185:15 186:2
                                                                         89:22
       210:18 212:5          170:21,23 171:20       187:7,16,24
                                                                       generate 173:16
       217:6                 175:24 177:8,22        194:23 197:10,24

                                     Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 75 of 100. PageID #: 227243


   [getting - hired]                                                              Page 17

    getting 24:8 27:3       144:3 145:6 146:2   grants 34:2             224:8 225:4,9
    giant 111:24            158:16 161:11       gray 7:16 13:9,12       226:4,13 227:20
      112:16 113:4          164:21,22 165:21    greene 4:3            hbc 8:6 13:15
    gibson 29:6             167:1 169:1 173:1   greeneketchum....       111:24 112:16
    gibson's 29:7           173:9 174:8,17        4:5                   113:4
    give 17:8 79:11         175:15 176:18,22    gross 147:10          hcl 165:14
      95:8 137:25 165:7     188:18,23 194:7,9     150:16,16 152:22    head 17:7 80:25
      172:19 174:6          195:2,5,11,13,19      186:13,14,20,21       117:15
      193:15                197:17 199:3,19     ground 191:12         heading 178:7
    given 31:3 33:4         203:23 210:3        grounds 174:18          180:3 183:8
      45:2 46:22,25         216:23 217:20         175:16              headings 98:20
      107:18 117:12         219:15,19           group 39:3,7          health 5:11 6:2
      155:20 156:18       good 12:3 16:11         79:13                 14:11 41:5 58:19
      159:13 169:20         67:16 69:11 81:8    groups 180:25           58:23 59:2,6,17,21
      170:11 207:22         136:14,15             183:21 184:4          60:2,23 61:5,13,23
      222:6 223:10        gotten 131:20           189:19 194:18         62:5,8,17,24 63:8
    gives 190:11,13         192:11                202:9 216:7,19        63:14,23 65:8
    giving 169:3          govern 113:16         guarantee 37:3          108:22 177:15
    go 12:13 18:19        governing 113:24      guessing 118:3        heard 181:3
      38:11 66:3 80:18    government 26:23      guidance 129:6        hearing 11:6
      98:10 117:24          89:1 154:3 192:25   guides 119:12           140:20
      120:22 132:10         205:10              guilty 206:19         held 2:3 12:22
      135:25 139:19       governs 91:25           207:5                 128:7
      141:10 169:21       grandson 122:1        gx 7:15 13:10,13      hello 219:25 220:1
      189:25 200:6        grant 8:8 32:21         16:9                help 84:15 211:25
      203:21 204:14         33:5,7,25 44:16              h            henely 201:14
      209:22 213:15         47:15 48:5,9 84:5                         henry 6:16 15:21
                                                h.d. 7:20 15:19
      217:18 219:14         84:6 87:16 88:1                           hereto 223:16
                                                hahn 7:21 15:18
    goes 21:15 50:14        88:12,21 89:7,18                          hhs 35:24 40:11,14
                                                  15:18
      117:5,12,20 119:3     90:6 93:22 94:14                            40:17,19
                                                hand 129:2 202:22
    going 12:4 17:1,3       94:23                                     high 83:1 142:5,21
                                                handle 32:8 165:5
      17:14,25 18:9       granted 44:9                                  146:1
                                                happen 36:14
      20:12,17,19 21:2      47:24 63:2,11                             higher 172:9
                                                  202:25
      21:10 26:18 49:3      65:15 67:8 68:24                          highlighting
                                                happy 221:24
      57:4,6,14 66:5        69:14 70:16 90:1                            171:23
                                                harper 1:19 2:3
      67:22 81:7,21         90:12,19 103:23                           highly 173:3
                                                  10:2,10 12:16
      84:16 94:7 95:3       115:22 116:1                                205:15,21
                                                  15:25 16:19 57:19
      95:20 96:6 108:6      147:23 153:6                              hinder 181:10
                                                  66:12 81:14
      115:17 126:20,24    granting 47:10                              hindering 178:8
                                                  108:14 127:4
      132:4 136:2           65:3                                      hired 129:5
                                                  136:9 143:18
      137:21 142:5,22
                                                  219:25 222:7
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 76 of 100. PageID #: 227244


   [history - information]                                                             Page 18

    history 10:19,21         identities 212:1        include 21:23 30:1    indication 42:14
      58:15 69:13 96:25      ii 3:13 22:1 28:18        30:2,6,10 43:14       165:24
      97:8,25                   43:10 46:19 58:2       69:21 72:2 144:14   indications 42:14
    hold 22:10 173:18           69:24 79:20            177:10              individual 19:23
      215:5                     134:23 141:13        included 11:24          30:10 43:7 44:2
    honor 141:4,25              205:1                  19:14 23:14           47:2,24 77:17,22
    hope 170:16              iii 22:5,6 69:25          156:15 198:10         79:18 83:18 84:6
    hoping 200:25               108:2                  224:13                85:3,6,16 86:9
      201:21                 illegitimate 215:2      including 19:22         87:6,9,17,23 88:13
    hour 57:5 95:18             215:8,15               58:4 198:12           88:22 89:7,19
      124:7                  illicit 187:3,22          211:25                115:22,23 116:4
    hours 28:9 127:6            209:13               incoming 28:20          132:25 133:12
      203:7                  illinois 5:8 8:14       incomplete 94:25        134:14 152:4
    house 11:6 189:5         impact 163:23             95:12 171:18          162:8 170:10
    hubbard 8:13                168:2 169:6            175:22,23 177:23      172:3 174:21
    human 196:4                 175:11 176:10          182:10              individualized
    huntington 4:4              178:3,16 180:12      inconsistent            78:14
    hydrocodone                 181:22 182:5,7         143:15 146:7        individually 31:1
      43:17 48:9 62:19          184:5                  174:13              individuals 39:10
      76:4,5 105:9           impacted 180:19         incorporated            39:13 80:19 82:2
      107:17,20,22,25        impacts 144:5             226:12              industrial 20:4
      110:19 151:17             145:2                increase 117:4          52:20 72:17 82:15
    hydromorphone            implemented               134:18,20 155:15      99:10 109:15,25
      43:19 101:13,14           86:13                  157:5,17 158:1        114:6 141:17
      105:2,7 110:21         implied 183:21            165:5 171:15          156:13
    hypothetical             important 130:8           175:12              industries 5:21
      94:25 95:12               133:21 212:22        increased 155:10      industry 10:25
      171:18 175:22,24       impose 196:22             182:5 185:10,18       158:10 162:6
      177:23 182:10          impression 190:14         185:24                190:3 201:22
              i              improvements            increases 116:22      inferred 183:21
                                208:23                 117:18,20           inform 139:18
    identification 18:3
                             ims 58:18,23 59:2       increasing 30:20      information 55:25
      49:6 57:17 81:24
                                59:5,17,21 60:2,17   incumbent 140:1         56:21,23 58:3,5,8
      84:19 91:20 96:9
                                60:23 61:5,13,17     indiana 6:6 7:23        58:23 72:21 74:4
      96:11 140:18
                                61:23 62:5,8,17,24     13:25                 75:4 81:17 83:24
      158:5 164:19
                                63:8,14,23 65:8      indianapolis 7:23       102:25 103:20,25
      172:13 188:21
                                168:25 177:11        indicate 20:11          104:14 111:7,17
      192:4 199:16
                                181:2                  124:23 207:21         111:25 120:17
      204:5 208:15
                             inaccurate 142:10       indicated 52:8          127:23 164:10
      214:7
                             incensed 201:16         indicating 224:13       172:23 177:5
    identifies 124:19
                                                                             211:24 212:7,19

                                       Veritext Legal Solutions
    www.veritext.com                                                              888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 77 of 100. PageID #: 227245


   [information - know]                                                         Page 19

      219:3,9 220:22        120:4 166:4         items 22:4 50:15     july 22:9 24:21
    informed 127:8        internationally         179:17,25 181:9      124:19
      155:22                69:25                 198:8,12           jump 81:6
    ingredients 44:11     interpretation                  j          june 204:10
      90:21                 200:8                                      223:23
                                                j 5:3,6 8:2
    initial 20:17         invalid 68:2                               justice 3:2,3,8,12
                                                j&j 14:15
    initially 209:10      inventories 51:20                            14:20,25 18:11
                                                james 3:13 14:18
    innovation 157:4      inventory 35:5                             justification
                                                  169:17
      157:16                42:12 44:23 51:22                          162:10,15
                                                james.bennett4
    innovative 178:14       51:24 99:11                                        k
                                                  3:16
      180:4                 109:15 110:1
                                                janssen 4:11 15:5    k 4:12 5:21 7:6
    input 41:24 42:3        114:9 156:7,14
                                                january 96:17,20     kaitlyn 9:2
      69:3,12 78:11         171:11,14 172:8
                                                jenna 4:7 14:6       keep 174:8,9
    inquiry 144:1           173:23 175:10
                                                jenna.newmark          195:11,11
    insofar 19:13           218:24
                                                  4:10               kelly 8:18
    insomnia 158:25       investigate 89:24
                                                jennifer 7:10        kentucky 174:11
    instance 190:12       investigation 90:3
                                                  13:20              ketchum 4:3
    instances 100:15        94:11 129:17
                                                jennifer.levy 7:13   kidney 190:21
    instruct 26:23        investigators
                                                jersey 29:10         kilogram 147:23
      67:22 68:5 154:12     94:18,20
                                                joanna 5:13            165:12 166:5
      166:9 167:1         involved 33:13
                                                joanna.persio          173:18
      174:18 197:11         36:8 38:5,7 39:11
                                                  5:16               kilograms 165:14
      202:4                 39:14 79:7,10,12
                                                job 1:25 22:22         165:15 166:21
    instructed 170:2        79:13,14 221:10
                                                  39:22                173:22,24
      173:5               involvement 23:3
                                                joe 24:13 121:3      kind 56:12
    instruction 172:1       36:2 220:12
                                                john 5:17 14:8       kirkland 7:11
      174:13              involving 76:18
                                                john.lavelle 5:20      13:20
    integrated 86:15      iqvia 60:11,12,22
                                                johnson 4:11,11      kirkland.com 7:13
      86:25 87:3 90:24      61:14,17 62:8,17
                                                  15:6,6               7:14
    intended 149:14         62:24 63:8,14,23
                                                joined 23:10 126:6   kmatic 8:5
    intent 193:16           65:9
                                                jones 5:3,7 14:12    knew 197:18
      207:6 209:18        issue 128:9 133:13
                                                  15:2                 199:8 202:15
    intentionally           133:17 147:16
                                                jonesday 5:5         know 17:13,13
      193:7 203:3         issued 155:9 209:9
                                                jonesday.com 5:9       24:6 25:17 26:4,5
    interested 201:13     issues 23:4 37:16
                                                joseph 124:20          28:1 37:4,13 38:9
      223:16                37:21 40:15,17,20
                                                josh 13:14 14:4        41:3 53:25 59:3
    interfere 12:11         49:21 50:3 74:25
                                                joshua 5:12 8:6        59:13 62:5 70:25
    interference 12:9       127:13,14,16,25
                                                joshua.davis 5:15      78:18,21,23 80:24
    interfering 193:5       191:7
                                                jr 4:2 5:17            92:15 94:7 108:20
    internal 66:22        item 196:12 211:1
                                                judge 1:7 145:23       117:14 118:3
      74:1,2 75:14
                                                                       120:23 123:19,24
                                   Veritext Legal Solutions
    www.veritext.com                                                        888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 78 of 100. PageID #: 227246


   [know - look]                                                                   Page 20

      133:24 145:17       leaked 203:3          letters 56:25 71:1        103:10 105:2,10
      146:21 166:3        leave 24:20 111:5        132:25 133:6,10        105:17,23 108:1
      206:3 208:8 213:3     221:22                 134:14 194:17          110:6 181:9 226:7
      213:12,20 216:8     led 74:24                197:3 198:23           226:17
      220:15 221:14       left 66:12 97:9          202:8 217:10        listing 226:7
    knowledge 27:19         98:1 109:2             221:23              lists 58:4 82:2
      45:12 74:17 89:24   legal 13:1,3 45:9     level 31:5,21 72:15       183:25
      92:7 221:3            45:12 222:9 224:1      195:22              litigation 1:5
    known 53:11,11          227:1               levels 31:24              122:20 169:25
      54:22 55:5 56:8,9   legally 104:23           191:15,20              192:23 224:6
      66:24 67:9 68:20      105:5,12,18,24      levorphanol               225:3 226:3
      74:3,4 94:4,5         106:3 215:12           101:13              little 17:2 57:5
      106:13 139:11,12    legitimate 35:3       levy 7:10 13:20,20     llc 3:18,22 6:6
      139:13                82:14 99:9 109:14   lewis 5:18,22 14:9        7:10,15 13:9,12,25
    kobrin 8:6,9 13:14      109:24 116:19          15:10                  16:9
      13:14                 141:16 156:24       licit 187:4,22         llp 2:8 4:3,7,12,16
    kristina 8:2 15:7       158:21 159:3        life 17:2                 5:18,22 6:3,7,12
              l             164:11 167:15       limit 115:6 147:17        6:17 7:3,7,11,16
                            168:1,21 169:5         147:24 148:9           7:22 8:3,7,12,17
    l 1:24 223:2
                            178:9,16,23            149:21 150:5        local 74:5 75:18
    l.p. 1:9,11,13 4:6
                            180:13 181:11,23       184:1,10,14,17         78:12
      205:22
                            182:16 184:6        limitations 68:20      located 12:23
    labs 74:6 75:19
                            187:10,11 198:3        68:25 69:1 182:24   location 153:11
      78:12
                            200:19 201:2           184:2               locations 31:21
    lacking 102:25
                            204:18,23 214:20    limited 130:20,22      locke 6:17
    laid 84:8
                            214:22,23 215:10       144:12 150:13       lockelord.com
    lardner 8:3
                            215:13 218:16,22       186:5,7 201:17         6:20
    larger 171:3
                          leonard 125:4,10         205:11              logan 6:13
    lasts 174:7
                          letter 11:12 18:10    linda 3:21             logo 162:2
    late 216:18
                            18:16 19:14 37:8    line 146:16 196:21     long 22:7 28:8
    lavelle 5:17 14:8,8
                            37:11 41:22 56:20      218:7 224:13           101:20 122:3
    law 74:5 108:15
                            56:24 70:7,11,21       226:7 227:3            124:5 174:9
      113:11 136:17
                            70:22,22,24         lines 98:6                195:11
      193:17
                            120:18 170:6        list 16:24 50:14       longer 60:2 153:21
    lawful 20:3 52:21
                            198:13,21,22,25        66:21 80:24 81:6    look 19:19 66:20
    lawsuit 172:25
                            199:2 200:6 203:2      101:19 112:4           84:15 97:22 99:2
    lawyer 142:7,23
                            204:8 206:2            124:21 125:3,5         109:7 120:22
    lawyers 24:9 25:8
                            207:13,21 208:5,8      210:14 211:1           142:4 151:4,5
      25:9,10,11,15,16
                            214:19 217:7        listed 53:14 85:22        164:2 171:10,11
      26:23 27:4,14
                            224:19                 97:9 98:1,18,20        173:9 176:6 178:5
    lay 55:9
                                                   99:25 100:10           180:2 192:12

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 79 of 100. PageID #: 227247


   [look - marketing]                                                           Page 21

      195:2,19 198:18     maintaining 89:5       153:14,21 154:3,8    44:8,16,21,23 51:2
      200:2 208:19         89:17 90:4            154:13,25 155:2      55:20 69:3,22
      217:5               making 50:10 57:1      155:12,14,17         71:20 72:3 83:18
    looked 177:5           130:6 131:18          156:4 166:17         84:7 85:3,6,16
    looking 84:24 86:3     141:6 221:11          168:9,22 169:12      86:9 87:7,10,17,23
      125:20 150:15,18    mallinckrodt 7:15      171:13 172:6         88:13,22 89:8,19
    lookout 142:21         13:9,12 16:9,14       175:7 176:3 191:6    90:6,23 93:19
      146:1               manage 21:24           205:21               104:13 110:2
    looks 150:23          management            manufacturer's        114:9 119:6
      168:25               69:18 189:19          42:10,11 58:14       136:20 177:17
    lord 6:17              190:13 194:18         91:13 93:12 171:7    208:25
    los 4:17 7:8           201:24 204:9          177:4               march 121:17,24
    losing 119:8           207:24 208:24        manufacturers        marcus 8:7,9
    loss 72:9              216:7,19              32:2,5,10,20,24      13:14
    losses 51:3 72:4      manor 8:18             33:8 45:19 46:2     mariama 3:7
      93:19 110:2         manuals 119:12         50:17 51:2,3,25      14:22
      114:10 119:6        manufacture            53:10 54:5 67:16    mariama.c.spears
    lot 24:5 27:10         32:12,25 114:20       69:12,23 72:4        3:11
      171:14               115:17,23 116:6       86:14 90:24,25      mark 17:25 49:3
    lsinger 3:24           148:4 155:21          98:11 103:19         57:15 81:21 84:16
    lucas 4:15 15:4,4      209:11                104:6 111:15         91:17 96:6 140:15
             m            manufactured           114:19 115:5,17      158:2 172:10
                           51:21 52:1 107:18     115:25 116:6         188:18 192:1
    m 5:12 6:7,8
                           114:13,16 116:5       119:8 128:8 129:5    199:13 208:13
    ma'am 109:10,18
                           141:14                133:12 137:8,17      214:4
      110:13 115:12
                          manufacturer           138:22 139:16       marked 18:2 49:5
      121:25 124:14
                           31:20 32:14 33:5      140:2,9 141:15       57:16 81:23 84:18
      127:17 128:16
                           44:10 45:2,10,14      152:5 154:18         91:19 96:8,10
      130:4 132:2 162:2
                           45:17 46:15,18,23     161:7 162:20         140:17 158:4
      167:4 177:3
                           47:3 48:6,15,19       163:9,15,18 164:1    161:24 164:18
      194:15
                           73:18 83:23 86:11     164:10 166:19        172:12 188:20
    madam 224:10
                           86:19,20,24 87:2      167:5 169:3          192:3,15 199:15
    mail 11:2,4,8,10
                           87:11,14,17 88:11     170:14,19 171:3      199:25 204:4
      11:16 164:24
                           88:13,20,22 89:5,7    177:14 179:2         208:14 214:6
      165:21,25 166:25
                           89:11,16,19 90:4      198:9 199:9 212:8   market 5:18 65:2
      169:16,17,24,25
                           90:12,19,22 91:4      212:17,18 213:3,7    65:4,8 93:25
      170:7 192:13
                           93:11 94:4,13,15      213:11,19 216:8      104:16,18,19
      201:15 217:7
                           94:21,23 95:2,6,14   manufactures          119:7 187:3,4,11
    mails 24:4 164:22
                           104:16,18 115:5       86:18               marketed 101:24
    main 51:13
                           115:22 147:5,11      manufacturing        marketing 64:22
    maintained 69:19
                           147:18 152:23         16:16 30:11 44:6     178:14 179:1

                                   Veritext Legal Solutions
    www.veritext.com                                                        888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 80 of 100. PageID #: 227248


   [marketing - misbranding]                                                   Page 22

     180:5 182:1         maximum 35:1           222:8               mentioned 31:24
     183:12 184:3         46:13,14 114:12      medical 20:3 35:3     36:10 40:10,16
     190:8 198:10         114:15                52:19 55:14 70:2     44:3 70:23 79:6
    marketplace          mcclure 6:12 14:2      70:19 71:7,14,16     80:19 101:19
     42:11 56:12          14:2 146:16 149:7     72:2,16 82:14        102:2 128:24
    markets 209:13        150:21 153:2          99:9 109:14,24       131:17 139:9
    marshall 188:13       155:24 159:15,23      114:5 141:16         198:22 210:19
     189:4 196:14         160:21 168:14,18      156:12,24 158:21     211:2
     204:10               169:9 170:23          159:3,11,12 161:5   meridian 7:22
    marshall's 194:16     171:20,25 172:14      164:12 167:15       messages 183:22
     202:10 204:14        174:12 175:23         168:1,11,21 169:6   messaging 181:2
     207:14               176:12 177:22         177:19,20 178:3,9   met 121:3 191:6,7
    mart 8:21 15:15       178:20 179:5,19       178:16,23 180:13    methadone 101:13
    martin 8:16 15:16     187:6,16,24 188:9     180:25 181:11,23     102:24 103:1,3
     15:16                188:25 206:5,23       182:6,16 184:6      michael 3:18
    maryland 5:17         215:23                187:10 198:3         14:16 21:9 165:7
     14:9                mckesson 7:2           200:19 201:2        michelle 125:4
    massachusetts 2:9     13:17,19 108:12       204:18,23 206:14    microphones 12:6
     5:14 7:18 12:23      108:16,20,21          214:20 218:5,16      12:10
    massive 183:16        111:16 112:10,22      218:22              mid 65:19 171:10
     184:4                151:16               medication 201:23     175:8 176:4
    masters 6:2 14:10    md 1:5 12:21          medications 47:12    middle 65:14
     14:10 147:20        mdl 1:5 12:20          47:17                189:8 190:1
     148:6 151:11        mean 25:10 31:14      medicine 150:19       191:12 195:20
     154:21 155:4         34:25 43:11 44:8      160:5,6,13           204:15
     160:18 170:4,25      47:5 50:23 51:7      meet 135:23          midwest 224:17
     171:22 174:16        51:23 52:10 64:25     193:22               227:1
     182:11 187:5         69:9 86:12 94:5      meetings 28:2,8      mike 136:16
    material 46:14        94:10 98:8,13         128:7               milligram 148:4
     52:12 53:11 54:14    139:12 144:24        megan 13:18           190:24
     86:20 91:5 188:4     155:2,19 184:15      meghan 7:2           million 165:6,7
     195:24               184:19 186:13,20     melsner 3:20          196:11
    materials 55:20       196:4 210:6          members 82:22        milwaukee 8:4
    matic 8:2 15:7,7     means 31:17            135:23 194:18       mind 57:24 111:2
    matter 12:17          149:14 158:20         198:24 199:1         119:20,22
     27:18 108:17         159:3 161:5           203:11              minute 32:11 44:5
     129:10              meant 210:7           memorize 53:24        66:3 84:22 217:19
    matters 23:15        media 12:14 57:7      mental 41:5          minutes 174:7
    maureen 5:21          57:11 95:21,25       mention 128:6         208:4
     15:9                 126:21,25 176:19      131:7,13            misbranding
                          176:23 219:16,20                           207:5

                                  Veritext Legal Solutions
    www.veritext.com                                                      888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 81 of 100. PageID #: 227249


   [mischaracterization - notice]                                                 Page 23

    mischaracterizat...   motleyrice.com         ne 3:5                  110:1 114:6 117:7
     215:25                 3:20,24              neal 5:3 14:12          117:9,12 141:6
    mischaracterizes      move 92:20 145:6       necessary 35:21         155:2 156:10,13
     98:22 123:17           165:4                  91:2 102:4 110:2      161:1 182:16
     146:14 199:7         movement 200:7           129:17 138:12         187:10
     218:11,19              200:12 201:6           157:7,19,25         neither 223:11
    mislead 207:6         mt 3:19                  163:20              net 50:16,24,25
    misled 177:15         mug 179:9,11           need 21:15 32:14        51:5,11,16
    missing 101:5         mullinax 125:8,8         32:20 47:7 53:10    never 159:11,21
    misstates 61:9        multi 62:13 64:11        54:14 80:23 93:5    new 4:9,9 29:10
    mmonaghan 7:5         multipiece 88:6          116:1,1,20 117:25     42:13 65:4 104:17
    moderate 181:3        multiple 119:23          117:25 129:18,24      158:9 173:16,21
     185:4,9,20           myers 4:12,16            138:17,18 141:17    newmark 4:7 14:6
    modifies 209:16         14:15 15:5             142:20 155:20         14:6 161:11,19,23
    molecule 48:13,16     mystique 205:16          156:5 158:21          165:1,20 167:9
     48:20 77:22                    n              159:3,11,12 161:5     169:23 172:21
    moment 44:3                                    161:21 164:12         174:1,3,8 179:20
                          n 3:5 10:1,1 12:1
     65:22 73:20 143:8                             165:13 167:15         182:13 192:10
                          n.w. 2:9 3:22 4:13
     221:21                                        168:1,21 169:6        193:11 194:3,9,22
                            5:14 6:3,8 7:4,12
    monaghan 7:2                                   174:6 177:19,20       195:5,9 197:9
                          name 12:25 16:17
     13:18,18                                      178:3,9,17,23         199:19 206:24
                            41:2 108:14
    money 180:9,11                                 180:13 181:11,23      207:8 214:12
                            120:23 124:20
    monitor 137:11                                 182:6 184:6         nodding 17:7
                            126:3 136:16
     139:16                                        191:10 193:3        nonchronic 182:4
                            224:6 225:3,4,15
    monitored 31:18                                195:15 198:3        noncontrolled
                            226:3,4,21
    monitoring 144:15                              200:19 201:2          44:12
                          named 53:21
     211:10                                        204:18,23 205:3     nontraditional
                          names 24:10
    montminy 6:16                                  209:10 214:20,22      183:20 184:3
                          narcotic 77:15,21
     15:20,20                                      215:10,13,19        north 199:1,3
                            78:9
    morgan 5:18,22                                 218:5,16,22         northern 1:2
                          narcotics 103:4
     14:8 15:10                                  needed 39:21            12:19
                          national 1:5 12:18
    morganlewis.com                                42:13 65:1 66:13    northwest 12:24
                            51:5,8,11,16 72:21
     5:20                                          72:9 83:25 102:17   notarized 224:14
                            151:2,24 152:19
    morning 12:3                                   116:19 130:17       notary 223:1,20
                            153:11,12 209:14
     16:11,12                                      170:15,20             224:25 225:10,18
                            224:6 225:3 226:3
    morphine 43:21                               needs 35:2,3,4,4        226:15,23 227:23
                          nations 21:21
     101:14 106:1                                  52:20 58:15 70:3    note 12:6 19:11
                          nationwide 141:22
     110:23                                        70:20 71:8,15,17      174:12 224:12
                            141:25
    morrissette 3:9                                71:20 72:2,3,17     notes 180:2 183:8
                          nature 36:1
    motley 3:18,22 9:2                             80:1 82:15 91:5     notice 2:13 10:9
                            177:16 198:12
     14:17 136:17                                  99:10 109:15,24       18:5 46:6 130:6

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 82 of 100. PageID #: 227250


   [notice - objection]                                                         Page 24

      166:11 193:16        45:8,25 46:8         165:19 166:6,23       193:12 194:10
      208:18               47:21 49:3,7,19      167:8,21 168:3,17     195:6 202:1
    noticed 130:17         50:1 53:3,12,19      170:21 171:19         203:13 210:3,21
    notices 21:3           54:1,11,20 55:2,11   174:2 175:14          212:23 214:12
    notifications 44:24    55:22 56:10 57:4     176:14 177:8          215:21,23,24
    notified 157:12        57:14,18 59:10,23    178:19 179:3          221:5
    notify 139:7           60:9 61:2,15         181:13 182:14       objecting 169:24
    nstephens 5:5          62:15,22 63:6,20     184:7,23 186:24       195:11 217:2
    number 12:20           64:4,12,17,24        187:15 188:2        objection 30:22
      28:4 35:7 38:23      65:17 66:4,11        191:23 194:19         31:8,15 32:1,15
      53:9 54:5 99:3,7     67:18,25 68:11       197:6,11,22           33:9 34:17 35:8
      99:12,19 109:7,12    70:25 71:5 72:6      198:15 199:6          36:3,15 37:17,22
      113:15 119:3         73:5,13,19 75:1,15   200:14,21 201:8       39:16,23 40:6,21
      147:17,25 152:9      76:9,25 77:18        202:1,12 203:13       41:9 42:25 43:2
      152:16 160:19        78:4,19,24 81:11     206:7,21 207:9,16     44:17,18 45:5,22
      180:22 182:7         81:13,21,25 82:19    207:25 209:19         46:5 47:18 49:15
      185:7,8 189:1,3,18   84:16,20 85:14,21    211:4 212:9,24        49:23 52:25 53:8
      201:22 202:19        86:5,7 87:21 88:9    213:8,21 215:21       53:16,22 54:7,16
      222:8 224:7,13       88:18 89:3,14        216:11,25 217:14      54:24 55:7,21
    numbers 80:2,5,7       90:2,13 91:17,21     217:16 218:12,20      56:6 59:7,19 60:5
      80:8,18 82:9,13      92:4,14,18 93:3      219:5,11,24 221:2     60:6,25 61:9
      83:9,15 98:17        94:19 95:4,17        221:9,20 222:1        62:11,20 63:3,17
      99:24 100:3,9        96:3,6,12,19,22,23 o'melveny 4:12,16       64:1,8,15,20 65:12
      106:8,14 107:8       97:14 98:25 99:18    14:15 15:4            67:14,21 68:3,4
      142:5,21 146:1       100:7,25 102:12    object 21:10 36:4       71:25 73:2,10,16
      165:8 172:17,20      102:22 103:8,22      138:15 139:21         74:19 75:11 76:6
      202:19 218:4         104:4 106:15,24      146:16 148:16         76:21 77:11 78:2
      226:7                107:7,15 108:4       149:23 151:20         78:3,16,22 82:17
              o            109:2 111:6          152:12,13 153:2,4     85:11,19 87:18
                           137:13,20 138:15     153:5,17,24           88:3,4,14,15,23,24
    o 10:1 12:1
                           138:25 139:21        155:24 156:1,2        89:9,10,20,21 90:8
    o'connor 7:15
                           140:13 142:14        159:25 161:12         90:9 92:2,10,12,17
      10:3 13:8,8 16:10
                           143:3 144:11         163:6 165:19,20       92:25 94:16,24
      16:13 17:25 18:4
                           146:11 147:7,13      165:21 167:9,10       95:1,10,11 97:10
      19:15,16 20:22
                           148:16,23 149:9      167:11 170:25         98:21 99:16 100:4
      21:4,13,17 27:2
                           149:23 150:10,20     171:20 172:21         100:8,23,24 102:8
      30:23 31:9,22
                           151:21 152:13        173:2 174:18          102:19 103:2,17
      32:4,17 33:12
                           153:4,17,24          175:16 177:8          104:1 106:10,11
      34:19 35:12 36:6
                           157:21 159:5,24      178:18,19 179:3       106:19,21 107:2,3
      36:21 37:18,25
                           161:9 162:12,22      184:23 186:24         107:12 109:22
      39:19 40:1,9,22
                           163:16 164:5,14      188:1,2,8 192:10      110:7 111:19
      41:12 43:5 44:19
                                  Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 83 of 100. PageID #: 227251


   [objection - ones]                                                              Page 25

      112:2,3,19,25          175:3,14,20,23,24      145:2,25             47:4,22 49:2,12,20
      113:7,8,20 114:24      176:12,13,14         obtain 46:15 60:3      50:14 51:4,4,14
      115:7,20 116:7,8       177:21,22 178:20       155:1 204:25         52:3 59:5,14 60:3
      116:16,17 117:1,2      179:4,13,20,23       obviates 142:20        65:6 70:1 71:3
      117:13,21,22           180:14,15,17           143:25               72:13 77:1 78:13
      118:5,6,14,22,23       181:13,15,19         obviously 199:20       80:17,22 81:4,20
      120:3 121:5 122:9      182:9,14 184:7,8     occasion 45:16         84:10 85:5 87:2
      122:15,21 123:1        184:21 185:13,15     occasions 56:22        90:14 91:8,16
      123:16 125:16,24       186:1,10,16,23       occur 78:10 89:25      93:4,18 94:1
      127:10,11 128:1        187:5,6,8,15,17        133:8                95:19 96:15 97:15
      129:25 130:9,15        191:22,23 192:23     occurred 45:16         98:12 99:1,12
      131:1,2,8,9,15,16      193:8 194:8,19,21      130:6 132:17         102:15,25 103:9
      133:15,16,22           194:22 195:7,14        133:4,5,19 135:9     105:1 125:20
      134:12 136:23          195:17 197:6,8,9       158:13               139:9 140:7,25
      137:6,12,13,20         197:22,23 198:6      occurs 199:4           141:3,10,21
      138:25 139:1,23        198:15,17 199:6      octagon 149:6          142:19 147:16
      139:24 140:12,13       199:20,20 200:14     od 10:25 162:5         148:3,11 149:17
      142:11,13,14           200:15,21,22,24      offers 206:13          150:4 151:1,4,14
      143:1,3 145:12,13      201:8 202:3,12       office 3:9,13 14:19    152:8,21 153:20
      146:10,11,12           203:14 206:5,7,21      126:7,16 219:4       158:14,15 161:4
      147:7,13,20,21         206:22,23,24         officer 223:2          162:8,17 163:2
      148:6,7,15,22,23       207:7,8,9,16,17,25   official 225:15        168:9 178:12,25
      148:24 149:7,8,9       208:2 209:19           226:21               180:2 181:25
      149:11,24,25           211:4,12 212:9,11    offline 21:16          183:2,25 184:13
      150:9,10,20,21         212:24 213:8,21        221:24               186:5 187:2
      151:10,11,21,22        213:23 215:22        offset 168:1,13        188:17 189:13
      153:3 154:21,22        216:11,13,24,25      ohio 1:2,10,12         191:4 195:2 196:3
      155:4,5,6 157:8,20     217:12,14 218:10       3:15 8:23 12:20      199:12 202:17
      157:21,22 159:5        218:12,18,20           224:2                204:22 205:7
      159:14,15,23,24        219:5,11 220:24      okay 18:15 19:10       210:18,25 211:7
      160:7,16 161:9       objectionable            20:25 21:8 23:2      211:21 212:16
      162:12,22,23           193:13                 23:13,17 24:1,8,17   213:17 221:25
      163:16 164:5,13      objections 188:10        25:9,12,15,24 26:8 omm.com 4:14,18
      164:14,15 165:1        193:5,8 199:18         26:16 27:12,24     once 41:14 55:10
      166:6,8,23 167:8       214:15 216:6,19        28:2,7,10,13,23      75:14 155:9
      167:21 168:3,4,14    objects 193:21           29:1,9,12 31:3       165:22 176:6
      168:16,17 169:8,9    obligated 143:13         32:5,20 35:6,17    ones 25:14 71:8
      169:11 170:21,22     obligation 36:23         37:6,9,15 38:4,12    77:24 110:12
      171:17,19,22,25        142:3 146:23           38:20 39:5,13        121:24 129:20
      172:5 173:2 174:1    obligations 140:10       41:6,23 42:6,17      182:17
      174:2,5,7,9,16         143:20 144:6,14        44:15 45:1,13,18

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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 84 of 100. PageID #: 227252


   [op - pass]                                                                   Page 26

    op 1:9,11,14            199:23 214:14         205:15,22           painkiller 190:14
    open 73:18 95:16      orders 20:3           oxycontin 148:5        190:15
      221:22                137:11,16,18,19       179:11 180:12       palo 5:4
    operating 119:18        138:21,23,24          183:3,21 196:7,10   panda 149:6
      120:20                139:17,18 152:4       196:15              par 5:11,12 14:5
    operation 68:9        organization          oxymorphone           paragraph 169:19
      119:13                206:4 207:23          43:23 105:15         171:24 173:11
    opiate 1:5 12:18      orleans 158:9           111:3                189:9 190:1,2
      224:6 225:3 226:3   outcome 223:17                 p             191:5 195:21
    opinion 20:12         outpaced 172:7                               196:21 204:15
                                                p 5:17 11:3 12:1
    opioid 18:23,23       outreach 203:11                              205:8,20 206:11
                                                  172:20
      19:4,5 67:7 68:23     203:17                                     209:5,23 210:13
                                                p.m. 222:5,12
      70:15 76:12,19,24   outside 27:20                                211:18
                                                p4241610-1612
      77:15,21 79:2         137:22 142:12                             park 4:8
                                                  11:5
      110:6 114:18          143:4,5 166:1                             part 10:11 42:20
                                                page 10:2 18:19
      118:21 147:4,18       170:8 173:6                                58:1 94:8 120:17
                                                  19:17 49:11 57:24
      155:1 205:12          180:16 194:11                              140:5 162:14,20
                                                  57:25 140:22
      214:22 215:12,13    overcame 145:24                              162:24 164:8,12
                                                  141:1,3 158:16
    opioids 18:24           146:3                                      171:23 213:24
                                                  160:20 162:3
      19:21 74:10,13      overcome 142:3                               226:9
                                                  164:23 173:10
      77:2 100:10         overestimate                                participants 140:3
                                                  178:5 182:21
      116:23,24 117:19      169:14 178:23                             particular 45:2
                                                  184:25 188:23
      118:13 137:10       overlap 20:23                                56:12 68:14 75:10
                                                  189:8,25 195:3
      145:1 155:3 167:5   overlapped 132:13                            78:25 86:10 87:5
                                                  196:20 200:3
      177:14,16 182:2     overview 138:1                               93:10 103:10
                                                  202:18 205:7
      214:23 215:14       oxford 5:23 8:7                              125:21 148:13
                                                  209:5,22 211:18
    opium 101:14          oxy 111:5                                    151:8,8 153:10
                                                  214:10,18 217:6
      102:14              oxyc 180:9 181:1,3                           154:15 157:6
                                                  224:13,15 226:7
    opportunity 82:23       181:7                                      166:11,12,12,25
                                                  227:3
      83:2                oxycodone 43:15                              166:25 168:22
                                                pain 158:24 181:4
    oppose 68:10            48:2,6 53:4 62:10                          174:22,22,23
                                                  181:4,5 182:4
      202:9                 75:22,23 98:6,7,8                          186:14,21
                                                  183:20 184:3
    order 32:12 66:25       98:10,12,15,18                            parties 2:14 12:13
                                                  185:4,10,21
      71:20 72:5 103:20     99:3,8 101:14                              223:12,15
                                                  189:19,20,22
      125:18 129:6          103:9,16,24 104:8                         party 163:10
                                                  190:12,21 194:17
      157:24 161:14         104:22 109:8,13                            168:20 176:7
                                                  196:24 197:5,21
      164:11 165:23         110:16 149:5                               192:22,23 193:15
                                                  200:6,7,12 201:6
      170:1 172:22          165:14 166:5                               193:20,22
                                                  201:24 202:8,8
      174:10 192:15,19      189:14 190:24                             pass 136:10
                                                  204:9 207:24
      193:1,14,23           191:21 196:5,9,23                          219:13
                                                  215:11,12 216:6
      195:10,12 199:22      200:13,20 205:13
                                                  216:19
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 85 of 100. PageID #: 227253


   [patient - powerpoint]                                                           Page 27

    patient 86:16,21        persio 5:13              203:6,11 224:3      please 12:6,9
      116:20 117:9,12       person 38:1 80:9       phones 12:9             15:23 65:22 66:18
      149:5 153:8             81:2                 phrma 214:10            134:10 157:10
      163:20 190:21,23      personal 20:12         physical 55:19          172:15 220:4
      202:9 215:12            144:19 145:15        physician 190:11        224:11,11
    patient's 215:11          146:6 149:3 221:3      190:13              pled 206:19 207:4
    patients 114:22         personally 220:21      physician's 180:20    plus 169:19,21
      116:13 182:2            225:11 226:15        physicians 181:3        173:22,24
      190:9 196:16          personnel 128:25         182:18 200:6        point 29:11 64:10
      197:17 204:24           129:4                  202:8                 66:20 78:11
      205:3                 persuasive 178:14      pick 12:7 109:1         128:11,19 130:11
    patrick 5:6 15:2          180:4                pictures 179:8          142:16 159:1,13
    patterns 209:12         pertain 20:23          piece 216:1             203:1 221:1
    paul 4:2,5              pharma 1:9,11,13       pieces 131:19         pointed 177:3
    pbeisell 5:9              4:6 205:22 206:3     pill 86:16 148:5      points 128:13
    pending 221:22            206:13                 149:5                 129:13,16 131:22
    pennsylvania 5:19       pharmaceutical         pills 147:18 151:6      132:19,23 134:2,6
      5:24 6:14 8:8,19        5:12,21 10:25          152:9,17 155:21       134:11,16 135:1
    people 24:10              44:11 90:21            187:13                135:15
      37:20 38:4,7,10,13      114:19 115:16        pittsburgh 5:24       policies 144:13
      38:17,19 39:2,8,9       132:3,15,16            8:8                 policy 174:24
      39:20 79:9 80:22        158:10 162:6         pky181383991-...        175:1
      80:25 81:6 123:13       205:23 206:12          11:13               polster 1:7
      151:19 196:24         pharmaceuticals        place 12:10,12        pool 187:21
      197:5,21                4:11 5:11,11 15:5      36:20 60:4 83:17    population 151:19
    percent 128:3           pharmacies 32:6          88:12,21 91:8         153:8
      134:17,20 173:23        114:21 116:12          101:23 129:7        porter 2:8 5:13
      195:23 196:15           144:22 152:4           138:10 139:20         12:23 14:5
    period 74:17              204:25                 140:8 143:14        portion 49:12
      188:4                 pharmacists            placed 41:22            108:25 140:1
    permission 161:20         190:20                 204:7               position 22:8,11
      161:22 165:25         pharmacy 31:20         places 102:9,21         22:19 29:7,18
      192:16 193:3            32:3 111:23          plaintiff's 20:18       173:14 204:24
    permit 166:1              112:15 113:3           20:20               positions 30:13
    permits 33:1 45:4         116:18 132:5,17      plaintiffs 4:2        potential 56:3,8
      211:9                   151:8,18               14:17 21:1 136:12     182:6
    permitted 32:24         philadelphia 5:19        136:18 220:5        potentially 175:11
      45:11,15,20 46:3        6:14                 plant 44:13 199:3       176:10 178:15
      48:17,21 85:15        phone 25:1,21,25       players 31:23         powerpoint 158:7
      172:2 174:15            26:3,6,7 123:20,22   pleasant 3:19           178:4,6,8
      194:12                  124:1 135:11,13

                                      Veritext Legal Solutions
    www.veritext.com                                                            888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 86 of 100. PageID #: 227254


   [pplpc032000404799-4807 - production]                                            Page 28

    pplpc03200040...      prescribing            private 12:8             46:17,25 47:11,15
      11:17                 201:17               privilege 65:25          47:23 48:5,9,12
    pplpc045 192:6        prescription 1:5         66:2                   52:8,12 90:14,16
    pplpc04500000...        8:16 12:18 18:24     probably 20:22           90:18 91:1,3,10,15
      11:11                 64:3,9 65:15           28:12 40:25 41:18      92:1,22 93:4,10,22
    pplpc04500000...        114:18 116:23          122:10 169:13,21       94:3,15,23 95:8
      11:9                  117:19 118:12,21       172:9                  147:2,3 170:7,10
    practical 159:9         161:1 163:10,13      problem 189:10           208:25
    practice 59:15          169:1 177:6            189:15 205:11,14     produce 32:21
      91:14 160:4,6,13      180:20 182:8           210:10                 45:10 91:5 152:24
      174:24 175:1          195:24 211:10        procedure 225:5        produced 161:13
    practices 18:21         224:6 225:3 226:3      226:5                  165:23 169:25
      29:22 30:3,6 54:3   prescriptions          procedures 18:22         192:13 217:5
      86:24 119:7           15:17 19:6 58:20       29:23 30:2,7         product 65:4,14
    practitioners           58:24 59:18 60:13      119:13,18 120:20       67:7 68:23 70:16
      201:13                60:18 61:6 176:7     proceed 16:5             76:12,19 91:6
    preceding 50:18         185:8,9,18 196:8       57:13 66:10 96:2       107:21 147:5
    precise 159:12,22       196:11,17 205:2        108:11 127:2           150:12 153:7
      161:4               present 2:13 9:1         136:7 176:25           154:15 158:21
    precisely 24:6          13:4 64:6 123:5        204:3 217:25           159:4 175:7,9
    preparation 26:9        123:13,15 135:10       219:22               production 10:18
      121:8,11 123:5      presentation           proceeding 21:7          10:21 18:23 19:5
      124:2 127:13,14       158:8,8,17 159:2       222:11                 19:21,22 30:4
      131:5,24 132:21       181:12 182:22        process 30:8 33:1        34:23 35:14 37:1
      134:4 135:2,18        183:25 185:1           34:9 38:5 39:11        38:6,9 41:24 42:3
    preparations            220:13,16,18,23        39:14 48:25 78:25      42:7 43:6 44:1
      135:22                221:1,4,7,12,17,19     79:4,8,10,16 83:17     46:22 47:23 50:6
    prepare 23:17,20      presented 209:14         83:21 87:23 89:12      50:20 51:12,17
      24:11 25:3 124:13   preserved 174:6          90:11,23 91:8,12       52:5,15,24 53:7
      173:21                193:9 194:8 195:8      95:3,14,16 113:16      54:6,23 55:5,15,24
    prepared 81:6           195:15,16 199:18       119:10,14 125:6        56:4,5,14,19 57:2
      124:10 125:14       pretty 144:12            125:13 139:14          58:8,13,15,18,25
      220:15              prevent 17:18            144:5,13 147:3         59:15 60:19,24
    preparing 27:12         151:15 211:25          169:13                 61:7,18,24 62:9,18
      27:21,25 121:19     previously 27:18       processes 34:14          62:25 63:9,15,24
      220:13              printed 50:7             42:12 44:23 48:24      65:10 67:3,6
    prescribe 182:2       prior 37:10 59:4       procure 48:16,20         68:13 70:6,15
      190:19 201:23         61:10,22 98:22         90:20                  71:10,18 72:10,24
    prescribed 215:12       123:17 199:7,21      procurement              73:9,24 74:10,13
    prescribers             210:25 214:15          18:23 19:4,23          75:5,23 76:5,13,20
      183:22                218:11,19              30:7 46:10,12,13       77:4 79:2,17 80:2

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 87 of 100. PageID #: 227255


   [production - questions]                                                      Page 29

      80:4,12,18 82:3,21   promulgated 34:9      publish 106:23       quality 162:18,18
      83:1,7,9,12,14       proposal 79:21        published 79:22       162:19
      90:20 96:25 97:8     proposed 79:21         79:25 80:5 82:4     quantifiable 74:3
      97:12,25 98:3,10       82:20 124:25         82:10,21 107:9       74:4,8
      98:19 99:22            130:5,5,6 208:18     208:17              quantify 28:1
      101:17 102:7,17        208:21 209:16       publishes 35:15       74:23
      103:13 104:9,22        210:7,12 211:8,21   publishing 208:21    quantities 205:1
      105:4,11,16,22         212:6,16 213:2      pulled 65:2,13,19    question 17:4,11
      106:2,17 107:9,16      214:2 216:20         104:16               17:15 20:10,13
      111:8 112:7          protective 161:14     purchase 153:15       21:5 22:21 25:2
      113:12 114:4,11        172:22 192:14,19     153:22 154:4         30:24 32:19 33:6
      114:18 115:4,14        193:23 195:10,12     155:3                33:11 34:1 35:11
      115:15 116:3,15        199:22,23 214:14    purchases 155:18      36:9 37:24 39:6
      116:23 117:4,11      protocol 172:18       purdue 1:8,10,13      39:18 40:23 41:11
      118:11,19 119:11     proven 89:12           4:6 14:7 148:3       45:24 47:20 48:18
      119:15,21 125:22     provide 19:8 20:8      161:12,20,22         49:18,25 63:5
      126:11 144:25          33:4 47:7 59:24      164:25 165:22        65:24,25 66:1,16
      208:25 221:23          70:11 83:24 86:19    166:3 179:18         66:17,19 78:5,21
      224:15,17,22           107:5 111:17,25      192:13,16 193:21     80:3 83:10 85:13
    products 65:18           118:4 144:19         194:15 196:6,9       87:13,20 88:17
      67:11 79:2 102:3       156:11 162:11        197:2 198:23         92:5 104:3 109:3
      106:18 108:1           164:11 201:1         199:2,17,24 202:7    115:1,9 118:16
      110:10,13 128:4        212:18 216:9         203:10 205:22        138:17,18 139:4
      151:17 180:10        provided 40:7          206:3,13,19 207:4    142:16 144:9,10
      184:3                  55:25 58:16 70:3     207:22 217:5,7,9     145:5,8,19,21
    profit 167:19            70:14 71:9,11,13    purdue's 196:23       146:5 150:2,4
      168:12 169:5           72:8 112:5 161:7    purpose 47:13         154:11 160:9,11
    program 211:10           162:20 163:4,15      149:15 209:4         166:14,15,18,22
    projected 52:7,11        164:4 177:10        purposes 47:10        168:7 169:2
      70:2,19 71:7,14,16     206:3                92:22 160:21         170:13,16,18
      71:21 72:1           provides 60:12         173:20 218:23        172:5 175:3,6,17
    promised 143:8           212:16              pursuant 2:13         186:18 193:12
    promoted 29:2          providing 17:23        52:9 161:13          195:16 212:14
      180:25 183:20          109:17 206:17        165:23 170:1,5       216:16 218:3,11
    promotion 178:14       prudential 7:17       put 67:16 86:16      questioning 20:17
      180:5                public 82:22           106:14 134:18,20     146:17 218:8
    promotional 179:1        118:13,21 119:4              q           questions 16:15
      179:17,25 180:9        120:1 177:15                              21:11 111:7
                                                 qms 69:15,16
      180:11 183:13,16       202:23 223:1,20                           138:11 172:2
                                                 qualifications
      184:4 185:11           225:10,18 226:15                          174:15 195:14
                                                  19:13
                             226:23 227:23                             220:6 221:21

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 88 of 100. PageID #: 227256


   [questions - read]                                                          Page 30

     222:4                88:1,13,22 89:8,19  167:6,7,14,20,24               r
    quick 176:17          89:25 90:6,12,15    168:2,10,13 169:4    r 3:13 4:15 12:1
     203:22 220:2         90:16,18,18 91:2,3  169:6,14 170:7,10    r&d 173:19
    quickly 137:25        91:15 92:1,22       170:15,20 171:7      raise 193:9 195:15
    quite 139:4           93:10,22 94:3,15    171:10,15 172:9      raised 216:6
    quota 10:19,21        94:23 95:9,15       173:15,16,21         range 192:6
     19:24,25 20:1,2      96:25 97:8,13,19    175:12 176:4,11      rannazzisi 24:13
     21:21 23:4,14        97:25 98:4,10,19    177:5 178:3 184:5      24:22 25:20 26:7
     26:15 28:15 30:4     99:22 101:17        184:11,14,18           27:15 56:21,22
     30:7,20,25 31:5      102:7,18 103:13     185:23 186:8           121:3,13 122:5
     32:21 33:1,5,8,14    103:23 104:10,22    187:9,21 196:13        123:14,18 124:2
     33:25 34:4,10,16     105:4,11,16,22      196:23 200:13          124:20,24 125:6
     34:23 35:14 36:1     106:2,17 107:1,9    201:7 202:10,25        125:21 126:6
     36:8,11 37:1,16,21   107:17,22 111:8     208:24 211:2           127:9,24 128:14
     38:2,9 39:11,14,15   112:5 114:4,11,17   218:4,15,22 219:1      130:24 131:24
     39:20 40:12,14,17    114:18 115:4,13    quotas 10:11            133:7 134:4
     40:20 41:8,17,25     115:14,15,18,23     18:23,24 19:5,5,20     135:11,17
     42:4,8,10,19,23      115:24 116:4,15     19:22,23,23 21:25    rannazzisi's 126:3
     43:9 44:1,8,9,21     116:23 117:4,12     22:16 28:18 29:24    rate 51:5,8,11,16
     45:11,21 46:4,10     117:18 118:11,19    30:11,15 38:6        rates 51:9
     46:12,13,14,17,22    119:11,15,21        43:6 44:6,16         rationale 47:6
     46:25 47:8,11,23     121:1 125:22        47:15,23 50:20       raw 55:20 91:4
     48:5,12 49:21        126:11 129:20,21    51:12,17 52:8,13       195:23
     50:3,6 52:5,16,24    129:24 130:20,22    58:8 59:1 73:24      raymond 29:16,16
     53:7 54:3,6,23       131:19 132:25       74:10 76:13,20       reach 72:5
     55:6,16,24 56:5,14   133:6 134:14        79:22 80:12 82:21    reaching 183:3
     56:19 57:2 58:14     137:2 138:9         83:1,19 85:3,16      read 20:5 109:4
     58:18 59:16 60:19    139:19,25 140:3,8   86:9 91:10 93:5        120:16 141:19
     60:24 61:8,18,24     141:12,15 143:14    111:13,18,20           162:5 165:17
     62:10,19 63:1,2,10   143:17,23 144:4     112:1,7,11,17,23       172:15 173:25
     63:11,16,24 65:11    144:13 145:24       113:5,12,18,25         178:10 182:25
     67:3,6,8 68:7,13     146:22 147:3,4,16   116:5 144:4,25         183:18,23 188:25
     68:23 69:14,18       147:22 148:5        145:3 147:2 157:5      189:23 191:2,17
     70:6,15,16 71:10     149:20 150:5,11     162:9 171:3            196:1,18,25 200:9
     71:18 72:14,15,24    151:1,5,14,15,23    182:24 183:9           201:18 203:8
     73:9 74:13 75:5      152:2,8 153:6       184:2 191:14,15        205:5,18,25 208:7
     75:24 76:5 77:4      154:7 155:9,15,18   191:20 208:19          209:2 210:16
     79:2,12,17 80:2,5    156:17 157:14,17    210:20                 212:3 215:16
     80:18 82:4,9 83:7    158:1,18 160:14                            225:5,6,12 226:5,6
     83:9,13,14,25 84:7   162:19 163:23                              226:17
     85:6 87:7,10,17,23   166:11,16,20

                                  Veritext Legal Solutions
    www.veritext.com                                                      888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 89 of 100. PageID #: 227257


   [reading - relies]                                                              Page 31

    reading 99:2           recess 57:9 66:7      reexamination           166:13 174:22
      109:6 208:4            95:23 108:8           20:20               regs 23:21 86:13
      224:19                 126:23 136:4        refer 49:21 50:3        86:23 120:15,16
    reads 19:19 57:25        176:21 203:25         90:16 190:17        regular 41:8
      158:18,19 173:12       217:22 219:18       reference 166:24      regulate 160:5,13
      179:10 180:8,24      recognize 49:8          176:2 224:7 225:2     160:24
      182:23 183:16          97:4,5 187:13         226:2               regulation 34:15
      195:22 196:3,21      recommend             referenced 225:11       49:22 50:4 84:9
      200:5 202:22           190:19                226:15                84:21 85:10 91:23
      204:22 208:20        recommendation        referring 109:3         91:25 92:8 99:21
      210:2,13 211:21        173:17                130:13                102:5 103:12
      214:19 215:1         record 12:4,13        refers 142:16           160:4 210:7,12
    real 158:20 159:2        13:7 16:18 19:12      149:5                 211:8
      203:22                 57:7,11 66:3,6,9    reflect 82:14 97:16   regulations 34:8
    really 138:12            71:2 95:21,25         97:17 98:18           72:14 113:16,24
      147:9 152:21           108:7,10 109:5        209:10                114:4 129:18,19
    realtime 164:3           126:21,25 136:3,6   reflected 109:21        129:21,24 140:5
    reason 47:7 94:12        160:22 172:14,17      218:5                 209:6,9,16,23
      117:3 171:6            174:13 176:19,23    reflecting 83:3         210:5 211:2
      224:14 226:8           189:1 203:22,24     reflects 96:24 97:7   regulatory 208:24
      227:3                  204:2 217:18,21       97:12,24 114:5        210:20 213:25
    reasons 30:15,19         217:24 219:14,16      170:7               relate 20:18
      31:4                   219:20 222:4        reg 79:13             related 18:22
    recall 36:7 39:1         223:10 226:9        regard 132:3            23:14 29:23 30:3
      56:11,15 65:19       recorded 12:15        regarding 19:1,8        30:7 37:16,21
      77:8,9,24,25 84:11     103:5                 19:25 26:8 36:8       99:21 100:6
      133:24 134:5         recording 12:12         39:15 41:17 56:18     111:20 127:21
      135:15,24 220:8      red 149:4 183:5         72:14 75:22 76:3      129:2 143:20
    recalls 93:25            185:25                76:11 83:7,12,25      208:18 210:20
      119:7                reduce 151:15           128:9 172:2           211:2 223:11
    receipt 224:18           187:20              register 11:14        relates 1:7
    receive 39:14          reduced 187:2,3         79:23 80:1,6,10     relation 121:19
      70:18 77:20 90:19      196:13 223:8          82:5,10,22          relationship 20:2
      112:5                reduces 187:21        registered 69:23        138:8
    received 44:25           188:3                 161:2               relative 223:14
      71:1 74:4 83:6,11    reduction 195:23      registrant 46:25      relevant 52:22
      206:2 207:14           202:25                162:9                 85:8,17 131:4
      214:3                reed 6:12 14:2        registrants 19:24       211:9
    receives 155:17        reedsmith.com           19:25 31:25 32:7    relief 181:5
    receiving 75:16          6:15                  128:21 135:5        relies 163:9
                                                   144:7 145:2

                                    Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 90 of 100. PageID #: 227258


   [rely - richard]                                                                Page 32

    rely 68:14 103:25     represent 16:13       requirement              139:15,19 143:11
      120:19 159:19         99:5 108:16,24        139:6 204:16,22        146:4 213:7
      177:4                 109:9 136:17        requirements           responsible 35:13
    relying 164:8,9         195:23 208:10         42:12 52:21 99:11      56:17 72:15 106:8
    remaining 51:25       representative          109:16 114:8,9         106:17 143:23
    remember 24:1,6         106:6                 213:3,18             restrict 150:6
      25:18 41:2 84:13    representatives       requires 26:21           201:22
      101:20 109:17         189:6 206:16          157:16,23            restricted 190:18
      111:9 123:7 135:8   represented 220:7     research 9:2 35:4      restriction 192:21
      135:19 207:1,4      represents 99:6         52:19 99:10            196:22
      218:7,17              109:11                109:15,25 114:6      result 145:3 172:9
    remembered            request 32:21           117:7,25 156:12        185:10 189:15
      134:22                33:18,21 71:2         218:23               retail 58:19,24
    remind 213:2            84:1 88:2 101:6     reserve 70:3,19          59:17 60:13,17
    reminders 216:7         155:12,14 157:4       71:8,15,17 72:18       61:5
    reminding 213:6         157:17 173:16,21      136:10,10 221:21     retained 222:9
    remotely 13:5           193:22 226:9,11     resolve 21:15          retired 24:23
    removal 42:14         requested 52:9,12       193:23               return 124:8
    renew 146:9             56:23 122:19        resort 190:15,16       returned 224:18
      216:23              requester 87:24       respect 28:17          returns 51:3
    repeat 45:23 173:1    requesters 10:13        30:21 54:2 84:6      revealed 198:13
      186:17 199:19       requesting 56:21        97:15 99:24 100:9    review 10:15
      214:14                169:4 175:8           101:7,12 103:1         23:22,24 28:20,21
    repeated 48:18        requests 20:1,1         104:21 105:1,3,7,9     28:21 82:3 124:11
      193:4                 33:15 153:14          105:11,15,21           127:19 140:23
    repeating 174:9         166:16 171:7          106:1 153:10           175:8 224:12
    replaced 132:5        require 154:17          170:10                 225:1 226:1
    report 10:12 22:1       182:16 211:23       respective 2:14        reviewed 26:9
      28:23 29:4 57:25    required 26:14        respond 56:23            81:15 111:3
      137:19 138:24         33:7,17,21 36:18      159:7                  220:25 221:6,18
    reported 1:24           36:19 82:2 83:24    responded 123:9        reviewing 23:21
      164:1                 99:8,14,20 100:1    responds 141:25          163:25
    reporter 13:2           100:12,16,22        response 118:4         revision 130:14
      15:23 101:11          101:16 102:5          194:16 204:13          176:4
      225:7                 103:11 104:14,24      207:14 214:2         rhodes 173:14,18
    reporter's 17:2         105:5,12,18,24      responsibilities         173:20
    reporting 21:21         106:4,22 107:4        21:22,24 28:14       rice 3:18,22 9:2
      26:14 28:15 69:17     109:13 113:11         34:14 138:8            14:17 136:17
      84:3 143:20           193:15 201:3          143:13,16,25         richard 164:24
    reports 66:24           212:18 224:25       responsibility           169:16
      181:7                                       28:16 137:10

                                   Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 91 of 100. PageID #: 227259


   [right - scope]                                                              Page 33

    right 28:13 40:5      ropesgray.com         sannerud 24:12,14 scientifically
      84:24 96:18,22        7:19,19               24:15,17,25 25:4    28:22
      98:18 109:5 137:4   ross 6:18               27:14 28:25 121:4 scope 31:15 32:16
      140:11 142:25       rothschild 8:17         121:16,19,23        39:24 43:1 45:22
      145:10 147:12         15:17                 122:19 123:14       53:23 54:8,17,25
      150:17 151:2        roughly 28:2 38:4       127:9 134:8,19      55:8 62:11,20
      153:1,16,23 154:5     39:5                  135:2,10,17         63:3,17 64:1,8,15
      155:3 156:13,19     routinely 181:8       saw 189:16            65:12 77:17 78:3
      163:5 165:11        ruiz 6:7 13:24,24     saying 120:11         78:16 82:17 92:11
      168:2 171:16          144:22                175:9 184:16        92:25 100:4,9
      182:25 186:15       rule 130:6 208:21     says 18:21 50:9       106:11,19 113:7
      194:4 200:20          209:16 211:21         51:4,19 52:7,18     122:9,15,21
      201:6 202:22          212:6,16 213:2        66:22 69:13 70:1    129:25 130:15
      211:3 212:20        rulemaking              72:19 85:5 141:4    131:1,8,15 136:23
      213:19 221:22         208:18 214:3          141:11 142:2,7,23   137:6,12,20,23
    rise 177:18             216:20                156:9 158:23        139:1,22,23
    risk 47:16            rules 16:25 225:5       160:3 169:19        140:12 142:12
    rite 5:17 14:9          226:5                 178:8 183:9 185:5   143:2,3,10 144:17
      111:24 112:15       run 151:1               189:14 190:6        145:13 146:11
      113:4               russo 1:24 9:2          191:9 196:12        148:22 149:10,12
    road 5:4 8:18           12:25 13:3 223:2      201:11 205:20       149:24 150:9
      16:25               rx 6:6 13:25            206:12 215:8        151:2,10,21
    robert 3:3 14:24      ryan 125:7            schedule 28:18        153:11,12 154:21
      224:5                         s             43:10,10 46:19      155:4 160:7,16
    robert.chandler                               58:2,2 69:24        166:1,7,8 170:8,22
                          s 10:1 12:1 224:15
      3:6                                         79:20 108:1         171:21 173:6
                            226:8,8 227:3
    role 21:19,23                                 134:23 141:13,13    174:18 175:16,25
                          sackler 164:25
      22:17,23 23:6,8                             205:1               179:4,22 180:16
                            169:17
      28:16 29:20 33:13                         schedules 22:1,5      180:24 181:14,19
                          safe 40:2
      34:12 49:14                               schein 6:16 15:21     182:13 184:9,21
                          safety 157:3,16
      126:10 141:5                              scheme 210:20         185:13 187:5,25
                          sale 98:7,8,18 99:3
      159:6,10                                  science 23:1,2        191:22 194:11,20
                            99:8 109:13
    rollback 196:4                              scientific 20:4       194:21 197:7,13
                          sales 109:8 161:8
      199:4                                       35:4 52:19 70:2     197:22 198:16
                            163:25 164:3
    rolling 191:13,14                             70:19 71:7,14,17    199:7 200:15
                            171:11,14 172:7
      191:20                                      72:2,16 82:15       202:2,3,13 206:22
                            173:16 177:18
    room 13:4 25:1,6                              99:9 109:14,24      207:7 208:1
                            182:4 183:4
      25:20,22 26:1,2                             114:5 117:7,24      212:12,25 213:9
                          samsha 40:24 41:1
      123:19                                      141:17 156:12       213:22,23 216:12
                            41:4,7,13,16,20
    ropes 7:16 13:9,12                            218:23              216:14 217:15,16
                          samsha's 41:21
                            42:2
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 92 of 100. PageID #: 227260


   [screen - simply]                                                               Page 34

    screen 204:19            214:11,24 215:4     services 6:6 14:1      shapira 8:7 13:15
    seal 225:15 226:21       217:6               sessions 121:11        shapira.com 8:9
    sec 215:5              seek 129:6 154:3,8      123:6 134:4          share 93:25
    second 5:23 86:20        154:13 161:19,21    set 30:15 31:5,5,19    shared 27:11
      147:2 156:7            168:19 182:2          34:4,9 46:21         sharing 192:21
      158:19 169:18          192:16                55:17 98:10          sharon 8:11 15:11
      180:24 191:4         seeking 168:9           106:18 107:16        sharon.desh 8:14
      195:3,21 196:20      seen 18:6,12 37:4       111:18 112:1         sheet 106:9 224:13
      202:17 204:15          57:22 117:8           116:14 119:3           226:7,10,18 227:1
      205:8,8,9 209:5,23     220:18                177:5 191:14         ship 173:17
      211:17 214:18        seizure 74:3            198:2 200:12         shipments 137:18
    secondary 145:1        seizures 72:21          201:6                  138:23 139:17
    secondly 193:4         select 27:5           sets 33:25 43:6,9      short 57:9 66:7
    section 10:16,17       selected 10:19,22       46:17 111:12           95:23 108:4,8
      21:20,21 22:15       selective 97:1          112:11,16 115:3        126:18,23 136:1,4
      24:15 26:15 28:15    sell 90:25 173:17       119:10,14 138:13       176:21 203:25
      29:2,21 34:13        selling 175:7           141:12,15              217:22 219:18
      38:14 49:14 50:6     seminars 132:4        setting 22:3 34:10     shorthand 223:7
      50:9 52:9 79:12      senator 203:5           38:5,8 42:18         show 138:6 171:14
      82:8 84:3,25 85:1    send 152:17             43:25 50:20 51:17      192:16
      129:5,12,12 131:7      179:18 201:15         52:5,15,24 53:6      showing 192:13
      131:14 133:7         sending 37:10           54:3,5 55:5,15,23    shown 224:16
      135:4 192:20           197:3 202:8           56:4,13 58:7,13,25   shows 183:2,3
      193:13 199:23        sends 56:20             59:15 60:18,23         185:7,17
      211:22               sense 17:9,16           61:18,23 62:9,18     sic 65:16
    section's 68:8           20:14 147:24          62:25 63:9,15,24     side 202:22
      128:20 129:7           159:10                72:15 73:8,23        sign 80:20,23,25
    sections 38:8,10       sensitive 12:7          74:9,12 75:4,23      signatory 133:14
      79:10,14 129:1,8     sent 133:10 179:25      76:4,13,19 77:3      signature 132:24
      130:21,23              198:23,25             79:1 86:8 93:4         134:13 223:19
    see 21:14 50:12        sentence 205:8,9        94:3 103:12            224:14
      84:15 85:25 97:2       206:11 215:2          105:16,21 106:1      signed 56:20 133:7
      123:25 126:3         separate 48:8           111:8 114:17           193:1 225:13
      138:5 140:24           117:8 135:13          115:13 118:10,18       226:18
      141:8 174:25           175:17 216:2          119:20 127:21        significantly 92:8
      176:7 179:12         separately 48:13        144:5                signing 224:19
      180:6 183:5,10,14      104:15              severe 181:4 185:4     signs 80:9
      189:10,11,14         seriously 191:12        185:10,21            simple 145:21
      190:4,25 204:11      served 132:14         shaking 17:7           simply 140:7
      204:17,19 208:12     server 120:7,9        shannon 6:12 14:2        166:18 186:13,20
      209:7,25 211:19                                                     187:21 193:7

                                    Veritext Legal Solutions
    www.veritext.com                                                           888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 93 of 100. PageID #: 227261


   [simply - strengthening]                                                       Page 35

      195:17 200:18       sought 165:25         spelled 76:14           142:24 225:13,14
    sincerely 224:21        205:21              spend 27:25 208:3       226:19,19
    singer 3:21           sources 58:4,5,9      spending 184:4        statements 138:7
    single 62:13 64:10    south 3:19 7:22       spent 180:9,11          140:23 181:21
      101:22 195:16       spaeder 6:7 13:25       183:17                221:4,11,15,18
    sir 191:10 224:10     speak 27:13,17,20     spoke 24:10,12        states 1:1 3:13
    sit 84:10               62:6 128:20 135:5   sprains 182:3           12:19 14:20,25
    site 181:2              221:7               spread 155:21           15:1 19:21 35:2
    sitting 106:6         speaking 41:4         springfield 3:10        52:20 72:17 82:16
      120:25                54:2 174:6          square 6:13             114:7 145:1
    situation 31:2        spears 3:7 14:22      stacy 1:19 2:3 10:2     152:18 156:11
      194:1,2,4             14:22                 10:10 12:16 15:25     177:20 191:5
    situations 172:3      spec 7:15 13:9,12       16:19 81:6 222:7      192:20 205:9,24
    six 222:9               16:9                  224:8 225:4,9         211:14 218:6
    size 163:23 187:20    special 24:23           226:4,13 227:20     statute 23:21
    skeptical 163:8,14      29:16 129:6         staff 70:4              33:24 34:2,6,15
      164:9 171:7 176:6   specialist 9:3 23:1   stage 138:14            36:17,18 102:5
    slide 158:17 179:8      23:3                standard 119:18         103:12 114:3
      180:3 182:23        specialized 201:24      120:20                120:15,16 156:9
      185:2               specialty 180:25      standards 119:13        210:19
    small 196:22            183:21              stands 98:14          statutes 113:15,24
    smaller 39:3          specific 48:5 75:7      145:14              steals 215:11
    smclure 6:15            76:23 77:2,14,24    stars 4:17 7:7        step 26:18
    smith 6:12 7:20         77:25 78:9 119:19   start 17:5 23:8       stephens 5:3 14:12
      14:3 15:19            131:13 141:22         126:25 176:23         14:12
    sold 152:25 165:13      142:6,22 146:2        179:10              steps 32:13 45:19
      175:9 176:5 212:2     147:18,25 149:21    started 38:16           46:2 79:6
    solomon 9:3             150:18,19 152:20    starting 96:24        stock 70:3,20 71:8
    solutions 5:11          154:9,9,14 166:16   starts 124:16           71:15,17 72:18
      13:1,3 222:10       specifically 20:11      190:1 209:6         stone 8:18 190:21
      224:1 227:1           30:3 50:8 127:23    state 13:5 16:17      stop 137:18
    solve 205:13            166:10                74:5 75:18 78:12      138:23 186:8
    sops 119:18 121:1     specify 147:25          97:18 141:22        stopping 139:17
      121:1               speculation             152:20 163:19       stored 120:7,8
    sorry 27:7 38:14        168:18 169:11         193:17 225:10       street 3:5,22 4:4
      46:23 71:22 81:5      170:23 171:18         226:15                4:13 5:18 6:3,8,13
      105:8 150:2           175:21,24 177:23    state's 211:9           7:4,12,17,22 8:8
      170:16 213:15         178:21 179:14       stated 173:4,14         8:13,23
    sort 20:19 26:16        182:12 187:7,25       220:9               strengthen 208:21
    sorts 24:1 27:4         200:23              statement 42:21       strengthening
      74:2                                        58:7 92:21 142:9      209:17

                                   Veritext Legal Solutions
    www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 94 of 100. PageID #: 227262


   [strike - taken]                                                                Page 36

    strike 37:19 46:16     substances 10:19       sullivan 169:18         146:1
      46:23 48:3 66:19       10:22 21:25 22:3     summary 35:1          swear 15:23
      92:19 105:8            22:5 28:19 30:21       208:19 215:20       switched 60:22
      170:17                 31:19 32:9,13,22     summer 169:22         sworn 16:1 223:6
    stuffed 179:9            34:4,10 43:8 45:3    summit 1:12 3:17        225:10,13 226:14
    subcommittee             47:25 51:21 58:3       152:10                226:18 227:21
      189:4                  63:2,11,14,22 65:7   superior 3:14         symptoms 158:24
    subject 26:25            66:23 69:24 70:4       224:1               synthesizes 44:10
      149:18,22 150:8        72:20 73:8,21        supervisor 29:13      system 31:11,19
      157:14 170:3           79:19 87:12,16         29:15                 62:14 64:11 66:23
      172:5 175:20           88:1,6 92:24 93:7    supply 8:16 15:17       66:25 69:17,18
    subjects 18:17           94:13,22 95:7          47:12,17 92:23        136:20 137:2,3,11
      40:13                  97:1,9 98:1 99:15      93:6 115:18 141:6     138:9 139:20,25
    submit 83:3              99:25 100:2,13,17      154:19 156:18,23      140:3,4,8 143:14
      103:19 104:17          100:20 101:21,21       157:12 186:5,7        143:17,23 145:24
      173:16,21              102:10,13,16           196:6,10,14           146:22 147:4
    submitted 75:13          107:1,6,10 108:2       205:12                148:5 149:20
      156:4 163:8 217:1      112:12,17 113:13     support 171:15          150:5,12 151:1,5
    subpoenaed 122:6         113:19 114:1           206:4 207:23          151:14,23 152:3,8
    subscribed 225:10        134:23 136:19,22     supported 171:4         154:8 160:14
      226:14 227:21          137:9 140:11         supposed 136:24         208:24
    subsection 53:5          141:14,18 144:1        167:14,18,19        systems 168:25
      85:5 86:1 92:21        146:8 153:23         supposedly 88:8                 t
    substance 31:18          156:11,24 157:14     sure 17:7 29:8,10
                                                                        t 4:2 10:1,1 124:20
      32:25 41:5 43:10       174:23 182:17          37:23 39:17 46:1
                                                                        tables 125:14
      43:12,13 44:12,13      208:23 209:1,12        48:19 50:2 61:12
                                                                        tablets 147:25
      45:11 46:20 52:1       212:2 213:18           63:7 66:4 71:22
                                                                        take 12:12 32:14
      53:2 68:15 69:14       215:3,9                78:17 83:11 88:19
                                                                          37:7 51:10 52:3
      74:23,24 75:3,7,10   success 205:12           99:1 101:10 109:6
                                                                          57:5 66:20 83:8
      76:15,24 77:14       sufentanil 101:15        120:24 133:18
                                                                          83:13 84:4,15
      78:8,10 85:24        sufficient 205:1         138:21 142:15
                                                                          95:18 99:13 108:4
      86:10 87:5 98:16     suggest 117:24           143:15 160:8
                                                                          126:18 135:25
      100:6 114:12           210:7                  163:12 184:16
                                                                          176:16 215:6
      116:14 140:4         suggested 172:7          197:16 203:4
                                                                        taken 12:16 16:21
      147:10 148:14          196:13 213:12        surprised 213:11
                                                                          45:17 57:9 66:7
      150:17 152:23        suggestion 201:17      susan 29:6
                                                                          93:14,16 95:23
      154:14,19 157:6      suggests 216:1         suspect 69:8,10
                                                                          108:8 126:23
      157:18 158:21        suite 3:14,23 6:8      suspicious 20:2
                                                                          136:4 143:11
      161:1 209:12,15        6:13,18 8:13,18        137:11,16 138:21
                                                                          176:21 203:25
      210:15                 224:2                  138:24 139:17,18
                                                                          217:22 219:18
                                                    142:5,21 144:15
                                                                          223:3,7,13
                                     Veritext Legal Solutions
    www.veritext.com                                                           888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 95 of 100. PageID #: 227263


   [takes - training]                                                              Page 37

    takes 36:20 45:19       20:8 61:10 89:15     thirty 5:23 224:18    title 185:2
      46:2 79:5 93:21       98:22 108:25         thornburg 7:22        titled 124:10
    talk 17:3 44:5 50:9     109:10,18 111:9        15:19               today 17:20,22
      73:20 90:22 131:3     123:17 127:7         thousands 183:3          19:1,8 20:8 26:9
      203:6                 136:11 144:18,20     threaten 199:9           27:25 28:3 37:19
    talked 119:9            144:21 146:14        threatening 199:2        37:20 54:2 70:23
    talking 26:17           188:15 189:3         three 4:8 6:13           84:10 86:24 89:15
      130:17                194:16 199:7           20:24 127:6 174:7      106:7 108:25
    team 120:19             201:14,16 202:10       203:4                  111:10 119:9
    techniques 183:13       204:14 207:15        tie 137:24 138:3         120:25 121:2,9,20
    teleconference 4:3      218:17,19 222:5        143:7                  123:4 127:5 165:8
      4:16 5:7,22 6:17      223:4,6,10 225:6,7   tied 138:2               194:13 220:19
      7:21 8:3,12,17,22     226:6,9,12           time 17:3 22:20       today's 27:12
    telephone 203:2       teva 5:21 15:10          23:13 27:24 29:1       124:3 131:24
    tell 16:1 148:3       texas 6:19               29:4 31:4 36:5         132:21 135:3,18
      191:10              th 191:13                38:20,23 40:25         135:22 222:5
    telling 197:3         thank 57:14 81:11        49:16 57:8,12       top 86:15 117:15
    ten 28:6,7,11 39:9      96:5 101:11 110:5      60:22 66:6,9           141:3 178:7
    tended 199:9            121:2 136:8 147:1      74:17 77:13,19         182:23
    tenth 7:4               177:1 222:1            78:7,11 80:16       topic 18:20,21
    tenure 126:15         therapeutic 205:2        81:8 86:14 92:3        19:1,4,8,19 20:8
    term 31:10,13         thereabouts              95:22 96:1 104:20      20:18 128:16
      34:22,25 44:7         189:18                 108:7,10 117:18        129:2 132:8
      46:9 76:24          thing 211:16             121:12,15 122:4        144:24 145:8
    termed 77:15,15       things 43:14             126:22 127:1        topics 20:24 21:5
      77:20 78:8            130:17 156:25          132:11 133:18,24       21:11,12 135:16
    terminal 190:23         190:3 201:20           134:5,25 135:9,19      143:5 144:14,18
    terms 72:3 144:12     think 21:4,13,14         136:3,6,8,11        total 50:16,24,25
      159:9 168:20          28:11 45:6 48:22       153:20 159:13          51:19,24 107:17
      196:4                 66:13 81:8 130:16      174:7 176:20,24        116:4 156:10
    testified 16:3          138:13 143:10,24       193:10 194:8           173:12,23 183:4
      27:18 111:12          143:24 144:8           203:24 204:2           222:8
      121:3 127:4           145:4 149:13           210:18 212:5        touhy 143:5
      188:13                165:3,8 193:6          215:6 217:21,24        144:11
    testify 19:1 67:24      202:23 206:8           219:14,17,21        tower 7:17
      81:9 122:6 143:19   thinking 84:22           221:16,16 222:2     town 153:1
      144:3,3 173:7       third 160:3 163:10     timely 103:20         tplcp 160:22
      174:21 194:12         168:20 173:11        times 36:7,10         tracking 66:23
    testifying 17:19        176:7 190:2 209:4      40:10 77:23,25      trained 190:12
    testimony 1:19 2:3      214:10               timing 37:17          training 39:15,21
      17:23 18:16 19:8                             133:19                 40:8 132:3

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 96 of 100. PageID #: 227264


   [transactions - vague]                                                          Page 38

    transactions 66:24        198:21 199:12        118:15 124:10       units 147:17
    transcribed 225:7         202:17 203:20        143:22 145:4          151:17 222:8
    transcript 10:23          220:3                149:17 150:1        unnecessarily
      11:24 140:16,20       turned 94:17           154:11 168:7,24       193:6
      140:22,24 145:23      turning 57:24          184:16 202:24       unreliable 69:6
      224:11,12 225:5       two 21:3 50:18         212:13 216:15       unusually 178:13
      225:12 226:5,11         96:6 216:2          understanding          180:4
      226:17                type 70:22 149:21      29:22 30:2,14,19    updated 10:20,22
    transcription             150:19 152:25        85:9 129:3 146:7      96:17 209:10
      223:8                   154:9,14 186:14      192:19              upward 165:4
    treating 146:18           186:21              understands          usage 22:2 103:6
      158:24 189:20,22      types 148:20 182:4     114:19 115:4,16     usdoj.gov 3:6,11
    treatment 55:14           184:17 190:21        116:11,24             3:16
      64:22 103:4 182:3              u            understood 17:14     use 20:4 53:10
      185:3,9,20 214:23                            19:15 21:1 31:4       54:14 55:14,20
                            u.s. 3:2,3,8,12
    trends 51:4,8,11                               68:2                  59:16 60:1,4,17,23
                              14:19 18:10 22:2
      51:15,22                                    undisputed 204:24      62:8,17,24 63:8,14
                              101:24 154:2,2
    true 55:9 107:25                              unfortunately          67:5 68:8 73:25
                              156:13 205:10
      110:5 116:11                                 94:7                  78:9,14 148:13
                            ultimate 31:21
      126:2,14 140:14                             unintentionally        155:20 156:6,6,24
                            ultimately 107:8
      142:24 155:11,23                             203:3                 161:12,20,22
                              116:12
      157:2,7,19 159:22                           uninterrupted          165:21,25 168:25
                            un 22:1 26:14
      160:6 162:8 177:6                            47:12,16 92:23        169:24 174:3
                              28:15 84:3
      181:12,22 211:11                             93:6 156:23           181:3,6 192:11
                            unable 196:16
      219:10 223:9                                unit 12:14 22:14       193:2 194:10
                            unaware 179:24
    truth 16:1,2,2                                 22:23 28:14,24        195:6 199:20,24
                              202:14
    truthfully 17:19                               29:20 34:12 38:12     214:13,23 215:3,8
                            underlined 183:13
    try 17:3 115:11,11                             38:14,16,18 40:2      221:15
                            underlying 205:14
      220:2                                        49:14 57:7,12       users 187:22
                            underneath
    trying 21:2 168:20                             60:16 82:7 95:21    uses 215:15
                              158:23
      174:10 198:2                                 96:1 126:21,25      usually 28:9 41:21
                            understand 17:12
      200:11,12,18                                 176:19,23 219:16             v
                              17:22 18:15 20:17
      201:5,6                                      219:21
                              21:2 22:21 25:2                          v 1:8,13 22:5,6
    tuggle 125:9                                  united 1:1 3:13
                              31:13 32:19 33:6                           69:25 224:6 225:3
    turn 12:9 18:9,19                              12:19 14:20,25
                              33:10 34:1 35:10                           226:3
      19:17 28:13 32:10                            15:1 19:21 21:20
                              36:9 37:24 39:6                          vague 30:22 31:8
      90:14 140:22                                 35:2 52:20 72:17
                              39:18 41:10 44:7                           32:1,15 33:9
      147:1 158:16                                 82:15 114:6 145:1
                              47:19 49:17 71:23                          34:17 35:8 36:4
      164:23 178:3                                 152:18 156:11
                              80:3 82:1 85:12                            36:15 37:22 39:16
      182:21 184:25                                177:20 205:24
                              87:13,20 104:2                             39:23 41:9 42:25
      188:23 196:24                                218:6
                              114:25 115:8                               44:17 47:18 49:15
                                     Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 97 of 100. PageID #: 227265


   [vague - witness]                                                             Page 39

      53:8,22 54:7,16,24   vertically 86:15,25    112:16 113:4        whispering 12:7
      55:7,21 56:6 60:6      87:3 90:24          want 19:11 28:13     wholesale 111:15
      74:19 76:24 85:11    vicodin 107:21         32:10 58:11 81:9     112:9,21 114:20
      88:4,14 89:21        video 12:12,15         90:14 98:5 101:10    152:5
      92:2,10 94:24        videographer 9:2       137:25 140:15,21    widest 180:25
      95:11 106:12,20        12:3 13:2 15:22      140:22 143:15       william 7:16,21
      109:22 110:7           16:5 57:6,10 66:5    147:1 153:21         13:11 15:18
      148:24 150:22          66:8 95:20,24        173:19 174:23       william.davison
      153:3 155:25           108:6,9 126:20,24    184:15 194:5         7:19
      157:8 159:16           136:2,5 176:18,22    201:14 203:6        william.hahn 7:24
      160:17 162:23          203:23 204:1         208:3               williams 6:3 14:10
      163:6 168:4,15         217:20,23 219:15    wanted 131:10,14     wilson 199:3
      169:10 175:21          219:19 222:3         210:8               winckel 4:12
      177:23 180:14        videotaped 1:17       war 196:23,24         14:14,14
      182:9 198:6            2:1 10:9             197:4,20 205:10     wisconsin 8:4
      210:22 211:12        view 39:21 83:4       warrington 8:19      witness 3:2 15:23
    valid 67:10,12           143:16              washington 1:20       31:17 32:2 33:10
      69:3                 violate 174:10         2:10 3:5,23 4:13     35:10 36:17 37:23
    validity 68:9          violating 195:9,12     5:14 6:4,9 7:4,12    39:17,25 40:7
    value 104:19             199:23 214:13        12:24                41:10 43:3 45:6
      106:23,25 107:5      violation 88:7        waste 194:7           45:23 46:6 47:19
    varied 38:15 75:12       95:15 172:22        way 53:4 92:15        49:17,24 53:1,9,17
      129:10                 192:14               125:5 137:22         53:24 54:9,19
    various 31:23          virginia 3:10 4:4      147:24 190:11        55:1,9 56:7 59:8
      77:23 79:9,14,18       140:21 151:18       ways 191:15           59:20 60:7 61:1
      129:1                  152:11              wc.com 6:5            61:11 62:12,21
    vendor 60:8,10         vol 11:14             we've 27:22 122:3     63:4,18 64:2,9,16
    ventura 7:11           vouch 220:21          website 96:14         64:21 65:13 67:15
      13:22,22             vs 1:10               weekend 201:15        67:22 68:5 72:1
    verbal 17:8                      w           weeks 122:14          73:3,11,17 74:21
    verbally 203:1                               weight 147:23         75:12 76:7,22
                           wacker 5:8
    verbatim 84:13                               weighted 104:19       77:12 78:17,23
                           waged 205:10
    verified 56:15                               weiss 8:21 15:13      82:18 85:12,20
                           wait 17:4
    veritext 13:1,3                               15:13                86:6 87:19 88:5
                           waived 224:19
      222:9 224:1,7                              welcome 96:4          88:16,25 89:11,23
                           walgreen 8:10,10
      227:1                                      went 133:6 134:22     90:10 92:13 93:1
                           walgreens 15:12
    veritext.com.                                 197:18               94:17 95:2,13
                             111:24 112:15
      224:17                                     west 3:14 4:4 5:8     97:11 98:23 99:17
                             113:4
    version 190:22                                8:13 140:21          100:5 102:9,20
                           walk 58:11
      200:5                                       151:18 152:11        103:3,18 104:2
                           walmart 5:2 14:13
                                                                       106:13,22 107:4
                             15:3 111:24
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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 98 of 100. PageID #: 227266


   [witness - zuckerman.com]                                                      Page 40

      107:13 109:23        191:24 192:14,17     wrong 153:13             70:9,10 73:6,14
      110:8 111:20         194:12,24 197:12       192:19,24              74:16,21 75:8,12
      112:4 113:1,9,21     197:14,16,25                   x              77:6,19 78:14
      114:25 115:8,21      198:18 199:8                                  92:9 98:1,20
                                                x 147:25
      116:9,18 117:3,14    200:16,25 201:9                               103:10,15,18,24
      117:23 118:7,15      202:4,14 203:16                y              105:2,10,17,22
      118:24 120:4         206:8 207:1,19       yeah 42:15 144:24        125:15 155:22
      121:6 122:10,16      208:3,7 209:20         162:15                 166:12 174:22
      122:22 123:2,18      210:23 211:5,13      year 22:9 24:21          189:16,17 205:10
      125:17,25 127:5      212:13 213:1,10        30:20,20,25 31:1,1     206:18 218:3
      127:12 128:2         213:24 214:16          31:3 37:2,3,5        yers 69:15,16
      130:1,10,16 131:3    216:1,15 217:1,17      51:14 52:4,15        yield 72:3,9 114:9
      131:10,17 133:17     218:21 219:6,12        53:14,25 56:2          119:6
      133:23 134:13        219:13 220:25          58:22 60:1,21        yields 93:19
      136:10,24 137:14     221:6 223:4,6,10       61:13,16 64:6,14     york 4:9,9
      137:22 138:18        224:8,11 225:1,4       65:9,14,16,19 67:2             z
      139:3,25 140:14      225:11 226:1,4,15      68:19 69:8,17
                                                                       zachary 8:16
      142:15 145:14,18    witnesses 174:14        70:7 72:25 74:14
                                                                         15:16
      146:22 147:14,22    witness’ 224:14         75:20 76:2,10,16
                                                                       zeros 192:6
      148:8,17,25         words 190:18            77:9 82:12 92:13
                                                                       zmartin 8:20
      149:13 150:1,11     work 23:14,14           97:20 101:15
                                                                       zuckerman 6:7
      150:23 151:12,23     30:18 35:16,18,25      104:15 106:18
                                                                         13:24
      152:14 153:6,18      37:16,20 48:24,25      107:18 109:21
                                                                       zuckerman.com
      153:25 154:23        81:9 103:21 110:9      114:14,16 116:6
                                                                         6:10
      155:7 156:3 157:9    129:12 198:9           117:12 118:8
      157:23 159:6,17      201:21                 122:10 123:2
      160:1,8,24 161:10   worked 38:13,17         126:2 132:11
      162:13,24 163:7      39:20 122:3            141:12 155:10,21
      163:17 164:6,16     working 22:16           156:6,7 158:11
      166:9 167:1,12,22    25:13,14,15 49:20      165:6,7,15,16
      168:6,19 169:12      50:2,5                 170:11 171:10
      170:2 171:2 172:1   works 38:2 125:6        175:8 176:4 196:8
      172:6 173:7          125:11                 196:11 207:2
      174:19,20 175:18    writes 160:25         yearly 41:17
      176:3,15 177:25      165:3                years 38:15 50:18
      178:22 179:6,15     writing 79:13           53:20 54:4,12,21
      179:24 180:19        180:20 194:17          55:3 59:2,5,8,11
      181:16,21 182:15    written 86:14,23        59:16,20,22 61:3
      184:10 185:17        91:14 93:1 119:13      62:2,7,16,23 63:7
      186:3,11,17,25       179:11 182:8           64:18 67:7,12
      187:9,18 188:3       204:8 217:10           68:1,13,24 69:4

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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 99 of 100. PageID #: 227267



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Case: 1:17-md-02804-DAP Doc #: 1977-24 Filed: 07/24/19 100 of 100. PageID #: 227268

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